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                          EXHIBIT 2
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          Expert Report on South Carolina’s
          Voter Identification Law, Act R54
                         Orville Vernon Burton
                   Director, Clemson CyberInstitute
              Professor of History and Computer Science
                          Clemson University
                             June 19, 2012
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  I.      EXECUTIVE SUMMARY
          In this case, Defendant-Intervenors asked me to form an opinion about whether
  Act R54, the government-issued photo identification law passed by the South Carolina
  legislature as H. 3003 and signed by Gov. Nikki Haley in 2011 (hereinafter, the “Voter
  ID Law,” “ID Law,” or the “Law”) was passed with a racially discriminatory intent. As
  detailed below, I conclude that it was.
          According to the United States Supreme Court in Arlington Heights, when
  evaluating whether a governmental act was motivated by a discriminatory purpose, one
  should consider a range of facts and circumstances. The Court identified four factors as
  relevant circumstantial evidence of discriminatory intent: (1) the historical background of
  the decision; (2) the views expressed by decision-makers on related issues; (3) the
  specific sequence of events leading to the decision (including whether there has been a
  departure from the usual practices or procedures of the decision-making body); and (4)
  the anticipated or foreseen effect of the change on minority citizens.1 These factors are
  consistent with the inquiries a historian makes in order to draw conclusions in this area.
          This report first summarizes my qualifications and methodology as an expert
  witness. Then, Section III examines the recent history of discrimination in South
  Carolina and specific events in the State to ascertain the climate of race relations during
  the period when the Law was being considered. Section IV of the report examines racial
  views expressed by sponsors and advocates of the Voter ID Law, as well as other
  legislation contemporaneously considered or passed that threatened to impact the rights
  of racial minorities. Section V presents the legislative history of the Voter ID Law, as
  well as that of its predecessor, H. 3418. Section VI examines the anticipated effects of
  the Voter ID Law on minority citizens. The final section includes an analysis of the main
  justification given for the Law, namely that the bill was intended to reduce voter fraud.
  Notably, there is absolutely no evidence of the kind of in-person voter fraud that the
  Voter ID Law purports to address.
          Based on my evaluation of the Arlington Heights factors and other relevant
  criteria related to South Carolina’s passage of Act R54, identified infra, I conclude that
  the Law was motivated by a discriminatory purpose. My research persuaded me that the

  1 Village of Arlington Heights v. Metropolitan Housing Corp., 429 U.S. 252, 265-68 (1977).
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  goal of hindering African American voting played a substantial role in the introduction of
  the Voter ID Law’s predecessor legislation in 2009 (the “2009 Voter ID Bill”)
  immediately following President Obama’s inauguration. The same motivation was
  present in 2011 when the South Carolina Legislature introduced and passed the current
  Voter ID Law. In particular, I conclude that South Carolina’s Law was intended to
  suppress the growing strength of the African American vote.
         I base this conclusion on all of the factors described below, including the
  following findings:
             South Carolina has a long history of efforts to hinder African American
             voting, including very recent examples of state-sponsored discrimination;

             a sustained history of racial bloc voting by African Americans and their
             overwhelming support for Democrats has led to a perception on the part of the
             Republican party that African American turnout is an electoral threat;

             adamant and unprecedented efforts to pass voter ID legislation followed on
             the heels of President Obama’s election and record African American turnout
             in South Carolina;

             the 2011 South Carolina Legislature considered and passed a number of other
             measures that targeted minority populations;

             the Law was a partisan bill and opposed by every African American legislator
             in the House and the Senate;

             key decision-makers demonstrate a propensity for racially-charged remarks
             and embrace racially insensitive culture;

             the legislative histories of the Voter ID Law and its predecessor were
             characterized by procedural irregularities that suggest the presence of a
             discriminatory purpose;

             the Legislature rejected proposed amendments that would not undermine the
             stated purpose of the Law but would ameliorate the Law’s disparate burden;

             the Voter ID Law was treated with the utmost urgency in the face of severe
             opposition, even though there is no evidence of any problem the law would
             address;

             key decision-makers were made aware of the disparate impact the Voter ID
             Law would have on African American voters through their own research in
             the redistricting context, through the hearing process, and through public



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              discourse, but made no effort to address this issue; instead, they showed an
              utter disregard for minority viewpoints;

              the strict limitations on what IDs are accepted under the Law are not
              necessary to ensure a voter is who he says he is, raising serious questions
              about the Legislature’s decision to reject the use of State employee IDs and
              student IDs; and

              no bill sponsors, election administrators or members of the testifying public
              could identify any verified instances of voter fraud that would be addressed by
              the Voter ID law, strongly suggesting that the stated reason for the Law is a
              pretext.

  II.    QUALIFICATIONS AND PROCESS

         A.      Professional Background and Experience
         I am Professor of History and of Computer Science at Clemson University as well
  as the Director of the Clemson CyberInstitute. From 2008 to 2010, I was the Burroughs
  Distinguished Professor of Southern History and Culture at Coastal Carolina University.
  I am emeritus University Distinguished Teacher/Scholar, University Scholar, Professor of
  History, African American Studies, and Sociology at the University of Illinois at Urbana-
  Champaign. My research and writing focus on American History and particularly on race
  relations. For the past four decades I have taught courses in U.S. History, Southern
  History, South Carolina history, race relations, discrimination, ethnicity, family, and
  community. I use statistical analysis in my own research and writing, and I also taught
  courses in quantitative techniques at the University of Illinois. I was a member of the
  graduate statistics faculty and am still a Senior Research Scientist at the National Center
  for Supercomputing Applications where I was Associate Director for Humanities and
  Social Sciences (2004-2010). I was also the founding Director of the Institute for
  Computing in Humanities, Arts, and Social Science at the University of Illinois and
  currently chair the their Advisory Board.
         I have been qualified as an expert in the fields of districting, reapportionment, and
  racial voting patterns and behavior in elections in the United States. I have had extensive
  experience in analyzing social and economic status, discrimination, and intent in voting
  rights cases, and group voting behavior. I have been retained to serve as an expert
  witness and consultant in numerous voting rights cases by the Voting Section of the



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  Division of Civil Rights of the United States Department of Justice, the Voting Rights
  Project of the Southern Regional Office of the American Civil Liberties Union, the
  National Association for the Advancement of Colored People, the Mexican American
  Legal Defense and Educational Fund, the California Rural Legal Association, the League
  of United Latin American Citizens, the Lawyers’ Committee for Civil Rights Under Law,
  the Legal Services Corporation, and other individuals and groups.
         To the best of my knowledge and memory, in the last five years I have not
  testified in any cases. In 2011, I gave a deposition in Perez v. Perry, regarding
  congressional redistricting in Texas and the State House of Representatives, and in 2012 I
  gave a deposition in the habeas proceeding of Albert Woodfox, convicted of a 1972
  murder in Angola prison, Louisiana.
         A detailed record of my professional qualifications is set forth in the attached
  Curriculum Vitae.2

         B.      Statement of Inquiry and Description of Sources and Methods
         In this case, I have been asked to research and form an opinion on whether the
  Voter ID Law was adopted with a racially discriminatory intent.
         In the course of my investigation into the purpose behind Act R54, I have
  examined a wide range of sources, including published works by historians, political
  scientists, and sociologists; reviews of newspaper clippings, census reports, trial
  transcripts and transcripts of legislative debates, deposition transcripts, legislative
  journals, and other government documents and reports. I also studied emails, blogs, and
  materials prepared by different organizations about the Voter ID Law, some of which
  were produced in this litigation. For the most part, I gathered these materials
  independently or with the help of my research assistant, Beatrice Burton, a History Ph.D.
  candidate. In some cases I requested specific documents that were supplied by the
  attorneys for the Defendant-Intervenors.
         In preparing my report and my testimony in this case, I used sources of
  documentation that experts commonly consult in investigating questions of this nature.
  The methodology that I have employed in preparing my report is the same methodology
  experts in the fields of history and sociology regularly employ when examining issues of

  2 App’x A.


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  the sort investigated here. Finally, the analysis presented here is consistent with related
  scholarly research; I have used assumptions, methods, and analytical principles consistent
  with those employed in this field.
  III.    HISTORY OF STATE-SPONSORED DISCRIMINATION IN SOUTH CAROLINA
          No one disputes South Carolina’s dark, long and well documented history of
  racial discrimination. “The central fact in the history of black Carolina,” stated historian
  I. A. Newby, “has been the racism of white Carolina.”3 And indeed, the historical
  experience and background to the enactment of the Voter ID Law can only be fully
  understood in the context of the State’s past. In Appendix B, I document the
  longstanding history of both official and unofficial state discrimination and racism.4
  Here, I focus on recent evidence of state-sponsored discrimination.

          A.       Recent Evidence of State-Sponsored Discrimination
          In the last twelve years, every branch of the federal government has recognized
  evidence of systemic, state-sponsored racial discrimination in South Carolina.
                   1.       Federal Judiciary
          First, the federal courts have recognized multiple occurrences of state-sponsored
  discrimination.5 For instance,
               In the litigation that followed the 2000 census, a three-judge District Court
               panel noted that the parties largely stipulated to the “extensive documentation
               of the history of voting-related racial discrimination in South Carolina.”6 The
               court also acknowledged the “socio-economic gap between the average white
               citizen and the average black citizen.”7



  3 I.A. NEWBY, BLACK CAROLINIANS: A HISTORY OF BLACKS IN SOUTH CAROLINA FROM 1895 TO 1968 15
  (Columbia: University of South Carolina, 1973).
  4 I have also analyzed that history and particularly the more recent history of discrimination through the
  1990s: Orville Vernon Burton et al., SOUTH CAROLINA, THE QUIET REVOLUTION IN THE SOUTH: THE
  IMPACT OF THE VOTING RIGHTS ACT, 1965–1990 199 (Chandler Davidson & Bernard Grofman eds., 1994);
  see also John C. Ruoff & Herbert E. Buhl, Voting Rights in South Carolina: 1982-2006, 17 S. CAL. REV. L.
  & SOC. JUST. 700 (2006).
  5 See especially the more than one hundred pages of details of the various cases documented on South
  Carolina for the renewal of the Voting Rights Act by the ACLU. LAUGHLIN MCDONALD & DANIEL
  LEVITAS, THE CASE FOR EXTENDING AND AMENDING THE VOTING RIGHTS ACT, VOTING RIGHTS
  LITIGATION, 1982-2006: A REPORT OF THE VOTING RIGHTS PROJECT OF THE AMERICAN CIVIL LIBERTIES
  UNION (2006), available at http://www.aclu.org/files/votingrights/2005_report.pdf/. For extensive case
  examples from South Carolina, see id. at 562-663.
  6 Colleton Cnty. Counsel v. McConnell, 201 F. Supp.2d 618, 641 (D.S.C. 2002).
  7 Id. at 642 fn. 20.


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               In 2003, Judge Patrick Michael Duffy issued a lengthy opinion detailing
               evidence of state-sponsored racial discrimination in United States v.
               Charleston,8 ultimately concluding that the challenged at-large electoral
               system “unlawfully exacerbate[d] the disadvantaged political posture inherited
               by generations of African Americans through centuries of institutional
               discrimination” and was therefore unlawful under Section 2 of the Voting
               Rights Act.9 Several of the observations made by that federal court are of
               particular importance to this case.

               First, the court found that African Americans in Charleston County suffer
               lower levels of education, employment, income, and living conditions as a
               result of the long history of past discrimination.10 Second, the court
               specifically concluded that “there has been a long history of official
               discrimination touching the right of African Americans to register, to vote, or
               otherwise to participate in the democratic process.”11 Finally, after reviewing
               a voluminous record, the court found “significant evidence of intimidation and
               harassment” of African American voters, including in very recent elections.12
               Charleston County Election Commissioner Carolyn Collins credibly testified,
               for instance, that “she had received complaints from African American voters
               concerning rude or inappropriate behavior by white poll officials in every
               election between 1992 and 2002.”13

               In 2009, the district court in Levy v. Lexington County, a case concerning a
               local school board election scheme, similarly noted examples of past and
               continuing discrimination.14 The court found myriad “lingering socio-
               economic effects of discrimination.”15 Poverty was triple the rate for African
               Americans than for whites, African American median income was half that of
               whites, and educational attainment of African Americans was also
               substantially lower.16 The Court also noted that segregation persists “to a
               great extent with respect to churches, workplaces, businesses, and
               communities.”17 And, the court found that School Board testimony “suggests a
               lack of responsiveness to the needs of those black students who are
               performing poorly.”18


  8 316 F. Supp. 268 (2003).
  9 Id. at 271.
  10 Id. at 284-86.
  11 Id. at 286 n. 23.
  12 Id.
  13 Id (emphasis added) (referencing Tr. at 845-46, 2689).
  14 Levy v. Lexington Cnty., S.C., 2009 WL 440338 (D.S.C. Feb. 19, 2009), order vacated, 589 F.3d 708
  (4th Cir. 2009). The district court ultimately ruled against the plaintiffs, after a favorable decision was
  vacated and remanded by the 4th circuit. See Levy v. Lexington Cnty., S.C., 2012 WL 1229511 (D.S.C.
  Apr. 12, 2012). The findings of past and continuing discrimination, however, were not called into question.
  15 Levy v. Lexington Cnty., S.C., 2009 WL 440338, at 2.
  16 Id.
  17 Id.
  18 Id. at 18.


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          These cases are just some recent illustrations of South Carolina’s long history of
  discriminatory election laws. In the 1980s, South Carolina’s refusal to comply with the
  preclearance requirements of the Voting Rights Act (the “VRA”) has required the U.S.
  Supreme Court action to force compliance.19 And, in 1995, South Carolina refused to
  comply with the National Voter Registration Act (the “NVRA”), ultimately necessitating
  the issuance of an injunction. In that case, Condon v. Reno,20 the federal district court
  specifically noted that South Carolina’s deliberate actions excluded large groups of
  minority voters. While the State eased registration procedures at the Department of
  Motor Vehicles (the “DMV”) and attempted to follow the NVRA, it refused to follow
  that law’s mandates in the Department of Social Services where 70-80% of the clientele
  was minority. In other words, the State’s non-compliance with NVRA was not universal;
  rather, the State refused to comply only at the Department of Social Services (and other
  social service agencies) where minority clients were most likely to be served.
                   2.       U.S. Congress
          Moreover, when the U.S. Congress re-authorized the Voting Rights Act in 2006,
  it relied upon considerable evidence of racial discrimination nationwide, including
  discrimination stemming in South Carolina.21 Evidence of discrimination in South
  Carolina was presented throughout the hearings,22 and one hearing focused on
  discrimination in Charleston, Lancaster, and Sumter Counties.23 “Protecting Minority
  Voters: The Voting Rights Act at Work 1982-2005,” a publication by The Lawyers’

  19 See, e.g., Blanding v. DuBose, 454 U.S. 393 (1982); McCain v. Lybrand, 465 U.S. 236 (1984); NAACP
  v. Hampton County, 470 U.S. 166 (1985).
  20 913 F.Supp. 946 (D.S.C. 1995).
  21 See generally H.R. REP. NO. 109-478 (2006), available at http://thomas.loc.gov/cgi-
  bin/cpquery/?&sid=cp109lijdp&refer=&r_n=hr478.109&db_id=109&item=&sel=TOC_23165&; S. REP.
  NO. 109-295 (2006), available at
  http://www.congress.gov/cgibin/cpquery/T?&report=sr295&dbname=109&. See also John C. Ruoff &
  Herbert E. Buhl, Voting Rights in South Carolina, supra.
  22 See, for example, two reports prepared to be presented as evidence to Congress on renewal of the
  Voting Rights Act: Laughlin McDonald & Daniel Levitas, The Case for Extending and Amending the
  Voting Rights Act: Voting Rights Litigation, 1982-2006, ACLU VOTING RIGHTS PROJECT, March 2006, at
  562-663, available at http://www.aclu.org/files/votingrights/2005_report.pdf; Ruoff & Buhl, Voting Rights
  in South Carolina, supra. Also, evidence from South Carolina presented for the renewal of the Voting
  Rights Act was also presented as evidence for the Texas Section 5 preclearance case, Northwest Austin
  Mun. Util. Dist. No. One v. Holder, 129 S. Ct. 2504 (2009).
  23 Renewing the Temporary Provisions of the Voting Rights Act: Legislative Options After LULAC v.
  Perry: Hearing Before the Subcomm. on the Constitution, Civil Rights and Property Rights of the S.
  Comm. on the Judiciary, 109th Cong. 252-55, 265-67 (2006) (statement of Jon Greenbaum, Director of the
  Voting Rights Project).


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  Committee for Civil Rights under Law that was presented to Congress, chronicles myriad
  examples of voting discrimination in South Carolina. In one instance, a group of
  Lexington County white citizens “informed one of their Republican representatives that
  they didn’t want any [African American representatives], and they used a racial epithet,
  the ‘n’ word, on the Lexington County delegation, referring specifically to a plan that had
  drawn a black representative into portions of Lexington County.”24
                   3.      The Department of Justice
          Finally, the Department of Justice (the “DOJ”) has objected 122 times to
  proposed changes in voting practices or procedures in South Carolina since 1972, and
  eleven times since 2000. A careful study of objections from 1982 to 2006 came to the
  following conclusion:
          Since 1982, the discriminatory practices to which the DOJ objected have
          covered a wide variety of changes that affected nearly every aspect of
          African American citizens’ participation in South Carolina’s electoral
          processes, including discriminatory redistricting, annexations, voter
          assistance, changing county boundaries, eliminating offices, reducing the
          number of seats on a public body, majority vote requirements, changing to
          at-large elections, using numbered posts or residency requirements,
          staggering terms, unfair scheduling of elections, changing from
          nonpartisan to partisan elections and limiting the ability of African
          American citizens to run for office.

          Since 1982, those Department of Justice objections to discriminatory
          practices have covered all levels of government: the General Assembly
          (both Senate and House), counties, county boards of education, school
          districts, cities and municipalities and a board of public works. These
          objections also have covered the state geographically. Many of those
          jurisdictions engaged in decade-long resistance to the Voting Rights Act
          and full representation for their African American citizens.25

          Since that study, DOJ has objected three additional times to new South Carolina
  voting changes under Section 5 of the VRA. In 2010, for instance, DOJ objected to a
  state law, Act 136, giving members of the Fairfield County legislative delegation the
  power to appoint an additional two members to the local elected seven member school


  24 THE NATIONAL COMMISSION ON THE VOTING RIGHTS ACT, PROTECTING MINORITY VOTERS: THE
  VOTING RIGHTS ACT AT WORK 1982-2005 92 (February 2006). This specific incident is also discussed in
  Jeffrey Collins, Wilkins Says Most of House Supports GOP Redistricting Plan, ASSOCIATED PRESS, Jan. 16,
  2002.
  25 Ruoff & Buhl, Voting Rights in South Carolina, supra, at 656.


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  board.26 “The act expands the board’s membership by more than a quarter, without a
  concomitant expansion of the electoral franchise.”27 DOJ argued that Act 136 reduced the
  proportion of positions in “which minority voters can elect candidates of choice on a
  local elected body.”28 Moreover, under the new law, these new members were given
  exceptionally long terms of twelve years, and they would be appointed from the two-
  member legislative delegation itself, neither of whom was allegedly “a candidate of
  choice of minority voters.”29 For all of these reasons, DOJ concluded that “the sole
  impact of the decision [was] to reduce the level of electoral influence that African
  American voters have on the board.”30
           In addition to its Section 5 objections, the DOJ brought affirmative lawsuits under
  Section 2 of the VRA. In 2008, DOJ filed a Section 2 lawsuit against Georgetown
  County, challenging their at-large election system. 31 Georgetown allegedly used
  discriminatory devices such as primaries, very large election districts, majority vote
  requirements, and staggered terms, all of which rigged elections “against the minority
  group.” DOJ also alleged that “[p]olitical campaigns in Georgetown County have been
  characterized by subtle and overt racial appeals” and that “African Americans in the
  County have suffered from a history of official discrimination.” Moreover, the
  “[s]ignificant socioeconomic disparities” of African Americans and whites limited
  “African American participation in the District’s at-large elections.” And, although
  African Americans are more than 38 percent of the population of Georgetown County,
  there was not one black school board member. Georgetown County ultimately resolved
  the matter by entering into a consent decree.32


  26 It was unusual, DOJ noted, that Act 136 “through an ad hoc local legislation process” instead of through
  a statewide approach which would apply uniformly. Noting that they agreed with Gov. Mark Sanford who
  originally vetoed the bill, DOJ wrote that “the more appropriate approach would be for the electorate in
  Fairfield County to express its will through the ballot.” Letter from Thomas E. Perez, Assistant Attorney
  General, U.S. Dep’t. of Justice, to C. Harvird Jones, Jr., Senior Assistant Attorney General, Aug. 16, 2010,
  available at http://www.lawyerscommittee.org/admin/section_5/objections/files/Objection-Fairfield-
  County-School-District-SC-2010-0971.pdf.
  27 Id.
  28 Id.
  29 Id.
  30 Id.
  31 See generally Complaint, U.S. v. Georgetown Cnty. Sch. Dist., No. 2:08-CV-00889-DCN (D.S.C. Mar.
  14, 2008).
  32 Id. at 2-5; see also Consent Decree, U.S. v. Georgetown Cnty. Sch. Dist., 2:08-CV-00889-DCN, at 1
  (D.S.C. Mar. 21, 2008).


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          B.       Race and Partisanship in South Carolina
          Another important factor in understanding the motivation behind the Law is the
  integral link between race and party in South Carolina. More than in any other southern
  state, the development of the modern Republican Party is inextricably tied to
  distinguishing the Republican Party from the heavily black Democratic Party.
          In 1964, in the midst of the Civil Rights Movement, the Republican Party’s
  nominee for President, Senator Barry Goldwater, announced that he did not support the
  Civil Rights Act of 1964. As he told a group of Republicans from southern states, it was
  better for the Republican Party to forego the “Negro vote” and instead court white
  southerners who opposed equal rights.33 Historians agree that Goldwater “sought to
  create a general polarization of southern voters along racial lines.”34 These efforts at
  racial polarization were effective in the South generally and in South Carolina in
  particular. By the 1990s—as a result of decades of racial polarization—the Republican
  Party was almost exclusively white, and African Americans who wanted input into the
  political process had no alternative to the Democratic Party.35 Such polarization means
  that efforts to diminish the vote among Democrats, and particularly poor Democrats, will
  automatically strike at the African American community.
          In my article on South Carolina of the book, The Quiet Revolution, I detail the
  history of racial bloc voting until 1990,36 and conclude that high levels of racial bloc
  voting have long persisted in State elections. The DOJ has recently agreed, alleging in
  2008 that“[r]acially polarized voting patterns prevail in elections in [Georgetown]
  County.” Although African Americans were “politically cohesive ….[w]hite bloc voting
  usually results in the defeat of candidates who are preferred by African American voters.
  That is, in [Georgetown] District elections since 2002, white voters have consistently
  voted as a bloc so as to defeat every African American preferred candidate.”37               In
  addition, a 2011 expert report by Dr. Richard Engstrom, from Georgia State University,
  found strong racially polarized voting in South Carolina Senate elections from 2002 to

  33 DAN T. CARTER, THE POLITICS OF RAGE: GEORGE WALLACE, THE ORIGINS OF THE NEW
  CONSERVATISM, AND THE TRANSFORMATION OF AMERICAN POLITICS 218 (1995).
  34 Declaration of Dan T. Carter, U.S. v. Charleston County Council, D.S.C., No. 2-01-0155-11, (2001), at
  20.
  35 See generally id.
  36 Burton et al., supra, at 212-213; Ruoff & Buhl, Voting Rights in South Carolina, supra, at 711.
  37 Complaint, U.S. v. Georgetown Cnty. Sch. Dist., No. 2:08-CV-00889-DCN (D.S.C. Mar. 14, 2008).


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  2010. His careful study of 59 elections for county officials also “reveal[ed] pervasive
  and persistent racially polarized voting within these counties across elections for different
  offices and held in different years.” Dr. Engstrom concluded that “racially polarized
  voting was pervasive across the counties in both statewide elections and in the
  presidential primary.”38
          Federal courts have recently affirmed that African Americans and whites in South
  Carolina consistently vote in racially polarized blocs:
              In a redistricting case in the early 1990s, the district court found that “[i]n
              South Carolina, voting has been, and still is, polarized by race. This voting
              pattern is general throughout the state and is present in all of the challenged
              House and Senate districts in this litigation.”39

              When redistricting decisions were challenged ten years later, the Colleton
              County court found: “Voting in South Carolina continues to be racially
              polarized to a very high degree, in all regions of the state and in both primary
              elections and general elections. Statewide, black citizens generally are a
              highly politically cohesive group and whites engage in significant white-bloc
              voting. Indeed, this fact is not seriously in dispute.”40

              In 2003, the Charleston County court affirmed again that “significant and
              pervasive polarization” exists in South Carolina.41

          In addition to the courts, the Department of Justice has referred to evidence of
  racial bloc voting in thirty-eight separate Section 5 objections between 1974 and 1992.42
  Sociologist James W. Loewen once examined precinct-level data from 130 contests (held
  from 1972 to 1985) between black and white candidates.43 Over two-thirds were
  elections for local office in both rural and urban jurisdictions from every section of South
  Carolina. An average of 90 percent of white voters cast their ballots as a bloc for white




  38 RICHARD L. ENGSTROM, CENTER FOR THE STUDY OF RACE, ETHNICITY, AND GENDER IN THE SOCIAL
  SCIENCES, DUKE UNIVERSITY, RETROGRESSION ANALYSIS FOR THE SOUTH CAROLINA SENATE DISTRICTING
  PLAN ADOPTED IN 2011 (2011), available at http://redistricting.scsenate.gov/Exhibits/Exhibit%2014%20-
  %20REPORT%20BY%20RICHARD%20ENGSTROM,%20PHD/Exhibit%2014%20-
  %20Report%20by%20Richard%20Engstrom%20PhD.pdf.
  39 Smith v. Beasley, 946 F. Supp. 1174 (D.S.C. 1996).
  40 Colleton County, 201 F. Supp. at 641 (D.S.C. 2002).
  41 Charleston County, 316 F .Supp. 2d at 278.
  42 See Burton et al., supra.
  43 James W. Loewen, Racial Bloc Voting and Political Mobilization in South Carolina, REV. OF BLACK
  POL. ECON., Summer 1990, at 23, 25.


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  candidates; African Americans were almost as cohesive, voting for candidates of their
  own race 85 percent of the time.
          There is only one exception to this pattern. As the Colleton County court
  explained:
          The evidence presented overwhelmingly demonstrates that, with rare
          exceptions, blacks currently prefer to be represented first by black
          Democrats. In the absence of either the choice, such as in a primary, or the
          opportunity, due to percentages too low to outvote a cohesive majority
          bloc vote, blacks prefer to be represented by white Democrats.44

          With strong racially polarized voting in the state, any reduction in African
  American turnout can only benefit the state Republican Party. Conversely, significant
  gains in African American voting strength are perceived as a threat to the state
  Republican Party’s electoral success.

          C.      The 2008 Election
          After more than one hundred years of relying upon non-photographic voter
  registration cards to verify voters’ identities, South Carolina introduced its first photo
  identification bill in early 2009. Accordingly, the history immediately preceding that
  introduction bears significantly on the question of motivation.
          South Carolina is perhaps unusual in having a long history of relying upon one
  specific method of voter identification. That method, the State registration card, was
  created by the 1895 Constitution and implemented by an 1896 statute. Voters have been
  presenting that card as proof of their registration and identity ever since.
          For the first half century after the card’s creation, a voter had to present a poll tax
  receipt in addition to their registration card.45 After the poll tax was eliminated for being
  racially discriminatory, only the registration card was required.46 Since 1984, a driver’s
  license or DMV identification card can also be used as an alternative. Through 2008,
  during 115 years and tens of millions of votes cast in state and federal elections, the State




  44 Colleton County Council v. McConnell, 201 F. Supp. 2d 618, 643 (D.S.C. 2002).
  45 S.C. CODE § 213 (1902); S.C. CODE § 239 (1912); S.C. CODE § 241 (9) (1922); S.C. CODE § 2307
  (1932); and S.C. CODE § 2306 (1942).
  46 S.C. CODE §§ 23-322, 23380 (1952); S.C. CODE § 23-400.51 (1962); and S.C. CODE § 7-13-710
  (1976).


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  voter registration card was an acceptable method of identification and its legitimacy was
  never questioned.
          The Voter ID Law was introduced—and ultimately passed—by an all-white
  Republican majority, along partisan lines, in the wake of the election of the first African
  American president. President Obama inspired an unprecedented turnout among black
  registered voters in South Carolina as he did nationwide. 2008 was the first time ever
  that a higher proportion of young black voters turned out to vote than whites.47 Overall,
  in South Carolina, non-whites increased their proportion of the electorate from 26.6% in
  2004, to 30.6% in 2008. 48
          To be sure, the Law was first introduced in the legislative session following the
  Supreme Court’s 2008 decision in Crawford v. Marion County, upholding Indiana’s
  photo identification law. 49 But Indiana’s successful implementation of an election law
  cannot establish why South Carolina felt suddenly—and urgently—compelled to enact its
  own identification law.
          Moreover, all of the available evidence illustrates a connection between President
  Obama’s election and the push for photo ID. One example: Representative Alan
  Clemmons, the Law’s lead sponsor, distributed cards promoting the Voter ID Law that
  expressly proclaimed, “Let’s continue the fight to stop Obama’s nutty agenda!”50
  Moreover, during legislative floor debates, numerous lawmakers commented on the ID
  Law’s telling timing. To cite a couple of examples:
               Rep. Leon Howard: “What troubles me the most Mr. Speaker, ladies and
               gentlemen of the house, [is that] this bill suddenly became so important after
               the election of President Barack Obama. That seems so suspicious to me . . .
               Now, you know we can tap around the issue…but the bottom line is . . . a fear
               in reelecting President Barack Obama is all this bill is about.”51



  47 Sam Roberts, 2008 Surge in Black Voters Nearly Erased Racial Gap, N.Y. TIMES, July 20, 2009,
  http://www.nytimes.com/2009/07/21/us/politics/21vote.html?_r=1.
  48 Notably, in 2010, the African American turnout rate returned to pre-2008 levels, suggesting that 2008
  turnout was tied to Obama’s candidacy in particular. Statistics for the 2004, 2006, 2008, and 2010
  elections were calculated from the Voting History section of the South Carolina Election Commission
  website, http://scvotes.org/statistics/voter_history.
  49 The Supreme Court issued its decision in Crawford v. Marion County, 553 U.S. 181 (2008) in April
  2008, months before the voter ID legislation was introduced in the 118th Session of the legislature.
  50 A little SWAG from the Convention, SPARTANBURG TEA PARTY (May 8, 2011),
  http://www.spartanburgteaparty.org/2011/05/08/a-little-swag-from-the-convention/
  51 Tr. of House Debate, Jan. 26, 2011, at 32-35.


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                Rep. David Mack: “This is not about integrity. . . . This is about politics, pure
                politics. The Republican Party benefits from a low voter turnout. The
                Democratic Party benefits from a better, higher voter turnout. . . . In 2008 our
                president brought a lot of black and brown people to the polls. That’s not good
                as far as the Republican Party is concerned.”52

                Sen. Phil Leventis: “I think this Bill might be [an] initiative because many
                people didn’t like the outcome of elections. If this Bill is supposed to affect
                the outcome of elections by addressing the voter or blaming voters because of
                the outcome of election—there is something un-American about that.”53

           On top of all of this, contemporaneous events illustrate the racial tensions felt by
  some after the 2008 election. In June 2009, a gorilla briefly escaped from the Columbia
  zoo. During its absence, former State Election Commission Chairman Rusty DePass
  posted on Facebook that he was sure “it’s just one of [First Lady] Michelle’s ancestors—
  probably harmless.”54 That a former state official and well-known state political figure
  felt comfortable posting such a blatantly racist comment is remarkable, and suggests that
  such inflammatory rhetoric could have been common in the months following the 2008
  election.

           D.       Conclusion
           South Carolina has a long, well documented history of state-sponsored
  discrimination, including laws and devices specifically geared to suppress the vote of
  African Americans. In recent years, such acts have not been overtly racist, but have
  promoted the suppression of minority voting through more subtle means. Tellingly, to
  date, no African American has been elected for South Carolina statewide office.55 In full,
  this history, coupled with the Law’s suspicious timing and the evidence detailed below,
  supports the conclusion that the Voter ID Law is one of the most recent examples of
  voting discrimination in South Carolina.




  52 Tr. of House Debate, Jan. 26, 2011, at 32-35.
  53 Tr. of Senate Debate, Feb. 24, 2011, at 143.
  54 See Katrina Goggins, Ex-SC Official Apologizes for Racist Remark, AIKEN STANDARD, June 18, 2009,
  http://www.aikenstandard.com/story/m1050-BC-SC-RacistRemark-3rdLd-Writethru-06-17-0669.
  55 In 2005, then Governor Mark Sanford, a Republican, was asked about this reality. Sanford proclaimed
  it a tragedy, but stated he “think[s] there never will be” a statewide African American representative. Ruoff
  & Buhl, Voting Rights in South Carolina supra, at 648 (citing A Quick Spin Around the State House:
  Sanford’s Views on Black leaders in S.C., COLUMBIA STATE, May 11, 2005, at B3).


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  IV.     THE DECISION MAKERS
          In recent years, there have been several, well-publicized, racially-charged
  incidents involving South Carolina lawmakers who were advocates of strict photo
  identification requirements. In addition, many of the proponents of the 2009 Bill and the
  Voter ID Law also supported other legislation which threatened racially discriminatory
  effects. While not sufficient by themselves to reach the conclusions of this report, the
  following actions and statements by elected state officials and other legislative efforts in
  the General Assembly provide added support for my ultimate conclusion.

          A.      Racially-Charged Statements or Conduct by Sponsors and
                  Advocates of Voter ID
                  1.      Lt. Governor Glenn McConnell
          Lt. Governor McConnell was President Pro Tempore of the Senate when the Law
  was enacted, and a sponsor of the Senate’s photo identification bill. He is an outspoken
  defender of the Confederate South, including the Confederate flag. For instance,
  McConnell’s official website includes “Sons of Confederate Veterans, Secession Camp
  #4” with his personal information.56
          McConnell was strongly opposed to the 2000 decision to remove the Confederate
  Flag from the dome of the statehouse after widespread pressure from the national media,
  businesses and religious organizations. Afterward, evoking Civil War imagery,
  McConnell said, “Like General Lee when he was confronted with Appomattox and said,
  ‘There’s nothing left for me to do than get terms from General Grant.’ It is very difficult,
  extremely difficult for us on our side to vote to move that flag.”57 Soon thereafter,
  McConnell wielded his authority to defend Maurice Bessinger, a South Carolina
  restaurateur whose “decision to hoist the Confederate battle flag over his restaurants in
  2000 and to sell tracts defending slavery led Wal-Mart, Sam’s Club and seven grocery
  chains to pull his top-selling barbecue sauce from their shelves.”58 Indeed, Bessinger’s


  56 Lieutenant Governor Glenn F. McConnell, SOUTH CAROLINA LEGISLATURE ONLINE –BIOGRAPHY,
  http://www.scstatehouse.gov/member.php?code=1213636218
  57 David Firestone, S. Carolina Senate Votes to Remove Confederate Flag, THE NEW YORK TIMES ON THE
  WEB (April 13, 2000), http://partners.nytimes.com/library/national/race/041300race-ra.html.
  58 Ariel Sabar, S.C. Barbecue King Stands His Ground, THE BALTIMORE SUN (Sep 22, 2002), ,
  http://articles.baltimoresun.com/2002-09-22/news/0209210340_1_bessinger-barbecue-sauce-south-
  carolina.


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  chain refused to serve African Americans until ordered to do so by the Supreme Court in
  the 1960s, and he has recently called the NAACP a “terrorist group.” McConnell
  threatened to deny state contracts to local businesses that mistreat Bessinger.
          In 2010, McConnell attended the “Secession Ball,” a widely-protested gala to
  commemorate the anniversary of South Carolina’s secession from the United States
  following Abraham Lincoln’s election to the presidency. Dot Scott, president of the
  Charleston NAACP, commented that “while we’re trying to say we’re in a post-racial
  era, South Carolina’s elected officials both locally and nationally have continued to do
  things that are really atrocious.”59
                  2.       Rep. Alan Clemmons
          Rep. Clemmons was the Law’s lead sponsor. In response to a statement by U.S.
  Congressman Jim Clyburn comparing voter identification laws to the methods of
  disfranchisement once common in the South, 60 Clemmons released a misleading Twitter
  message that ignored the major realignment in the political parties in the twentieth
  century South: “Jim Crow: made by DEMS to stop black Americans from voting. Voter
  ID: made by GOP so every voter has 1vote & ONLY 1vote!”61
                  3.       Governor Nikki Haley
          Governor Haley signed Act R54 into law, and has been a vocal supporter of photo
  identification laws. On August 29, 2011, after the Department of Justice sent a letter to
  the State requesting more information to support preclearance of the Law, Haley posted a
  note on her Facebook page stating:
          The NAACP and Dems are fighting me on the Voter ID bill we passed in
          South Carolina that requires a person show picture ID before voting. An
          executive of NAACP in Mississippi was just sent to prison for voter fraud
          on ten counts including voting for dead people. That is why I will continue
          to fight for the integrity of our electoral process.62




  59 Bruce Smith, Pic of SC leader, black re-enactors spurs flap, THE SEATTLE TIMES, (Sep 16, 2010),
  http://seattletimes.nwsource.com/html/nationworld/2012910683_apusscconfederatephoto.html.
  60 James S. Rosen, S.C. Rep. Clyburn compares voter ID laws to Jim Crow era, THE MIAMI HERALD
  (April 5, 2012), http://www.miamiherald.com/2012/04/05/2733211/sc-rep-clyburn-compares-voter.html.
  61 Alan Clemmons, TWITTER (April 5, 2012, 5:27 p.m.),
  https://twitter.com/RepAlanClemmons/statuses/188060284710166530 (last accessed June 18, 2012).
  62 Nikki Haley, FACEBOOK Page, (August 29, 2011),
  https://www.facebook.com/NikkiHaley/posts/10150278081073226 (last accessed June 18, 2012.


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  That Mississippi incident, however, involved fraudulently submitting fake
  absentee ballots by mail,63 an act which an in-person photo identification
  requirement cannot prevent.
                   4.       Representative George “Chip” Limehouse
          Rep. Limehouse, one of the Law’s sponsors, also attended the Confederate Ball.
  When asked about the NAACP and others protesting the event, Limehouse responded,
  “They actually helped ticket sales . . . We’d like to thank them. Without them, we
  wouldn’t have made budget.”64
                   5.       Senator Danny Verdin
          While the South Carolina Legislature was discussing H. 3418, one of that bill’s
  supporters, Senator Danny Verdin pushed legislation to have a specialty South Carolina
  car tag that read “Coon Hunters.” Opponents argued that this tag “would be
  misinterpreted as a racial slur,”65 and there was significant opposition from the civil rights
  community.66 Ultimately, the law was vetoed by Governor Sanford.
                   6.       Representative Bill Sandifer
          Another sponsor, Rep. Sandifer attracted national attention in April 2008 when he
  left a colorful flyer on his desk entitled “Why He’ll Lose the Black Vote.” The flyer
  depicts African American men fleeing from a superimposed Barack Obama who is
  saying, “I’ll make sure everyone who can work, will have a job.”67 In a follow-up story,
  colleagues stated that Sandifer was enjoying the attention. One said, “He’s thrilled by it.”
  Another colleague said, “He told me (the scandal) would guarantee his reelection in




  63 Matthew Vadum, Mississippi NAACP leader sent to prison for 10 counts of voter fraud, THE DAILY
  CALLER ( July 29, 2011), http://dailycaller.com/2011/07/29/mississippi-naacp-leader-sent-to-prison-for-10-
  counts-of-voter-fraud.
  64 Manuel Roig-Franzia, Divided They Stand on Rebel Spirit, THE WASHINGTON POST (Dec 22, 2010),
  http://www.washingtonpost.com/wp-dyn/content/article/2010/12/21/AR2010122105645.html.
  65 Anti-Coon Hunters Plate Petition, Veto Of “Coon Hunter” Plate Urged, THE WASHINGTON POST
  POLITICAL BLOG NETWORK (June 22, 2010), http://voices.washingtonpost.com/politics/blog-
  network/2010/06/veto_of_coon_hunter_plate_urge.html.
  66 Stefan Lonce, South Carolina: Repeal the “Coon Hunters” Special License Plate PL8 Petition (June 10,
  2010) http://www.gopetition.com/petitions/no-to-coon-hunters-plate.html; FITSNEWS, Veto Of “Coon
  Hunter” Plate Urged” (June 22, 2010), http://www.fitsnews.com/2010/06/22/veto-of-coon-hunter-plate-
  urged/.
  67 What’s This?, FITSNEWS (Apr. 3, 2008); Here’s What Was on S.C. Legislator’s Desk, FITSNEWS (Apr.
  18, 2008), http://www.fitsnews.com/2008/04/18/heres-what-was-on-sc-legislators-desk.


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  Oconee County,” and that Sandifer had sent the article to several residents of his district
  as “free advertising.”68
                   7.      Senator John “Jake” Knotts
          Senator Knotts was another outspoken advocate of the ID Law. During the 2010
  gubernatorial race, Knotts referred to then-candidate Nikki Haley as a “raghead” on an
  internet political show. Specifically, Knotts stated:
          [The voters are] going to find out in the next three days that her daddy
          wears a turban around Lexington and her mommy has a ruby between her
          head and she is a Sikh and trying to be a Methodist, and it gets to
          Greenville, around the Bob Jones University people, they’re not going to
          like that. . . “We got a raghead in Washington. We don’t need a raghead
          in the State House.”

          In response to national backlash, Knotts claimed that his comments “were
  intended in jest.” He went on to explain that “I still believe Ms. Haley is pretending to be
  someone she is not, much as Obama did, but I apologize to both for an unintended slur.”69
  Soon thereafter, during floor debate on the Law’s predecessor bill, Knotts defended
  himself from other House members on the record, claiming, “They make much worse
  racial and religious statements in private company, some that would make even me
  blush.”70
          Similarly, during South Carolina’s redistricting process in 2002, Knotts objected
  to a majority-black precinct in his district, and used a racial slur. He later claimed that
  allegations were misleading, because he was actually relaying a statement made by one of
  his constituents, a Ku Klux Klan leader.71


  68 Colleagues: Sandifer Reveling in Scandal, FITSNEWS (Apr. 15, 2008),
  http://www.fitsnews.com/2008/04/15/colleagues-sandifer-reveling-in-scandal.
  69 Logan Smith, Who Leaked th eLong-Lost Video of Jake Knotts’ “Raghead” Comment?, PALMETTO
  PUBLIC RECORD (May 15, 2012), http://palmettopublicrecord.org/2012/05/15/who-leaked-the-long-lost-
  video-of-jake-knotts-raghead-comment/ (containing embedded video of Jake Knotts’ comment). The video
  can also be found at SC Sen. Jake Knotts Calls barack Obama and Nikki Haley “Ragheads,” YOUTUBE
  (May 15, 2012), http://www.youtube.com/watch?v=Zq5xMT3z560&feature=plcp.
  70 Point of Personal Privilege by Senator Knotts, Legislative History for H.3418 (June 15, 2010),
  www.scstatehouse.gov/sess118_2009-2010/sj10/20100615.htm. See also John O’Connor, “Knotts’ slur
  stirs the Haley storm,” THE STATE, June 3, 2010; Andy Barr, South Carolina Republican Party Calls on
  Jake Knotts to Resign, POLITICO (June 11, 2010), http://www.politico.com/news/stories/0610/38422.html.
  71 Jim Davenport, Suit Reply Draws Fire, WILMINGTON MORNING STAR, January 11, 2002, available
  athttp://news.google.com/newspapers?id=6QJPAAAAIBAJ&sjid=Ux8EAAAAIBAJ&pg=6775%2C27716
  60 South Carolina’s Redistricting News (August 18, 2001-February 7, 2002), accessed June 11, 2012,
  http://archive.fairvote.org/redistricting/reports/remanual/scnews3.htm.


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           B.       Contemporaneous Legislation with Racially Disparate
                    Consequences
           The South Carolina House and Senate considered—and in some instances
  passed—several controversial bills with racially discriminatory undertones, while they
  were considering the ID Law and the 2009 ID Bill. The following four examples
  particularly illustrate this subtext.
                    1.       Immigration Bill
           First, the S. 20 Immigration Bill was signed into law on June 27, 2011. The law
  requires adults to carry immigration papers on them at all times and grants police broad
  discretion to detain those suspected of violating immigration law.72 Several
  organizations, including the American Civil Liberties Union, the National Immigration
  Law Center, Mexican American Legal Defense and Educational Fund, and the Southern
  Poverty Law Center, filed a lawsuit to challenge the immigration law, claiming the law
  would lead to harassment of state Latinos, who account for about five percent of the
  state’s population.73 The Justice Department also filed suit against the law, agreeing that
  the law will unfairly target Latinos and could increase the incidents of wrongful
  detention.74
           A South Carolina federal court issued a preliminary injunction against key parts
  of S. 20 in December 2011. Among others, the injunction blocked the provision that
  police officers must detain suspected undocumented residents and the provision that




  72 Legislative History for S. 20, 119th Reg. Sess. (S.C. 2011-12), available at
  http://www.scstatehouse.gov/sess119_2011-2012/bills/20.htm. Section 5 of the Bill creates the
  misdemeanor of failure to carry a certificate of alien registration and Section 6 authorizes law enforcement
  to determine immigration status upon reasonable suspicion that the person is unlawfully present in the
  United States. Id.
  73 See Federal Court Blocks Major Parts of South Carolina Anti-Immigrant Law, AMERICAN CIVIL
  LIBERTIES UNION (Dec. 22, 2011), http://www.aclu.org/immigrants-rights/federal-court-blocks-major-
  parts-south-carolina-anti-immigrant-law; Legal Residents Fear South Carolina Immigration Law, FOX
  NEWS LATINO (Oct. 26, 2011), http://latino.foxnews.com/latino/politics/2011/10/26/legal-residents-fear-
  south-carolina-immigration-law.
  74 Press Release, U.S. DEP’T OF JUSTICE, Department of Justice Challenges South Carolina’s Immigration
  Law (Oct. 31, 2011), http://www.justice.gov/opa/pr/2011/October/11-ag-1429.html. See also Elise Foley,
  South Carolina Immigration Law Draws Challenge from Justice Department, HUFFINGTON POST (Oct. 31,
  2011), http://www.huffingtonpost.com/2011/10/31/south-carolina-immigration-law-justice-department-
  lawsuit_n_1068247.html.


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  required adults to carry documentation of their legal status.75 This law had many of the
  same Senate sponsors who pushed for the Voter ID Law, including McConnell, Knotts,
  and Campsen.
                   2.       Driver’s License Bill
          A second law that garnered much opposition from the African American
  community was S. 288, passed on June 2, 1010. This new law requires individuals who
  had pled guilty, no contest, or had been convicted of a violent crime to have a
  distinguishing mark on their driver’s licenses.76 State Democrats and Republican
  Governor Mark Sanford also opposed the bill, but it was uniformly supported by
  legislative Republicans, just like the Voter ID Law.77 The driver’s license law was also
  opposed by a variety of civil rights groups, who argued that it imposed an unnecessary
  “Scarlet Letter” on ex-offenders—who are disproportionately persons of color.78 The law
  unnecessarily brands ex-offenders and prejudices police officers who might approach
  them. While Governor Sanford vetoed the bill, both chambers overrode that veto, and the
  law went into effect in July 2011.79
                   3.       English Only Bill
          Senators McConnell and Campsen, who were the lead proponents of the ID Law,
  were among the senators who introduced a bill making English South Carolina’s official
  language, and requiring all state government documents and services to be in English
  only. The bill was referred to the Judiciary Committee, where it apparently stalled.80 As


  75 See Judge blocks portions of South Carolina’s immigration law, L.A. TIMES: NATION NOW (Dec. 22,
  2011 1:20 PM), http://latimesblogs.latimes.com/nationnow/2011/12/judge-blocks-portions-of-south-
  carolinas-immigration-law.html.
  76 Legislative History for S. 288, 118th Reg. Sess. (S.C. 2009-2010), available at
  http://www.scstatehouse.gov/sess118_2009-2010/bills/288.htm; Sarita Chourey, New SC Law Adds
  CriminalRecord to Driving License, AUGUSTA CHRON., Nov. 4, 2011, available
  athttp://chronicle.augusta.com/latest-news/2011-11-04/new-sc-law-adds-criminal-record-driving-license.
  77 Compare Legislative History, House Roll Call Vote Number 257 (Apr. 26, 2011,)
  http://www.scstatehouse.gov/votehistory.php?KEY=2559 (House vote to adopt conference report for voter
  ID bill), with Journal for the House of Representatives, 118th Reg. Sess., R. 296, S. 288—Governor’s Veto
  Overridden (June 29, 2010), http://www.scstatehouse.gov/sess118_2009-2010/hj10/20100629.htm (House
  vote that overrode the governor’s veto of S. 288).
  78 Anthony Miller, ACLU compares license proposal to “Scarlet Letter,”ACLU (Apr. 29, 2010),
  http://www.aclusouthcarolina.org/newsroom/04292010_aclu_compares_license_proposal_scarlet_letter.pdf.
  79 Legislative History for S. 288, 118th Reg. Sess. (S.C. 2009-2010), available at
  http://www.scstatehouse.gov/sess118_2009-2010/bills/288.htm.
  80 Legislative History for S. 19, 19th Reg. Sess. (S.C. 2011-2012), available at
  http://www.scstatehouse.gov/sess119_2011-2012/bills/19.htm.


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  many opponents of the measure have argued, if this bill becomes law, residents for whom
  English is a second or third language may find it more difficult to access government
  services and complete government forms, including those related to voting.
                   4.       Bills to Further Suppress Voting
          H. 4549, introduced in January 2012, would require third-party registration
  organizations to register with the state and return the registration forms within a truncated
  amount of time.81 A larger proportion of minority voters become registered through
  registration drives,82 and measures like H. 4549 would make that process more difficult—
  and perhaps impossible—for the community-based groups doing this type of work.83
  This bill could thus have the effect of reducing the number of minorities registered to
  vote in the state.
          Similarly, S. 304, called the “Voter Citizenship Verification Act,” was introduced
  in January 2011. This bill would require proof of citizenship from those seeking to
  register to vote. One of the bill’s cosponsors is Senator Campsen, who was instrumental
  in passing the Voter ID Law.84 And, like the Law at issue here, proof-of-citizenship
  requirements disproportionately burden the poor and racial minorities.

          C.       Conclusion
          Taken together, the racially-charged statements and conduct of proponents of
  voter ID in other contexts, as well as legislation from the two most recent congressional
  sessions that threatened the rights of racial minorities, show a pattern among South
  Carolina lawmakers of stigmatizing the “other,” including and particularly African
  Americans. Racially-charged statements by leaders in the South Carolina government,
  and proponents of voter ID, show a deliberate attempt to polarize white voters by playing
  upon stereotypes of African Americans. Similarly, the proposed bills described above


  81 See Legislative History for H. 4549, 119th Reg. Sess. (S.C. 2011-2012), available at
  http://www.scstatehouse.gov/sess119_2011-2012/bills/4549.htm.
  82 See Douglas Hess and Jody Herman, Representational Bias in the 2008 Electorate, PROJECT VOTE
  (2009), table 3, available at http://www.voterparticipation.org/wp-content/uploads/2011/10/Project_Vote_-
  _Representational_Bias_the_2008_Electorate.pdf (showing that 12 percent of minority voters reported
  registering through a voter registration drive, whereas 6 percent of white voters reported doing so).
  83 See Press Release, Brennan Center for Justice, National Council of La Raza, League of Women Voters of
  Florida, File in Court to Stop Anti-Voter Restrictions in Florida (Sept. 9, 2011), available at
  http://www.brennancenter.org/page/-/Florida%20Intervention%20Release%20-%20FINAL.pdf.
  84 Legislative History for S. 304, 119th Reg. Sess. (S.C. 2011-2012), available at
  http://www.scstatehouse.gov/sess119_2011-2012/bills/304.htm.


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  indicate the mindset of the lawmakers themselves. That the Law was considered and
  passed by the same legislators against this backdrop provides additional supporting
  evidence of a discriminatory purpose behind the Voter ID Law.
  V.       THE LAW’S LEGISLATIVE HISTORY 85

           A.       The Law’s Predecessor: H. 3418 (2009-10)
           The earlier version of the Voter ID Law, H. 3418 or the Voter ID Bill, was
  introduced in the House on February 3, 2009. H. 3418 was nearly identical to the Law
  with one notable exception: The Law does not provide for early voting; H. 3418 did.
  While a full review of the Voter ID Bill’s legislative history is beyond the scope of this
  report, I focus my analysis below on those aspects that bear on the question of purpose.
           The legislative history of the Voter ID Bill foreshadowed, in many ways, what
  came two years later when lawmakers took up the Law. The bill started in the House,
  where debate was intense. Opponents argued that the bill was a deliberate attempt to
  make it more difficult for minority, poor, elderly, student, or disabled residents to vote.86
  Many also alleged that the purpose of the bill was to curb voter turnout in the black
  community.87
           Moreover, the majority rejected several amendments that would have ameliorated
  the bill’s disparate impact. For instance, Representative David Weeks, the Chairman of
  the Legislative Black Caucus, proposed an amendment permitting a wide range of
  acceptable photo IDs.88 He proposed another amendment to allow a wide range of
  student IDs.89 These amendments were both tabled.
           At public hearings on H. 3418, many groups, including the League of Women
  Voters, the American Civil Liberties Union, Common Cause of South Carolina, and the

  85 In drafting this section, I consulted the legislative histories available online at
  http://www.scstatehouse.gov/sess118_2009-2010/bills/3418.htm and
  http://www.scstatehouse.gov/sess119_2011-2012/bills/3003.htm. I also read the voluminous transcripts of
  the legislative floor debates that were provided to me by counsel, as well as transcripts of the depositions
  that had taken place before this report was finalized. In addition, I relied upon other public materials as
  cited herein. Due to the compressed timeframe of this litigation, I will continue to review materials as they
  become available and will supplement this report and my opinion if necessary.
  86 Rep. Bill Clyburn, for example, vehemently opposed the bill as being discriminatory.
  87 Todd Rutherford, for instance, maintained that the purpose of the bill was to suppress voting. See also
  Matt Long, House OKs Voter ID Bill Despite Black Caucus Objections, South Carolina Radio Network,
  Apr. 26, 2011.
  88 House Journal, 118th Gen. Assembly, 1st Sess., at 1351-82 (S.C. 2009).
  89 Id.


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  NAACP, testified on the discriminatory impacts of the proposed law. 90 State officials
  like Marci Andino, Executive Director of the State Election Committee and Kristen
  Moore Lominack, of the South Carolina Department of Transportation, took no position.
  One would assume that these state officials would have supported the Law if they had
  perceived it to increase election integrity.
          In addition, the League was a joint signatory to a formal letter to Sen. Campsen
  and the Senate Judiciary subcommittee requesting that three public hearings be held
  around the state to give voters—particularly older, disabled, and minority voters—the
  opportunity to address the bill’s impact. Although a voter identification program costs
  over a million dollars to implement, the Subcommittee responded that the state could not
  afford to hold hearings. Opponents of the bill also held a Press Conference on March 25,
  2009. There, they described the ways in which H. 3418 would discriminate against
  minority voters and other disadvantaged populations.91
          Before the final vote on the bill on February 26, 2009, many House Democrats,
  including thirty members of the Black Caucus, walked out of the chambers in a highly
  unusual demonstration of protest. 92 Ultimately, the majority used the rare device of
  cloture to shut down any chance to offer additional amendments.93 Cloture is hard to
  obtain,94 and very rare in the South Carolina legislative process.95 The bill then passed
  largely along racial and party lines, with a vote of 65-14.
          The bill was sent to the Senate on March 3, 2009. As in the House, debate in the
  Senate was intense. Proponents argued that eliminating fees for identification cards
  would eliminate any barriers to voters in need of photo identification.96 Opponents
  retorted that registered voters who did not have proper ID were also unlikely to have the
  underlying documents necessary to obtain photo identification or the money to pay for

  90 See SC_00044262; SC_00044263; SC_00044264; SC_00044265.

  91 Groups Rallying Against SC Voter ID Bill, ASSOCIATED PRESS, Mar. 25 2009.
  92 Clemmons Dep. at 182:19 – 183:7; Martin Dep. at 52:4-15; Harrison Dep. at 123:6-23 (testifying that he
  recalled only once instance in his 23 years in the South Carolina House that Legislative Black Caucus
  walked out); see also Gina Smith, Voter ID wins key approval: House Democrats walk out in protest, THE
  STATE, Feb. 27, 2009, available at http://www.freerepublic.com/focus/f-news/2195258/posts; Seanna Cox,
  South Carolina Legislative Panel Approves Voting ID Bill, ASSOCIATED PRESS, May 7, 2009.
  93 Clemmons Dep. at 179:9-10.
  94 Cleary Dep. at 14:18.
  95 Cleary Dep. at 186:3-4.
  96 Cox, South Carolina Legislative Panel Approves Voting ID Bill, supra.


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  those underlying documents.97 Opponents also argued that travel to government offices
  to obtain ID would be costly and time-consuming for poor and disabled voters. And they
  highlighted the cost of the bill for the taxpayers of South Carolina, explaining that the bill
  would cost substantial sums on an annual basis. 98
          Ultimately, the Senate passed an amended version of the bill by a vote of 36-2.
  The Senate version established an early voting period and eliminated any fees for DMV
  photo identification cards.
          After some back and forth between the chambers, the House requested a
  conference committee to resolve their differences. House representatives to the
  conference committee included Alan Clemmons and Harry Cato, both Republicans, and
  Harold Mitchell, an African American Democrat.99 Senate conference members were
  Chip Campsen, a Republican, Gerald Malloy, an African American Democrat, and
  Phillip Shoopman, a Republican. (Representative Clemmons and Senator Campsen were
  also members of the conference committee that considered H. 3003 two years later.)
          The committee recommended H. 3418, but also recommended that a federally-
  issued employee photo ID be included among acceptable forms of voter ID.
          On June 15, 2010, the House approved the conference report’s version of the bill
  by a vote of 69-47. That same day, the bill died in the Senate due to a Democratic
  filibuster. (Republican Jake Knotts, then-chair of the Senate Rules Committee, allowed
  the filibuster to continue by refusing to vote to “Set a Time Certain to Vote” under Rule
  15). Therefore, the Senate moved to adjourn debate on H. 3418, and the 118th General
  Assembly adjourned sine die, effectively killing any bill not adopted by the General
  Assembly.
          As would be true of the Voter ID Law, throughout its consideration, proponents
  of H.3418 treated enactment of voter identification requirements as a matter of great
  urgency—and in some cases, openly trumpeted its potential to disenfranchise certain



  97 Alice Watson, Voter ID Bill Just Another Poll Tax, THE STATE, Apr. 6, 2009.
  98 Virginia Ghirardelli, Barbara Swift, & The League of Women Voters of Hilton Head Island, Voter photo
  ID a solution without a problem, ISLAND PACKET, Jan. 29, 2010.
  99 Party affiliations can be found at http://www.scstatehouse.gov/house.php, where individual members
  can be searched for party identification. The same can be done for senators
  at http://www.scstatehouse.gov/member.php?chamber=S.


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  voters. On March 20, 2010, a voter ID proponent, Lanneau Siegling, wrote to Rep.
  Clemmons:
         In my opinion there is no plan B… no fallback position and no
         compromise position… We must sign into law, this year, to go into effect
         whenever… a Voter ID Bill! I’m OK giving some window of early voting
         or absentee voting to get this done… I think a good ID bill blunts the gain
         for ‘them’ that they think they get in early voting… Tell them to stay in
         session until it’s done! … Voter ID… don’t come home without it!
         (emphasis added)

         Clemmons responded: “I’m with you, Lanneau!”100

         On June 26, 2010, another constituent, Joe Dugan, wrote to Clemmons to see
  whether the House could support the Senate version of the bill, and to express his concern
  “that the administration in Washington is destroying our heritage” and that the next
  election “may very well be the most important election in our lifetime.” Clemmons
  responded, in part, that “[w]e thought that we saw a great deal of bussed liberals and
  fraudulent early votes in the 2008 election, but with these kinds of early voting provisions
  it has the potential to be even worse!” Neither Dugan nor Clemmons cited any
  documented case of voter fraud. Instead, the subtext of the exchange was that voter ID
  would make it more difficult for some voters who turned out in the 2008 election to vote
  again in 2012.

         B.        The Voter ID Law: R54 (H.3003)
         Seventy-one South Carolina House Republicans, the all-white Republican
  Caucus, sponsored the Voter ID Law. It was passed by the South Carolina General
  Assembly on May 11, 2011, and signed by Governor Haley on May 18, 2011. As with
  the discussion of the Voter ID Bill, I focus my analysis on the parts of the legislative
  history that bear on the question of purpose. Act R54’s full legislative history can be
  found at Appendix C.
                   1.    House Debate
         H. 3003 was introduced on December 7, 2010. From the very outset, the bill
  drew strong opposition from Democrats, and particularly from African American



  100 SC_00000609-10.


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  representatives. And from the outset, amendments that would have served to ameliorate
  the harsh effects of the law failed to pass.
           On January 26, 2011, the judiciary committee offered an amendment that, among
  other things, mandated the SEC to issue voter identification cards with photos to denote
  voters who cast absentee ballots in general elections, and to permit the state to charge a
  fee of $5.00 for the ID card. When Rep. Clemmons explained the amendment, Rep.
  Sellers spoke against the massive cost of the bill against the backdrop of South Carolina’s
  “historic, current crushing $830 million State deficit.”101 Sellers further explained that the
  law risked disenfranchising 178,000 qualified voters, and that its stated justification was
  inadequate. While it was supposedly meant to eliminate fraud, Sellers explained, South
  Carolina had only one allegation of fraud in the 2010 gubernatorial election, and the state
  already had laws criminalizing voter fraud.102 The amendment was adopted by a vote of
  73-41.
           Other amendments—most of them designed to mitigate the burden of the bill on
  voters—were tabled. Among these were amendments to include State employee ID as an
  acceptable form of ID under the Law, exempting persons over age 65 or those with
  physical disabilities, and establishing an early voting period.103
           Debate on the amended version of the Law was intense with numerous opponents
  of the bill, including several African American Democrats, voicing strong opposition to
  the Law’s anticipated effects on voters and its lack of justification:
               Rep. Sellers objected passionately and extensively to making it harder for
               citizens to vote: “Before our eyes, freedom and liberty is being dismantled.”
               As before, he explained that existing laws already criminalized voter fraud,
               that the current bill would not solve any of the voting issues that its advocates
               raised, and that it would impose an unjustifiable cost on the taxpayers.104

               Rep. Leon Howard reiterated that the bill’s stated purpose could not justify its
               massive costs. He explained that even if there has been one fraud case, the
               need to stop it could not be reconciled with costs over $1 million or the


  101 House Journal, 119th Gen. Assembly, 1st Sess., at 646-49 (S.C. 2011)(statement of Rep. Sellers).
  102 Id.
  103 See, e.g., Id. at 652-53 (proposed amendment by Rep. McEachern); id. at 656-57 (proposed
  amendment by Rep. Smith). Republican consultant Wesley Donehue later said in an article, “There’s been
  a false impression over there that Republicans will be hurt with early voting . . . .” Jim Davenport, GOP’s
  Early Voting Opposition May Nix Haley Agenda, Associated Press, June 12, 2011.
  104 Tr. of House Debate, Jan. 26, 2011, at 9-21.


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               damage to voting rights for which people had been subjected to water hoses,
               attacked by dogs, and even died.105

               Rep. Christopher Hart issued a statement for the Journal. He questioned why
               South Carolina did not feel the need for voter ID over the course of its 212
               year history until after an unusually high African American turnout in 2008
               and the election of an African American president. 106

               Rep. David Mack stated, “This is about politics, pure politics. The
               Republican Party benefits from a low voter turnout. The Democratic Party
               benefits from a better, high voter turnout. That’s what it’s all about. In 2008,
               our president brought a lot of black and brown people to the polls.”107

               Rep. Joseph Neal reiterated the connection between the record turnout of
               African Americans and the push for voter ID. He reminded his colleagues
               that in the 2008 election, poll watchers harassed students from Benedict
               College—a historically black college—for using their student IDs, noting that
               the poll watchers did not give students at Clemson University or other schools
               any trouble.108

               Rep. Robert Brown “vehemently object[ed] to H. 3003.” He explained that
               the bill suppresses the votes of the handicapped, the disabled, and citizens
               who have no access to transportation.109

               Rep. J. Seth Whipper noted that the bill had no justification in fact. Since the
               bill was not needed, Whipper said, “I have a strong concern, a deep
               discomfort, and a heavy presumption that the effects of this legislation are
               deliberately disregarded, if not desired.”110

          Despite these objections, the House Republicans were adamantly committed to
  passing H. 3003—and quickly. In particular, Clemmons wanted the House to pass the
  bill before the Senate to beat the Senate to the “crossover date.”111 Crossover usually
  refers to the requirement that a bill be passed in one body by May 1st, “the crossover
  date,” in order to be taken up in the regular course of business by the other body.
  Otherwise it takes a two-thirds vote to consider the bill. Clemmons and the House
  wanted to beat the Senate, and get the Bill to the Senate first.


  105 Tr. of House Debate, Jan. 26, 2011, at 33-41.
  106 Id. at 44-46.
  107 Id. at 57.
  108 Id. at 30.
  109 House Journal, Jan. 26, 2011, at 673 (Statement of Rep. Brown).
  110 House Journal, Jan. 27, 2011 (Statement of Rep. Whipper).
  111 Dennis Dep. at 43:16 – 49:10; cf. Cleary Tr. at 143:16 – 144:6.


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          On January 26, 2011, the House passed the bill along racial and party lines by a
  vote of 74-45.112
                  2.       Senate Debate
          On January 27, 2011, H. 3003 was read for the first time in the South Carolina
  Senate and, in an unusual move, referred to the full Judiciary Committee as opposed to a
  subcommittee. On February 8 and February 9, 2011, two motions were made to make the
  bill a Special Order. “Special Order” is a means to deal with contested bills because, in
  general, the Senate only considers “uncontested” bills. A bill becomes contested one of
  two ways: 1) one or more Senators attach a Minority Report as a bill comes from
  committee; or 2) a Senator objects to consideration. When there is a contest, a bill
  typically will not come up unless the Senators get Unanimous Consent to remove the
  Minority Report or individual objectors “remove their name” from the bill. The
  exception is through a Special Order, which puts the contested bill in line. Ordinarily
  such a motion requires a two-thirds vote of Senators present and voting.
          In this case, the Senate failed twice to muster the two-thirds vote necessary to set
  H. 3003 for Special Order. Then, Larry Martin, as Chair of the Rules Committee, made
  the motion under the special provision requiring only a written majority vote of the Rules
  Committee. A motion to set for Special Order with only a majority vote of the Senate
  pursuant to Rule 33B is very unusual. On February 10, 2011, the bill was set for Special
  Order by a vote of 26-17.
          Thereafter, some amendments designed partially to mitigate the Law’s disparate
  effects failed, including an amendment that would allow student ID cards and that was
  tabled by a vote of 27-13 on February 16, 2011113 and an amendment exempting persons
  aged 65 or older that was defeated 17-25 on February 23, 2011.114 Sen. McConnell,
  however, was successful in proposing an amendment establishing early voting, loosening
  ID restrictions for persons older than 65 who lived in assisted living facilities, and
  loosening restrictions on absentee voting. The amendment was adopted 41-0.115




  112 See House Journal, Jan. 26, 2011.
  113 Senate Journal, Feb. 16, 2011 (Amendment No. P1).
  114 Senate Journal, Feb. 23, 2011 (Amendment No. P4).
  115 Senate Journal, Feb. 16, 2011 (Amendment No. P1).


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          Opposition to the bill remained powerful in the Senate, with opponents
  emphasizing the law’s impact on more disadvantaged voters.
              Senator Sheheen spoke passionately against the bill: “You know, the whole
              goal of this bill, senator from Clarendon, the whole goal of this bill was to
              make it harder for people to vote. Let’s not pretend. We know it’s gonna
              happen. There are 170,000 people who vote currently, who are registered to
              vote currently, who do not have picture IDs. Why? Because everyone
              doesn’t live in the same world that we do. Everyone doesn’t cash…doesn’t
              cash their checks at their bank because they don’t have a bank account. I
              know y’all find that hard to believe, but there are lots of people in this state
              who don’t have a checking account. There are many people that don’t present
              an ID when they get on a plane because they’ve never flown and never will.
              There are many people who don’t do these things that everybody over here
              apparently thinks that everybody in the state does. They don’t. We know that
              a hundred…almost 170,000 of them do do one of the most fundamental,
              probably the most fundamental, thing that we do as citizens. They vote. And
              the estimates – and I hope you listen to this senators, ‘cause I think this is
              important; it’s why I’m pretty passionate about this bill – the estimates are
              that 40,000 of those people will never vote again.”116

              Senator Creighton Coleman echoed Sheheen’s concerns, saying “It’s going to
              have a big impact upon the voters because of course we all know it is going to
              deter people from voting mostly with the elderly and the poor.” He also
              raised the question of how the law would impact someone who had their
              driver’s license suspended.117

              Senator Gerald Malloy reiterated concerns of vote suprression, noting that the
              effect of the bill would be that voters, and especially nonwhite citizens, would
              be less able to participate in the political process. 118 He also criticized the
              flimsy justification for the bill: “the essence of this Bill, in total, is to
              discourage people from voting….And I submit to you that this is a solution to
              a non-problem.”119 In addition, he highlighted the potential for disparate
              enforcement of the law, asking whether he could be forced to vote with a
              provisional ballot if a poll worker decided he looked different from his photo
              ID, for example older with less hair. The answer was yes.120

          Despite these repeated and insistent concerns about the effect of the law on voters,
  proponents of the bill held firm. Indeed, while remarks in favor of the bill—including by
  Senators Campsen and McConnell—stated that it was not the intent of the bill to stifle


  116 Senate Journal, Feb. 23, 2011(Amendment No. P4).
  117 Senate Tr., Feb. 23, 2011, at 77.
  118 Senate Tr., Feb. 24, 2011, at 105-106.
  119 Id.
  120 Senate Tr., Feb. 24, 2011, at 122-23.


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  voting, the supporters did not substantively address the minority’s concerns that it would
  have that effect.
          Likewise, while Sen. Campsen stated that the bill was necessary to address fraud,
  neither he nor other proponents of the law relied on any evidence that voter
  impersonation fraud was a problem in South Carolina. Indeed, the potential South
  Carolina fraud issues he did raise—absentee ballots fraud, voter intimidation, and buying
  votes—were not ones the legislation addressed, as Sen. Bradley Hutto pointed out.121
  Ultimately, Sen. Campsen could not defend the position that South Carolina had an
  impersonation fraud problem, arguing instead that the South Carolina should protect itself
  against that possibility: “It is a preventive measure.”122
          On February 24th, the amended bill, which faced strong opposition from the
  Senate Democrats, was adopted 24-15. 123
          The Senate versions included provisions to soften the bill’s impact on voters that
  was not to the liking of proponents of a harsher Voter ID Law. A supporter emailed
  Representative Clemmons in response to the bill’s passage that he understood “it was
  weakened… everyone over 65 exempt… old dems will be voting when they’re 110…”124
  Clemmons responded: “That’s unacceptable…” And the South Carolina GOP, which is
  not authorized by any candidate or candidate’s committee, circulated an email to its
  distribution list celebrating the Senate passage of the bill. It stated, “Though the version
  of the legislation that passed the House is preferable, deals have to be made in the Senate
  in ways they do not in the House to move the bill through the process. But we are
  counting on a stronger bill coming through conference committee.”125
          The amended bill was returned to the House, which adjourned debate until April
  6, 2011. At that point, the House amended the Senate bill to the previous House version.
  This House version did not establish any exceptions for elderly voters and did not include
  any early voting procedures.



  121 See Senate Tr., Feb. 24, 2011, at 108-112 (Senator Campsen describes alleged electoral abuses); id. at
  112 (Senator Hutto questions Campsen about how voter ID addresses those particular problems he raised).
  122 Senate Tr., Feb. 24, 2011, at 128.
  123 See South Carolina Senate Passes Voter ID, SOUTH CAROLINA STATEHOUSE BLOG (Feb. 25, 2011),
  http://sc.statehouseblogs.com/2011/02/25/south-carolina-senate-passes-voter-id-press-release/
  124 SC_00000857.
  125 SC_00094030.


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          Opponents of the bill in the House once again questioned the motivations behind
  it. Rep. Sellers said:
          Now, I know what is this about, in 2008 Barack Obama became president
          of United States and he scared the Republican Party and Tea Party to
          death. You have lines that stretched from polling booth to miles and miles
          around, and I know there is a fear that is deep down in the hearts of good
          republican colleagues.126

          Likewise Representative Sellers and Representative Harry Ott questioned why an
  expired driver’s license should not be accepted if the purpose of the bill was just to verify
  a voter’s identity.127 Representative Mack answered that the bill’s true purpose was not to
  verify who is voting but to disfranchise people of color.128
          On April 13, the Senate debated the bill. Several Senators expressed frustration
  that the House had stripped so many provisions from the Senate bill and particularly that
  the Chairman, Senator Raymond Cleary, was encouraging them to vote for the House bill
  despite its failure to include any of the Senate additions.129 A Senator from Charleston
  questioned why the Chairman was applying this pressure when usually if the Senate
  disagreed with a bill the House sent back, the House and Senate went to conference
  committee.130
          Senator Sheheen answered the question, explaining that Republicans were
  circulating a request to their distribution list to have constituents call their Senators to
  pass the House bill. He stated, “We know that the political party is driving this debate,
  right? Nationally and locally.”131
          Senators Malloy and McConnell engaged in a mini-filibuster to forestall a vote to
  concur with the House bill. Ultimately, the Senate failed to pass the House version of the
  bill, 28-15. The House insisted on its version and requested a conference.
                  3.       Public Hearings
          The public was given limited opportunity to provide public testimony on H.3003.
  To my knowledge, there were only two public hearings on the bill. Both were held at the


  126 Transcript of House Debate, Apr. 6, 2011, at 120.
  127 Transcript of House Debate, Apr. 6, 2011, at 127-29.
  128 Transcript of House Debate, Apr. 6, 2011, at 137.
  129 Transcript of Senate Debate, Apr. 13, 2011, at 1-5.
  130 Transcript of Senate Debate, Apr. 13, 2011, at 6-13.
  131 Transcript of Senate Debate, Apr. 13, 2011, at 36-38; see also SC_00093980-93981; SC_00070510.


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  subcommittee level and both were during the beginning of the session shortly after the
  bill was first introduced.
          On January 6, 2011, the Senate Judiciary Subcommittee held a hearing on Senate
  Bill 1, the companion bill to H. 3003 which contained a 15-day early voting period.132
  Eight people testified in person.133 While some praised the Senate for the early voting
  provision, not a single person testified in favor of photo ID. Instead, opponents voiced
  concerns about the added hurdles the bill would place in front of voters, its high cost, lack
  of basis, and the disparate impact it would have on the elderly, students, minorities, low-
  income voters, and voters with disabilities. Carole Cato of the League of Women Voters
  presented legislators with data from the State Election Commission showing that
  “178,175 legally registered voters have no photo ID from the DMV. More than 27% of
  persons with no photo ID are 65 and over, some with disabilities; 26% are 45-64, some
  with disabilities; 36% are minorities; 64% are white; and almost all live in poor rural
  areas with little or no public transportation.”134 Others referred to the bill as “a solution in
  search of a problem.”135 And Patricia Calkins, a York County Poll Manager, expressed
  concern about the bill’s burden on poll workers.136
          On January 13, 2011, the House Election Laws Subcommittee held its hearing on
  H. 3003. It lasted just 70 minutes.137 Cato was among five people who testified in
  person. She referred to the photo ID requirement as “an idea with no basis, shaky legality
  and high costs.” As she did before the Senate Subcommittee, she presented legislators
  with the State’s own statistics on the number of South Carolina voters who do not possess
  a photo ID and its disproportionate impact on minorities, the elderly, and the poor.138
                   4.      Conference Committee
          Members appointed to the conference committee were Representatives Alan
  Clemmons, James Lucas, and James Merrill—not one House Democrat—and Senators

  132 See SC_00044273.
  133 See generally Hearing on S. 1 Before the S. Judiciary Comm., 119th Sess., Jan. 6, 2011 (audio
  recordings of hearing on file with counsel for Intervenor-Defendants).
  134 SC_00095826.
  135 Hearing on S. 1 (testimony of Bret Bursey, Progressive Network).
  136 Hearing on S. 1 (testimony of Patricia Caulkins).
  137 U.S. Exhibit No. 8 to Andino Deposition.
  138 Hearing on H. 3003 Before the H. Election Laws Subcomm, 119th Sess. (S.C. Jan. 13, 2011)
  (testimony of Carole Cato, League of Women Voters of South Carolina) (audio recordings of hearing on
  file with counsel for Intervenor-Defendants); see also U.S. Exhibit No. 8 to Andino Deposition.


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  Chip Campsen, Glenn McConnell, and John Scott (African American Democrat from
  Richland).139 (Clemmons and Campsen had also been on the conference committee for
  H. 3418, the predecessor to H. 3003.) Patrick Dennis served as Chief Counsel to the
  South Carolina House Judiciary Committee, and the committee elected Sen. McConnell
  as its chairman.
          In the conference committee, representatives of the House and Senate continued
  to disagree vehemently on the question of which IDs should be accepted. Clemmons
  reiterated that only identification that allows a passenger onto a plane would ensure
  secure voting and instill confidence in the South Carolina electoral process. The Senate
  perspective was that expired drivers’ licenses still confirm the voters’ identities;
  therefore, seniors who no longer drive should still be allowed to use expired licenses.
  While the House countered that identification needs to be kept current because one’s
  identity changes over time,140 House members had no explanation for refusing to include
  an expired driver’s license among acceptable forms of ID, while the SEC’s new photo ID
  registration card will never expire, or require voters to update their photograph.
          The Senate version of the bill also included State employee IDs to make voting
  more accessible and the law less costly because the State would not need to pay for SEC-
  or DMV- issued identification for State employees. The House was again intransigent,
  insisting that only forms of ID that would allow one to board a plane should be accepted.
  In particular, Clemmons argued that State employee IDs should not be permitted because
  there was no law regulating how employee IDs could be verified.141
          The most contentious point in these deliberations was early voting. Senator
  McConnell explained the Senate wanted early voting to signal to the Department of
  Justice its good faith effort not to disenfranchise voters. Sen. Scott pointed out that the
  people of South Carolina had been asking for early voting for years. According to Sen.
  Scott, the question was not if South Carolinians needed early voting (they did); but
  whether they needed voter identification. While Rep. Merrill countered that early voting
  undermines the security that voter identification brings, Senator McConnell argued that


  139 The House appointed a Democrat to the conference committee when it worked on H. 3418, but not to
  the committee working on H. 3003.
  140 Conference Committee Tr. at 8-9.
  141 Conference Committee Tr. at 9-17.


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  the Senate version did more to secure the electoral process while making it more
  accessible than the House bill.142 Ultimately, the conference committee reverted to the
  House bill.143 Still today, Senator McConnell believes that the Senate bill is more likely
  to be consistent with the Voting Rights Act than the House bill that was passed.144
           As committee members were congratulating each other on finishing the
  legislation, African American Sen. Scott made a statement. He believed the finished bill
  disregarded the minority perspective, and he informed the committee he would not be
  signing the bill. He lamented that the committee had turned a “deaf ear” to the demands
  of minority voters, such as early voting.145
           On April 26, 2011, the House considered the conference committee report. Again
  opponents of the bill spoke out. Representative Sellers wanted to know what the price
  would be, but Clemmons declined to answer.146 Representative Hart spoke passionately
  about how the bill would dissuade legitimate voters from participating in the electoral
  process.147 Representatives Cobb-Hunter and Neal questioned the proponents’
  commitment to electoral integrity given the lack of any response from the Republican
  leadership in the General Assembly to documented cases from the prior election of a
  thousand votes in one precinct and 800 votes in another not being counted due to
  problems with voting machines. Representative Neal asked where the “outcry for
  integrity” was over these documented cases in which citizens lost their votes.148
           In the end, the House adopted the bill by a vote of 71-36, and returned it to the
  Senate. After debate, the Senate adopted the conference committee report by a vote of
  26-16 on May 11, 2011.



  142 Tr. of Conference Committee at 52-67 (stating that by adding a few days to early voting, the legislature
  would signal that “we were not chilling anybody’s right to participate”)
  143 Some wording from the Senate bill was inserted, but overall, the finished product was the House bill.
  144 McConnell Dep. 140:9 - 141:9, June 14, 2012; McConnell Dep. 189:17-192:21.
  145 Tr. of Conference Committee at 77. Some majority members of the conference committee turned a
  deaf ear not only to the views of the minority but to dissenting voices within their own party. On April 7,
  2011, Alan Clemmons received a response to one of his email bulletins from Joseph and Kathryn Martin,
  two constituents who explained that they see Voter ID “as a cleverly disguised attempt to reinstate the Jim
  Crow voting restrictions that have disgraced the history of this state” and that they were registered
  Republicans who vote. SC_00000924-25. These concerns appeared to have no effect on Clemmons’
  resolve to pass a harsh Voter ID bill.
  146 Tr. of House Deb. at 169-70 (April 26, 2011)..
  147 Tr. of House Deb. at 178-199 (April 26, 2011)..
  148 Tr. of House Deb. at 202-03 (April 26, 2011).,


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          The Voter ID Law was ratified on May 17, 2011, and signed by the governor on
  May 18, 2011.

          C.      Conclusion
          From studying the legislative history, I have reached several conclusions that,
  taken together, allow me to ultimately conclude that the Law was motivated by a
  discriminatory purpose.
          1.      Every African American legislator and every legislator who represented
  an African American majority district opposed the bill adamantly, on the grounds that it
  discriminated against minority voters.149
          2.      There were several procedural irregularities and unusual incidents in the
  consideration of H. 3418 and the consideration and passage of H. 3003.
          First, in the debate over H. 3418, Representative David Weeks declared that
  opponents had been denied a meaningful role in the negotiations. Then, before the final
  vote on the bill on February 26, 2009, many House Democrats joined the members of the
  Legislative Black Caucus when they walked out of the chambers.150 Thereafter, the
  majority responded by amending the bill to make it even more restrictive, possibly in
  retaliation for the walkout.
          Second, on January 27, 2011, when H. 3003 was read for the first time in the
  Senate, it was referred directly to the full Judiciary Committee rather than to the
  subcommittee. Although not unheard of, this is an unusual procedure.
          Third, was the use of a Senate Special Order motion for both H. 3418 and H. 3003
  by majority vote. As explained above, although such motions are permitted under Senate
  Rules, they are considered a very unusual course of action. Such Special Orders have
  been made five times in the last decade: in 2005, for a medical malpractice bill; in 2008,
  for an increased cigarette tax; in 2011, for an immigration bill; and in 2008 and 2010 for



  149 See Kent M. Williams Aff. ¶ 3 (December 21, 2011); John C. Land, III, Aff. ¶ 3(Dec. 20, 2011);
  Gerald Malloy Aff. ¶ 4 (December 21, 2011) , attached to Supplemental Section 5 Cmt. Ltr. from Sen.
  Malloy to T. Christian Herren as Tab 33.
  150 See, e.g., Gina Smith, Voter ID Wins Key Approval: House Democrats Walk Out in Protest, FREE
  REPUBLIC, (Feb. 27, 2009) http://www.freerepublic.com/focus/f-news/2195258/posts; Sarita Chourey,
  Hope fades for reform bill, AUGUSTA CHRONICLE (May 11, 2009) at A08 available at
  http://chronicle.augusta.com/stories/2009/05/11/met_523534.shtml; CONGRESS DAILY, South Carolina
  House Panel Advances Voter ID Bill (May 8, 2009).


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  the voter ID bills. It is certainly striking that this rare procedural device has been used
  twice for voter ID.
           Fourth was the scarcity of public input. As noted above, very few public hearings
  were allowed. Moreover, the General Assembly refused to hold statewide hearings in
  2009, despite The League of Women Voter’s request to do so. Moreover, the League
  also requested a meeting with the General Assembly Republicans to share facts on the
  legislation, but party leaders denied this request as well.
           Fifth, the bills were pushed forward by the Republican majority with unusual
  urgency.151 This is particularly unusual given the vehemence of the opposition and, as
  discussed infra, the lack of any evidence of impersonation voter fraud.
           3.        In addition to these procedural irregularities, a number of additional
  aspects of the legislative history point to the existence of a discriminatory purpose behind
  the Law:
                All warnings about the adverse effect on minorities of the bill were ignored
                without study. Although the legislators were provided with an SEC
                breakdown showing higher percentages of nonwhite voters who lacked DMV
                issued identification,152 the General Assembly did not ask the SEC its view on
                the effects of the bill,153 nor conduct any study on the bill’s effect on
                minorities or minority turnout.154 During deposition, numerous legislators
                admitted, in effect, to ignoring evidence of discriminatory impact.155


  151 Among other places, the priority Republicans assigned to the passage of Voter ID was recognized in
  the press. See Seanna Adcox, SC Legislators Approve Voter ID Requirements, AUGUSTACHRONICLE
  (Jan. 26, 2011) available at http://chronicle.augusta.com/latest-news/2011-01-26/sc-legislators-approve-
  voter-id-requirements?v=1296079426. The urgency sometimes proved difficult to justify, however, given
  the other challenges confronting the state. Harrison Tr. 154:3-21 (agreeing that his campaign literature
  failed to list voter fraud as a priority and testifying that he was not sure that voter fraud was at the top of the
  list “along with the creating jobs and our economy and education and some of those issues.”)
  152 Andino Dep. 69:3-71:18.
  153 Andino Dep. 153:4-7; Andino Dep. 188:15-23; McConnell Dep. 188:14-189:15; Harrison Dep. 96:12-
  25.
  154 Andino Dep. 70:10-72:3 (SEC director was not asked for additional analysis regarding racial disparity
  of those lacking ID in consideration of H.3418); Andino Dep. 152:25 -153:7 (SEC director was not asked
  by anyone in General Assembly for her view on effect of photo ID on turnout or minority voting); Martin
  Dep. 77:18-79:13.
  155 Supplemental Section 5 Cmt. Ltr. from Sen. Malloy to T. Christian Herren, Tab 33, Malloy Aff.at 3,
  SC_00056916 (statistical analysis of discriminatory impact was refused and ignored during legislative
  process); Dennis Dep.. 78:23-81:16 (testified that as Chief Counsel for the House Judiciary Committee, he
  drafted H.3003; acknowledged that although the VRA requires the consideration of possible disparate
  effect on minority voters, he did not review any data on the effect on minority voters from the DMV; did
  not request anything of the SEC; is not aware of anyone asking for such data from the SEC; and does not
  recall reviewing any other statistical information, studies, or analyses on impact on minorities); Lowe Dep.
  82:3-85:21 (noting that he did not ask for or review any data on impact on racial minorities and thatno


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               The legislature considered and excluded student IDs without persuasive
               justification, even though there are eight predominantly African American
               colleges in the State.

               The House was adamant in not accepting the Senate version that would have
               allowed State employee IDs and early voting.156 It was widely believed that
               these additions would have mitigated the Law’s adverse effects on minorities.
               One, lawmakers believed that state employees are more likely to be minorities
               than the general population.157 Two, early voting would have allowed more
               time for those turned away for insufficient ID to obtain ID or learn about the
               reasonable impediment exception. Early voting is also thought to decrease
               long Election Day lines that cause people to turn away; with photo ID, even
               longer lines are expected because of the need to scrutinize photos.158

               Whatever may have been the justifications for excluding student and state
               employee IDs, there is no plausible justification for the legislature’s failure to
               allow IDs issued by the DSS and other social service agencies to suffice under
               the Act. This decision mirrors the discrimination evident in Condon v.
               Reno,159 when the State eased registration procedures at the DMV but refused
               to allow voter registration at the DSS where 70-80% of the clientele was
               minority. Whether that omission in 1995 was purposely discriminatory or not,
               the State’s 2011 determination to exclude social service agencies again after
               being put on notice by a federal court suggests intentionality.

               The cost of implementation for Act R54 is $535,000 initially and an additional
               $100,000 annually, plus lost DMV fees and revenue for the Department of
               Transportation.160 Indeed, the DMV wrote a letter to Sens. McConnell,
               Campsen, and Scott expressing concerns regarding H.3003’s “unfunded
               mandates” that “cause DMV to eliminate mission essential functions due to
               funding constraints” and “increased workloads for an organization that is
               currently only resourced at 80% strength.”161 And Senator McConnell testified

  proponents of the bill argued that it would not have disparate impact on racial minorities); Lowe Dep.
  129:23-130:15 (testified that he had no contact with SEC at all prior to bill passing); Limehouse Dep.
  45:12-47:10 (testified that he agreed that it was important to consider the impact of legislation on racial
  minorities, but although he heard oral argument on burden to racial minorities, he was unpersuaded by
  them. He reviewed no data or studies.); Limehouse Dep.. 43:23-44:15 (testified that although he did not
  consider any burdens of the Act, he was confident that it did not pose any burdens at all).
  156 Peeler Dep. 38:17-24; McConnell Dep. 132:24-133:3.
  157 McConnell Dep. at 201:10-22.
  158 Peeler Dep. 38:5-7; Harrison Dep. 115:19-116:1; Harrison Dep. 117:8-13; Cf. Andino Dep. 189:7-18;
  and Andino Dep. 191:12-23 (discussing virtues of early voting in decreasing waiting time and as a factor in
  increasing turnout).
  159 913 F.Supp. 946 (D.S.C. 1995).
  160 Andino Dep. 80:16 -82:1 (testified that the cost of the bill is $535,000 initially); U.S. Andino Ex. 9,
  SC_00098016; DMV Response to Sen. Hutto FOIA Request at 3, SC_00001746 (estimating $651,883 in
  lost revenues for Highway Fund and $667,525 in lost revenues to DMV for issuance of free ID cards);
  Statement of Estimated State Revenue Impact, Feb. 2, 2011, SC_00077538 (estimating $507,360 in
  reduction of revenue to highway fund based on free issuance of cards).
  161 SC_00096418.


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              that these costs were being imposed while higher education and senior citizen
              services are underfunded.162 That the legislature chose to ignore the massive
              costs of voter ID at a time of budget crisis defies logic and points toward an
              improper purpose.

              The 2011 conference committee had only one member of the Democratic
              party, Senator John Scott.163 The House did not appoint any Democrat to the
              committee. While not illegal, this decision is hardly a model of good
              government, and differed drastically from the legislature’s bipartisan approach
              in 2009. In 2011, this closed circle turned a blind eye and deaf ear to anyone
              in opposition.

              At conference on the bill, the House promised to introduce early voting in a
              separate bill after ID was passed, but it never did. The Senate sent the House
              such a bill, and it died without action.164

  VI.     THE ANTICIPATED EFFECT OF THE CHANGE ON MINORITY CITIZENS
          The history and context for the passage of the Voter ID Law demonstrate that
  South Carolina lawmakers anticipated the disproportionate effects it would have on
  minority voters. In response, rather than expanding the types of acceptable IDs to permit
  state employees, students and seniors to vote or increasing the number of days available
  for voting, South Carolina lawmakers rejected every opportunity to make the Voter ID
  Law more equitable. The combined legislative history, South Carolina’s well-understood
  demographics and public media reports lead to no other conclusion than that the
  legislature understood the potential discriminatory effect and passed the Law anyway.
          First, the very same legislature that passed the Voter ID Law had studied the
  state’s demographic makeup for the redistricting following the decennial census; the
  legislators were well aware of racial bloc voting patterns and the number and proportion
  of African Americans in each district. See supra Section I. Indeed, the South Carolina
  government website links to reports and tables of population statistics by race and
  geographical locations, making clear that the legislators who supported H. 3003 had
  detailed knowledge of each electoral district’s demographics and the distribution of those


  162 McConnell Dep. 194:11-20.
  163 See generally Conference Committee Transcript. Cf. Dennis Dep. 54:4-54:10 (noting that quorum of
  either committee must meet publically); S.C. Code Ann. § 30-4-80(B) (1976) and Senate Rule 19(g)).
  Dennis Dep. 55:11-18 (noting that Senate conferees amenable to rejecting early voting, no real
  disagreements in committee except for Scott on early voting).
  164 McConnell Dep. 143:7-20; McConnell Dep. 161:10-16.


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  districts in the state.165 In one telling instance, Rep. Lowe testified that a House-drawn
  map reducing the percentage of black voters in his district by 2% (as compared to the
  Senate’s map) would give him a definite advantage in getting re-elected. Indeed, Lowe
  wrote an opinion editorial in which he pushed for the House map,166 and admitted that the
  reduction of black voters could be the “deciding factor.”167 Other documents from the
  Florence County Republican Party also call for a 7th District with lower Black Voting
  Age Population and indicate that the county party may have had “issues” with attracting
  people of color to their party.168
           Similarly, there is no question that lawmakers were aware of several
  predominantly African-American colleges in the State when they made the determination
  not to accept student IDs.169 See infra.
           Second, in the State of South Carolina, the difference in the socioeconomic
  position of African Americans and whites is long-standing and well-documented. On the
  whole, white South Carolinians show significantly higher levels of important
  socioeconomic indicators (such as education and economic prosperity) than their African
  American counterparts.170 The evident lower socioeconomic status of African Americans
  means not only that they are disproportionately likely to lack the ID required by the law,
  but also that they would face disproportionate hurdles in seeking to comply with it. Yet
  lawmakers turned a blind eye to disproportionate lack of ID ownership among African


  165 District Population Chart, S.C. Senate Judiciary Comm., Mar. 29, 2011,
  http://redistricting.scsenate.gov/Exhibits/Exhibit%2015%20-
  %20DISTRICT%20POPULATION%20CHART/Exhibit%2015%20-
  %20S591PlanComp.2010%20Census%20Pop.pdf.
  166 Lowe Dep. Intervenors’ Ex.2.
  167 Lowe Dep. 90:11-98:20.
  168 See, e.g., from FLORENCE COUNTY REPUBLICAN PARTY (SC), FACEBOOK: Stephanie Rawlinson, “We
  Must Stand Up for the Pee Dee!!!” June 23, 2011 at 11:43 pm; “Florence County Council Seats Up for
  Election in 2012,” Nov. 2, 2011 at 11:31 am; Bill Pickle, Chairman, Florence County Republican Party,
  “Florence County Republicans Call to Action!!! June 2011,” June 13, 2011 at 4:05 am.
  169 McConnell Dep. 200:20 – 201:9, June 14, 2012; Press Release, Sen. Lindsey Graham, U.S. Senate
  Recognizes National Historically Black Colleges and Universities Week (Sept. 14, 2010) (S.C. home to
  eight HBCUs); MILES TO GO: SOUTH CAROLINA, SOUTHERN EDUCATION FOUNDATION 14 (2002),
  http://www.che.sc.gov/AccessEquity/A&E/Miles%20To%20Go-%20Final%20Book.pdf (as of 2000, 26%
  of all African-American undergraduates enrolled in one of these eight historically black colleges and
  universities).
  170 See, e.g., Cleary Dep. at 205 (in rural areas where a greater percentage of minorities live you tend to
  have poorer health and earlier death rates, less likely to get a college education); TOBY MOORE & SARA
  LAWRENCE, CREATING GREATER OPPORTUNITY IN SOUTH CAROLINA’S I-95 CORRIDOR: A HUMAN NEEDS
  ASSESSMENT, RTI INTERNATIONAL (2009).


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  Americans while they considered the bill.171 Indeed, Rep. Brannon, one of the Law’s co-
  sponsors, testified that despite discussions of disparate ID ownership during the floor
  debates, he never requested data on the issue. Brannon “didn’t feel like [he] needed that
  information to cast [his] vote.”172
           These facts were evident to the Legislature considering the ID Law not only from
  its familiarity with demographic data from the redistricting process but also because: (1)
  the ID Law’s disparate impact was repeatedly highlighted during the floor debates; and
  (2) numerous advocates brought these socioeconomic disparities to its attention. For
  instance, Senator Malloy expressly told his colleagues that a disproportionate “36% of
  those lacking state-issued photo ID’s are non-whites.”173 Carole Cato of the League of
  Women Voters echoed this statistic, and presented legislators with data from the SEC to
  confirm that “178,175 legally registered voters have no photo ID from the DMV” and
  that 36% of those voters are minorities. The League of Women Voters also provided a
  detailed handout to every lawmaker outlining its reasons for opposing the ID Law,174 and
  arguing:
           [P]hoto ID would impose a number of barriers on voters, particularly
           seniors, minorities, and people who have disabilities, live in rural
           communities, and have lower incomes. These voting barriers raise serious
           questions of compliance with the Help America Vote Act and the Voting
           Rights Act.

           Third, concerns about the disparate effects on the African American population
  appeared repeatedly in the press. For instance, the Augusta Chronicle wrote on June 16,
  2010, “Democrats also oppose requiring voters to show a picture ID, saying it would




  171 Martin Dep. 78:2 – 84:24, June 13, 2012 (it would not be a problem if minorities were 30% of the
  population but 36% of those without ID; only 40-50% would be a problem); see also Martin Dep. at 176:8
  – 178:23 (considered retrogression statistics for reapportionment but not voter ID)); Limehouse Dep. 54:4-
  56-9; Lowe Dep. 85:2-21 (no proponent of the bill argued it would not have disproportionate effect on
  racial minorities), 115:2-116:25; Cleary Dep. at 206 (saying that “there may be a tendency for that group of
  minorities . . . not to have a photo ID, but that doesn’t mean that they can’t take five minutes, 20 minutes
  to get an ID” and that transportation is not a hurdle in today’s society); Peeler Tr. at 94; Brannon Dep. 65:8
  – 68:18 (not requesting statistics on impact of bill on minority voters because “I didn’t feel like I needed
  that information to cast my vote”)
  172 Brannon Dep. 65:8 – 68:18.
  173 S. Journal, 119th Sess. (statement of Sen. Gerald Malloy).
  174 Undated one page sheet on League of Women Voters letterhead. In possession of author; see also
  SC_00044252-55.


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  suppress the vote of minority, disabled and poor residents who don’t have such ID. They
  called it a backlash to the election of President Obama.”175 Another article stated,
          [T]here’s little doubt that the photo ID provision would be a burden, and
          perhaps an onerous one, for the most downtrodden segment of the state’s
          electorate. The poor, the elderly, the handicapped—folks who already lack
          much of a voice in state politics—would likely vote in even smaller
          numbers if (or rather when) this bill is enacted.176

          The Augusta Chronicle again brought up the issue in January 2011:

          [H]ours-long debate echoed the contentious arguments of last year.
          ….Democrats countered that it would suppress the vote of minorities, the
          disabled and elderly who don't have such IDs. They compared the
          requirement to Jim Crow-era laws in the South that kept blacks from
          voting. And they accused Republicans of pushing for the bill following the
          election of President Barack Obama.177

          And, James Davenport in an AP article on April 20, 2011, stated, “Republicans
  say the bill is about voter integrity. Democrats say it suppresses turnout by minority,
  disabled and elderly voters who lack a license and they argued educating people on the
  measure and supplying a free photo ID will be expensive.”178
          After the Act was passed Davenport published another article examining the
  effects of the law and its disproportionate impact on minorities. Davenport analyzed
  precinct-level identification data and concluded that “South Carolina’s new voter photo
  identification law appears to be hitting black precincts in the state the hardest.”179 That
  article highlighted the precincts surrounding Benedict College and South Carolina State




  175 Seanna Adcox, SC House approves photo ID, early voting proposal, AUGUSTA CHRONICLE, June 16,
  2010, available at http://chronicle.augusta.com/news/metro/2010-06-16/sc-house-approves-photo-id-early-
  voting-proposal. (last accessed June 19, 2012).
  176 Editorial, Voter I.D. bill: A solution in search of a problem, SCNOW, Feb. 8, 2011,
  http://www2.scnow.com/news/2011/feb/08/editorial-voter-id-bill-solution-search-problem-ar-1439340/.
  (last accessed June 19, 2012).
  177 Seanna Adcox, SC legislators approve voter ID requirements, AUGUSTA CHRONICLE, Jan. 26, 2011,
  available at http://chronicle.augusta.com/latest-news/2011-01-26/sc-legislators-approve-voter-id-
  requirements?v=1296079426.
  178 Jim Davenport, SC legislators reach agreement on voter ID bill, ASSOCIATED PRESS, Apr. 20, 2011,
  available at http://www.goerie.com/apps/pbcs.dll/article?AID=/20110420/APN/1104201380 (last accessed
  June 19, 2012).
  179 Jim Davenport, Voter ID Law Hits Black Areas: 1,977 Nonwhite Voters Lack State-Issued Photo, The
  Post & Courier, Oct. 19, 2011, available at
  http://www.postandcourier.com/article/20111019/PC1602/310199937.


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  University, both historically black schools, where nearly one-half and one-third of
  registered voters, respectively, lack state-issued photo identification.180
          Thereafter, South Carolina Senate GOP Caucus Director Wesley Donehue linked
  to Davenport’s article and tweeted, “Nice! @jimdavenport_ap proves EXACTLY why
  we need Voter ID in SC.”181 After public criticism, Donehue claimed that his Tweet was
  taken out of context—that his point was actually those without state-issued identification
  in the majority-black precincts in Davenport’s article did not lack state-issued
  identification because they are black but because they are out-of-state students.182 Even
  so, it is hard to ignore the racial undertones of Donehue’s reference.183
          Fourth, the law by its design vests substantial discretion and power in local
  officials and poll workers. As SEC Executive Director Marci Andino testified, elections
  are conducted by municipal and county election commissions, and the SEC does not
  exercise any direct control over these commissions.184 As a result, the SEC could not
  guarantee that poll managers would ask those lacking acceptable identification under the
  Act if something beyond their control had prevented them from obtaining such
  identification—which is her understanding of a “reasonable impediment.” On the
  contrary, county election commissioners could instruct poll managers not to ask any such
  questions concerning any “reasonable impediment” that may have prevented a voter from
  obtaining ID.185 By law, if a county board of elections disagrees with an interpretation or
  directive of the State, the SEC has no authority to compel that county to follow the SEC
  directive.186 Historically, the vesting of such substantial discretion in local officials and
  poll workers has led to abuse and discrimination.187


  180 Id.
  181 Wesley Donehue, TWITTER (Oct. 19, 2011, 9:32 AM),
  https://twitter.com/wesleydonehue/status/126697172187095040.
  182 Ryan J. Reilly, S.C. GOP Operative: AP Story Showing Impact of Voter ID On Blacks ‘Proves
  EXACTLY’ Why Law Is Needed, TPMMuckraker (Oct. 20, 2011, 3:15 PM),
  http://tpmmuckraker.talkingpointsmemo.com/2011/10/sc_gop_operative_ap_story_showing_impact_of_vo
  ter_id_on_blacks_proves_exactly_why_law_is_needed.php.
  183 Davenport, supra.
  184 Andino Dep. 180:7-24.
  185 Andino Dep. 206:1-207:1.
  186 Andino Dep. 135:4-18.
  187 Burton et al., THE QUIET REVOLUTION, supra. Indeed, during legislative debates, Representative
  Weeks pointed to the state’s history—in the past potential voters were asked to explain part of the
  constitution to the registrar’s satisfaction—and warned that H.3003 vested too much discretion in local
  officials. House Debates Tr., January 26, 2011, at 47.


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          South Carolina’s history suggests that vesting excessive discretion at the local
  level poses a risk of discriminatory implementation. One reason is that significant
  appointment powers reside with the state legislative delegations, which “continue to
  control county boards of registration and elections, precinct line and method of election
  and district lines for many boards of school trustees.”188 According to a recent study of
  voting rights in South Carolina, the “involvement of state legislators in local affairs
  removes African American citizens from participation in critical decisions as
  discriminatory changes are proposed.”189 Indeed, as noted above, a federal district court
  found “significant evidence of intimidation and harassment” of African Americans at the
  polls in 2003, including by state-authorized poll managers.190 And, Rep. Lowe testified
  that poll managers are chosen not for their qualifications, but because they are family
  members or friends of poll clerks.191 This cronyism has the potential to magnify the
  disenfranchising effects on minority voters.
          Fifth and finally, legislators have failed to take several self-evident steps that
  could serve to ameliorate some of the Voter ID Law’s consequences. These failures
  include the following:
               SEC Executive Director Marci Andino said the Law’s “reasonable
               impediment” exception was necessary to avoid disenfranchising eligible
               voters.192 And, legislators have testified that they too believe that the
               “reasonable impediment” provision is critical.193 But, to work, this prevision
               requires an affidavit signed under penalty of perjury for voters to make use of
               it, which in turn requires a notary.194 While at least some believed that the SEC
               would provide notaries,195 lawmakers took no affirmative steps to ensure that
               this would happen. And indeed, the SEC confirms that there are no plans in
               place to have notaries at the polls,196 creating yet another risk that voters’
               affidavits will not be honored and that this provision will fail to ameliorate the
               disparate impact of the Law on African Americans. This result should have
               been foreseeable to legislators who failed to put any provisions in place to


  188 Ruoff & Buhl, Voting Rights in South Carolina, supra.
  189 Id.
  190 Charleston County, 316 F. Supp. at 286 n.23.
  191 Lowe Tr. at 50:1-12.
  192 Andino Tr. at 161:13-15.
  193 Harrison Dep. 106:16-107:1, June 12, 2012 (testifying that he would not have supported R54 absent
  the “reasonable impediment” provision).
  194 See State v. McKnight, 352 S.E.2d 471, 472-3 (S.C. 1987).
  195 Clemmons Dep. 68:10 – 69:3, June 11, 2012; Harrison Dep. 58:17-59:14.
  196 Andino Dep. 156:7-19; Andino Dep. 157:12-17; Whitmire Dep. 164:2-21, June 8, 2012.


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               ensure that affidavits signed by voters would be notarized, as required by
               South Carolina law.

               The General Assembly has, to date, failed to provide adequate funding to
               implement various provisions of the ID Law. Most significantly, although
               legislators have testified that the education program was critical,197 the State
               has failed in numerous respects to prepare for the educational program and for
               the training of poll workers and commission and board members.198

               The legislature chose to require that IDs be “valid,” although the SEC believes
               that the meaning of this term is uncertain, that voters could be confused by it,
               and that poll workers will need guidance on the meaning of validity.199 The
               SEC currently has no plans to provide such guidance.200

           The failure to ensure the Law’s responsible implementation have detrimental
  consequences for all voters, and will most substantially burden African American voters
  who are less likely to possess acceptable IDs. The legislature chose not to address these
  foreseeable issues implicating fair enforcement of the law, increasing the likelihood that
  the Voter ID Law will disproportionately injure minority voting rights. This lends support
  to the inescapable conclusion that a discriminatory outcome was intended.
  VII.     EVIDENCE OF PRETEXT IN THE LAW’S STATED PURPOSE
           The primary justification offered for the ID Law by its chief proponents is to
  combat voter fraud and thus enhance public confidence in the State’s electoral system.
  Representative Clemmons, for instance, stated during the preclearance process that
  “[o]pponents of this bill often claimed …there were no instances of voter impersonation
  prosecuted in South Carolina, claiming that H. 3003 was a solution in search of a

  197 Harrell Dep. 132:4-13, June 13, 2012.
  198 Whitmire Dep. 70:22-74:22; Whitmire Dep. 82:5- 91:17; Whitmire Dep. 95:16- 96:8; Whitmire Dep.
  98:1- 99:11; Whitmire Dep. 99:17- -101:22; Whitmire Dep. 102:8-103:21; Whitmire Dep. 104:24---
  113:21; Whitmire Dep. 114:1-118:6; Whitmire Dep. 128:21-132:23; Whitmire Dep. 138:17-140:13
  (summarizing this point).
  199 Whitmire Dep.; 125:1-126:10; Whitmire Dep. 127:11- 128:3; Whitmire Dep.170:10-175:1. Further,
  Military IDs are just one example of the inadequacy of the training planned. The only example poll workers
  will be shown in training is a photo of a single military ID (just the front) in a power point presentation.
  Whitmire testified that any military ID qualifies, although he did not know how many there are and there
  are no plans to train poll workers how to distinguish real from fraudulent military IDs, nor as to what
  qualifies as a military ID. Whitmire Dep. 118:11--122:11. Research has so far uncovered 17 different
  military ID cards, including a veteran ID card, which is not a state or federally issued ID card, but one
  which Whitmire said would qualify. In addition, it appears that the state’s “final” rules are not truly final.
  The state has already changed the temporary card to a card that does not expire, and no longer refers to it as
  temporary. Whitmire Dep.76:14-79:14. Moreover, the materials submitted for preclearance are apparently
  subject to change at any time. Whitmire Dep.. 91:11-92:2.
  200 Whitmire Dep. 125:12-126:10.


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  problem. In my years in South Carolina politics I know quite the opposite to be true
  ….”201 Senator Campsen argued that “you instill confidence in the process by requiring a
  voter ID.”202
          Despite these representations, there is no evidence of in-person impersonation
  fraud in South Carolina—the only type of fraud that voter ID addresses. Indeed, a
  complete review of the floor debates about the ID Law yields not one verified example in
  South Carolina’s entire history. Representatives Hart and Howard summarized the
  legislative history during floor debate in the House:
          It is my understanding that we did not have anyone to come in to our
          hearings and testify that there was a voter fraud or any indications or any
          charges of voter fraud within the two years of having these public hearings
          . . . . There’s just no incidence of voter fraud or wrongdoing in the state of
          South Carolina. It just does not exist. I haven’t seen it, I haven’t heard
          about it, I haven’t read about it, I haven’t received any calls, any emails,
          any faxes, it just doesn’t exist in this body, in this state…

          In deposition, Rep. Clemmons agreed, and admitted that no instances of
  impersonation fraud were brought into the record during debates on the ID Law.
  Moreover, to this day, Clemmons is aware of no convictions for voter impersonation
  fraud or any potential evidence of voter impersonation fraud other than two or three
  unverified anecdotes.203 Indeed, in June 2010—just months before introducing H.
  3003—Clemmons had a telling exchange with Walter Whetsell of Starboard
  Communications, a political consulting agency. Whetsell sent an article about voting
  irregularities in the Lee County Council race, noting that the article was “in reference to
  our voter id conversation from a year ago where I said we needed a boogey-man.”
  Clemmons enthusiastically replied “Good stuff!” 204
          That voter fraud was a “boogey-man” and not a reality has been confirmed
  repeatedly during the course of this litigation. Over and over, the State’s witnesses,
  including Marci Andino, testified that there is—quite simply—no evidence of in-person




  201 Letter from Alan Clemmons, June 28, 2011, SC_00077402.
  202 Senate Floor Debate Tr. 110.
  203 Clemmons Dep. 41:9-47:18.
  204 SC_00000637.


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  voter fraud.205 Witnesses also consistently agree that there is no reason to believe there
  will be an increase in voter fraud in the future, even without the ID Law.206
          The lack of evidence of in-person impersonation fraud is not surprising. As the
  ID Law’s top proponents recognize, heavy penalties for all types of voter fraud already
  exist, including up to three years’ imprisonment and $1,200 fines for voter
  impersonation.207 In addition, several other factors prevent fraud—for instance, poll
  workers tend to know voters because they are hired locally; signatures get matched to
  registration cards; and, to successfully commit fraud, a person would have to count on the
  real voter not showing up to vote. In short, in-person voter impersonation would be
  extremely difficult to accomplish under existing laws, and would require both a
  substantial number of steps and fortuitous circumstances in order for the crime to go
  undetected.208
          By all accounts, the heavy penalties—coupled with the practical difficulties of
  getting away with the voter impersonation—have successfully deterred in-person voter
  impersonation. Unsurprisingly, the current system is viewed highly by South Carolina
  voters: In the Election Commission’s post-election surveys, according to Andino, South
  Carolinians have consistently expressed confidence in their existing electoral system.209
          On top of addressing a non-existent voter impersonation problem, the ID Law is
  oddly under-inclusive—it applies only to in-person voting but not mail-in voting.210
  Voters can still register by mail and vote by absentee mail-in ballots and never show
  photo identification.211 If the ID Law was a serious attempt to combat potential voter
  fraud, it would absolutely apply to voting by mail. As the record shows, while voter
  fraud in all forms is extremely rare, most of the rare incidents that do occur are through

  205 Andino Dep.. 52:23 – 53:21, 59:15-17, 62:23 – 63:3 (no confirmed or substantiated evidence); U.S.
  Andino Ex. 5, SC_00070975; McConnell Dep. at 45:4-8; Peeler Dep. at 22:4-5; Harrison Dep. at 33:1-6;
  Clemmons Dep. at 41:6-21, 42:3-19, 44:21 – 45:1, 47:14-18, 51:19 – 52:4; Martin Dep. at 37:13-25; 41:15-
  19, June 13, 2012; Cleary Dep. at 28:6-9, June 14, 2012; Harrell Dep. at 37:25 – 38:5) Whitmire Dep. at
  44.14-46.7; 49.5-49.11; 51.5-51.15; 53.5-54.7; 56.8-58.3 58.18-59.7; 163:4-5 (no credible allegations or
  confirmed instances of impersonation fraud, nor basis to believe it has ever occurred)
  206 Andino Dep. 143:11-25; Harrison Dep. at 95:3-8 (no reason to believe there will be an increase in
  voter fraud in the future); McConnell Dep. at 148:6-11 (same)).
  207 S.C. Code Ann. § 7-25-120; McConnell Dep. at 150:3-6.
  208 Andino Dep. 138:17-138:21 (poll managers required to be local); Andino Dep. 144:9 – 146:12 ;
  McConnell Dep. at 148:12-150:2.
  209 Andino Dep., 61, 142, 177-78.
  210 Andino Dep., 175.
  211 Andino Dep., 187-88.


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  mail-in ballots. Indeed, in one notorious election, a McCormick County clerk committed
  voter fraud through use of fraudulently obtained and submitted absentee ballots.212
  Notably, this fraudulent act by a county official was a “significant factor” in an already
  “heated election,” helped the white incumbent defeat his black opponent.213
          Similarly, lawmakers also ignored recent evidence of actual election
  administration problems that could be addressed with legislation. As noted above in the
  discussion of legislative history, Representatives Cobb-Hunter and Neal presented
  documented cases from the prior election of faulty machines losing hundreds of votes.214
          Together, all of this evidence strongly suggests that the motivations for
  introducing and passing the ID Law’s were different from those stated by the Law’s
  supporters. Indeed, Marci Andino testified that she recalled public testimony to the effect
  that the purpose of the ID Law was not to prevent voter fraud but rather “to suppress
  votes, voter turnout, maybe,”215 and she ultimately took no position on whether the ID
  Law should be precleared.216 If the Law were truly intended to combat fraud and would
  be effective in doing so, one would expect the SEC Executive Director to enthusiastically
  support its implementation.




  212 Lee Brandy, McCormick Registrar Indicted, COLUMBIA THE STATE, September 14, 1995, B3; Area
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  at http://chronicle.augusta.com/stories/1999/09/23/met_270915.shtml (last accessed June 19, 2002); Across
  the area, AUGUSTA CHRONICLE, July 27, 2000, available at
  http://chronicle.augusta.com/stories/2000/07/27/met_293725.shtml (last accessed June 19, 2012).
  213 Brandy, McCormick Registrar Indicted at supra. Ruoff & Buhl, Voting Rights in South Carolina,
  supra.
  214 House Debate Tr., Apr. 26, 2011, at 202-03.
  215 Andino Dep. 174-75.
  216 Andino Dep. 216:20–217:7.


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                           APPENDIX A
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                                     ORVILLE VERNON BURTON

                   The Strom Thurmond Institute of Government & Public Affairs
                               Clemson University, Perimeter Road
                                      Clemson, SC 29634-0125
             Tel. O -864-656-1058 C-217-649-0608 fax -864 -656-4789 h-864-543-2552
     vburton@clemson.edu        http://vburton.ncsa.uiuc.edu     http://www.ageoflincoln.com

Military Service: 1969, 1974 U.S. Army, Honorably Discharged as Captain, 1977

Education: 1976, Ph.D. Princeton University (1969, B.A. Furman University)
Ph.D. dissertation: "Ungrateful Servants? Edgefield's Black Reconstruction: Part I of the Total History
        of Edgefield County, South Carolina." Advisors Sheldon Hackney and James McPherson

Academic Positions:
Director Clemson CyberInstitute, 2010-
Associate Director for Humanities, Arts, and Social Sciences, Clemson CyberInstitute, 2010
Professor Computer Science, Clemson University, 2011-
Professor of History, Clemson University, 2010-
Burroughs Distinguished Professor of Southern History & Culture, Coastal Carolina University, 2008-10
University of Illinois at Urbana-Champaign (UIUC), 1974-2008
        2009- Chair, Advisory Board for Institute for Computing in Humanities, Arts, and
                 Social Science (I-CHASS) at University of Illinois
        2004 – 09 Founding Director I-CHASS
        2008 Emeritus University Distinguished Teacher/Scholar and Professor History, African
                 American Studies, and Sociology
        2006-Professor African American Studies
        1989- Professor, History
        1989- Professor, Sociology
        1982-1989 Associate Professor, History
        1976-1982 Assistant Professor History
        1974-1976 Instructor
        1985- Faculty Affiliate, African American Studies and Research Program
        1986- Campus Honors Program
        1988- Graduate College Statistics Faculty
National Center for Supercomputing Applications (NCSA)
        2002- Associate Director, Humanities and Social Sciences
        1993-2002 Head, Initiative for Social Sciences and Humanities
        1986- Senior Research Scientist
Princeton University
        1972-74 Assistant Master, Woodrow Wilson Residential College
        1971-72 Instructor, Mercer County Community College, NJ
College of Charleston
        2001- Executive Director, Program in the Carolina Lowcountry and the Atlantic World (CLAW)
        1987 Governor’s School of South Carolina, Professor of History, Summer 1987


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Books:
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        2008. Selection for Book of the Month Club, History Book Club, Military Book Club.
        Paperback July 2008. The Age of Lincoln was nominated by Farrar, Straus, and Giroux for the
        Pulitzer Prize. Three historical associations featured sessions on the book, Association for the
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         http://www.history.uiuc.edu/uitext96/uitexttoc.html.
"Database Exercises and Quantitative Techniques: Exercise I: Colonial America." Madison, WI:
         Wiscware, 1987. (for IBM and compatible computers, 1 disk, Instructional Workbook, and
         Teacher's Instructional Sheet).
"Lessons in the History of the United States." Wentworth, NH: COMPress, 1987 (1989 with QUEUE,
         Fairfield, CT). For IBM color monitor; originally 50 computer exercise modules on 25 computer
         disks + instructor's manual. An interactive electronic textbook of U.S. history.
Automated linkage and statistical systems Unix Matchmaker, AutoLoad, RuleMatch, DisplayMatch,
         ViewCreate (Urbana: UI NCSA, 2000).
         Website http://www.granger.uiuc.edu/aitg/maps/1870/htm/default.htm
"Illinois Windows Dataentry System for U.S. Census." University of Illinois, 1988 (for IBM PS2 and
         compatible computers with Windows applications, 1 disk, Instructional Sheet)

In addition, I continue to use Edgefield County, South Carolina to investigate, "large questions in small
         places." I have accumulated a quantitative database that includes every person and farm recorded
         in the U.S. manuscript census returns linked from 1850 to 1880 for old Edgefield District, South
         Carolina (a region now comprising five different counties). With this unique database I (and my
         students) can study, test, and suggest themes in American History with details and specificity
         related to the lives of ordinary folks.

Accepted and in Press:
“Abraham Lincoln,” http://www.essentialcivilwarcurriculum.com/. Editors, William C. Davis and James
       I. Robertson, Sesquicentennial Project of the Virginia Center for Civil War Studies and the
       History Department of Virginia Polytechnic Institute and State University (Virginia
       Tech),expected 2012.

Honors, Fellowships, Awards
Major Honors and Fellowships:
U.S. Professor of the Year, Outstanding Research and Doctoral Universities Professor (Council for
         Advancement and Support of Education and Carnegie Foundation for the Advancement of
         Teaching), 1999
American Historical Association Eugene Asher Distinguished Teaching Prize, 2004
Chicago Tribune’s Heartland 2007 Literary award for nonfiction for The Age of Lincoln
Illinois House Resolution of Congratulations, HR 0711, 2007. The Illinois State legislature honored with
         a special resolution for contributions as a scholar, teacher, and citizen of Illinois.
Society of American Historians, Elected 2012
Fellow, National Humanities Center (NEH Senior Scholar Award), 1994-95
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                                             Burton, page 12
Fellow, Woodrow Wilson International Center for Scholars, 1988-89
Fellow, Pew Foundation, 1996
National Fellowship Program for Carnegie Scholars, 2000-2001
Rockefeller Humanities Fellowship, 1978
Earl and Edna Stice Lectureship in the Social Sciences at the University of Washington, 2005
Strickland Visiting Scholar, Department of History, Middle Tennessee State University, 2006
Pew-Lilly Foundation Graduate Professor, Notre Dame University, 2001
Mark W. Clark Distinguished Chair of History, The Citadel, 2000-01


Other Selected Honors and Awards:
Organization of American Historians Distinguished Lecturer, 2004-2014
Choice Outstanding Academic Book for The Age of Lincoln, 2008
Choice Outstanding Academic Title for Slavery and Anti-Slavery: A Transnational Archive, 2009
Booklist’s Editors’ Choice Title for Slavery and Anti-Slavery: A Transnational Archive, 2009
Choice Outstanding Academic Book for Computing in the Social Sciences and Humanities, 2003
Richard F. Fenno Prize, Legislative Studies Section, American Political Science Association, for Quiet
        Revolution, 1995
Certificate of Excellence from the Carnegie Academy for the Scholarship of Teaching and Learning for
        Work that Advances the Practice and Profession of Teaching In Support of Significant Student
        Learning, 2001.
Elected to honorary life membership in BrANCH (British American Nineteenth-Century Historians)
Award of Distinction in the Film/Video-History/Biography category from the International Academy of
        the Visual Arts, 16th Annual Communicator Awards, for “People: A Lincoln Portrait” television
        interstitial series (The Communicator Awards is the leading international awards program
        honoring creative excellence for communications professionals), 2010 (part of program I put
        together for Lincoln commemoration at UIUC).
SC African American Heritage Commission's 2009 "Preserving Our Places in History" Project Award for
        Claw’s (College of Charleston Carolina Lowcountry and Atlantic World – I am executive
        director) work in commemorating the banning of the international slave trade
Senior Research Fellow, Southern Studies, University of South Carolina, 1988
Phi Beta Kappa, Furman University, 1986
Princeton University Scholar Award, 1969
National Defense Educational Award Title IV Fellowship, 1971 (Princeton University)
Clark Foundation Scholarship, 1966-69 (Furman University)
Wicker Award for Outstanding Student (sophomore), Furman University, 1967
Endel History Award, Furman, 1969
Bradshaw-Feaster General Excellence Award (Furman's highest honor for the graduating senior selected
        by faculty), 1969


UIUC Honors and Teaching Awards and Recognition
Inaugural University “Distinguished Teacher/Scholar,” 1999-2008
University Scholar, 1988 – 2008
Campus Award for Excellence in Public Engagement, 2006
Graduate College Outstanding Mentoring award, 2001-02
Fellow, Center for Advanced Study, 1982, Associate, 1994
Burlington Northern Faculty Achievement Award (UIUC), 1986
Study in a Second Discipline, Statistics and Demography, 1984
All-Campus Award for Excellence in Undergraduate Teaching, 1999
LAS Dean’s Award for Excellence in Undergraduate Teaching, 1999
LAS Award for Distinguished Teaching, 1986
School of Humanities Teaching Award, 1986
George and Gladys Queen Excellence in Teaching Award in History, 1986
Case 1:12-cv-00203-CKK-BMK-JDB Document 165-3 Filed 08/13/12 Page 65 of 151
                                             Burton, page 13
Undergraduate Instructional Award (UIUC), 1984
Every semester and for every undergraduate course that I taught at the University of Illinois (excluding
        large survey classes of between 300-750 students), I was deemed excellent in the UIUC
        "Incomplete List of Excellent Teachers." I was noted on the list for more than twenty different
        courses. I was noted as "outstanding" from 1979 as long as they used that designation.
Recognized by the Pan-Hellenic Council at as an "outstanding staff member for furthering scholastic
        achievement"
Selected by History Department as the "one instructor whom you believe best at creating intellectual
        excitement in students" for an educational study of teaching practices of college teachers, 1978
Received the Resident Hall Association Award for the Best Educational Program for lectures/discussion
        on Gone With the Wind and Jubilee for Black History Month, 1996
The Honor Society of Phi Kappa Phi, UIUC, Vice President, 2002-03; President, 2003-04
Ronald E. McNair Scholars Program Dedicated Service Award for Minority Students, 1996
Associate Vice Chancellor Academic Affairs award for contributions to the Student Research
        Opportunities Program and work with minority students (1995, 2006)


Selected Grants:
National Science Foundation (NSF), GK-12: Ed Grid Graduate Teaching Fellows Program, 2003-09
        ($4,990,015)
NSF CISE/IRIS Division Award, Grant No. ASC 89-02829, Automated Record Linkage, 1991
NSF Grant No. CDA-92-11139, "Historical U.S. Census Database with High Performance Computing,"
        1992
NSF, EPIC Grant, 2006-08, $20k
NSF Catalyst Grant for Social Science Learning Center (with MATRIX, Michigan State University),
        2006-09, $175K
National Endowment for the Humanities (NEH) Challenge Grant for Institute for Computing in
        Humanities, Arts, and Social Science. $750 (3 mil. Total with challenge matches), 2008-2011.
NEH Educational Technologies Grant, ED-20758 (1997-99)
NEH Humanities High Performance Computing Collaboratory (HpC): Coordinating High Performance
        Computing Institutes and the Digital, 2008-09, $249,997. To support a total of nine institutes and
        one joint conference for humanities scholars, to be hosted by three different high-performance
        computer centers: the National Center for Supercomputing Applications, the Pittsburgh
        Supercomputing Center, and the San Diego Supercomputer Center.
(with Max Edelson) NEH, The Cartography of American Colonization Database Project, To support the
        development of a database of 1000 historical maps illustrating the trajectory of colonization in the
        Americas. The database will provide a searchable introduction to the mapping of the western
        hemisphere in the era of European expansion, ca. 1500-1800. 2008-9, $24,997.
NEH Conference Grant (with R. C. McMath, Jr., History and Social Sciences, Georgia Institute of
        Technology), 1978
NEH Summer Research Fellowship, 1983
American Council of Learned Societies (ACLS) Travel grant, 1977
American Council of Learned Societies (ACLS) Grant-in Aid to Recent Recipients of the Ph.D., 1977
PT3/Technology Across Learning Environments for New Teachers grant, U.S. Department of Education,
        2002-03, 2003-04
Academy of Academic Entrepreneurship, 2006-08
National Archives Record Administration grant for digital records, 2003-05
IBM Shared University Research Grant, 1994
IBM Innovations grant, Educational Technologies Board, 1992
IBM Technology Transfer IBM grant, 1988
IBM EXCEL II, History Database Teaching Project, 1987
IBM EXCEL Project, History Database Teaching Project, 1986
Partnership Illinois Award, 1998 (with Brian Orland, Pennsylvania State University Landscape
        Architecture, East St. Louis Research Project), RiverWeb 2002-03, 2003-04
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East Saint Louis Action Research Program Grant, 2005-06, 06-07, 07-08
Andrew Carnegie Foundation 3-year Baccalaureate Study Grant, 1976
Sloan Center for Asynchronous Learning Environment Grant, 1998
The Humanities Council (South Carolina) Outright Grant ($8,000), THC grant #10-1363-1 (Writing the
        South in Fact, Fiction, and Poetry), 2011
South Carolina Humanities Council Conference Grant (with Tricia Glenn), 2005
South Carolina Humanities Council Conference Grant (with Winfred Moore), 2002-03
South Carolina Humanities Council Conference Grant (with Bettis Rainsford), 2000-01

Selected Grants from University of Illinois
Office of Continuing Education Grant, 2005-06, 06-07
Chancellor, Provost, and Vice Chancellor Research, RiverWeb Grant, 2004-05 ($30K)
Advanced Information Technologies Group Research Award, 1994, 96, 97, 2000
Applications of Learning Technologies in Higher Education grant for UI--Text96 Project, 1995--2000
        (co-principal investigator with Richard Jensen of UIC campus)
Educational Technologies Board Grant for RiverWeb 1998
Guided Individual Study Grant for RiverWeb, 1997-98
Program for the Study of Cultural Values and Ethics, Course Development Award, 1993
Arnold O. Beckman Research Award, UIUC Research Board, 1989, 1992
Language Laboratory Computer Assisted Instruction Award, 1988
Research Board Humanities Faculty Research Grant, 1986
Graduate Research Board, support for various projects, 1976-08

Selected Grants from Clemson University
2011/2012 University Research Grant Committee (URGC) Program, $10,000

Selected Professional Activities and Service:
Officer Congressional Abraham Lincoln Bicentennial Commission Foundation, 2008-2010; Board of
        Directors, Abraham Lincoln Bicentennial Foundation, interim President, 2010, vice-chair 2010-
Southern Historical Association, President 2011-12, President Elect, 2011, Vice President Elect, 2010,
        Executive Council, 2005-08; Program Committee 1989, 1998; 2005 (Chair); Membership
        Committee, 1986-87, 1991-92; 1995-98; 2002; Committee on Women, 1992-95, Nominating
        Committee, 1999-2000, Chair H.L. Mitchell Book Award Committee, 2000-02
Agricultural History Society, President 2001-02, Vice President 2000-01, Executive Committee, 1997-
        2006; Committee to Review and Revise Constitution and By-Laws, 2004-05; Nominating
        Committee, 1991-94, chair 1993-94; Committee to Select first Group of Fellows for Society,
        1995; Committee to select new Secretary/Treasurer, 2009-10
Organization of American Historians, OAH/ALBC (Abraham Lincoln Bicentennial Commission)
        Abraham Lincoln Higher Education Awards Committee, 2007-09; ABC-CLIO "America:
        History and Life" Award Committee, 1997-99; Membership Committee, 1990-94
Social Science History Association, Executive Committee 2000-03; Nominating Committee 1990-91;
        Program Committee 1989, 1993; Community History Network Convener, 1976-79; Rural History
        Network Convener, 1988-90, 1993-94
Social Science Computing Association, Executive Council, 1993-2002; Organizing Committee
        Chairperson for Annual Conference, 1993, Conference on Computing for the Social Sciences
        (CSS93); program committee 1993-95, 2001
Southern Association for Women Historians, Membership Committee, 1996-99
H-Net, founding member of H-Net, Treasurer and Executive Committee, 1993-94; Chair, committee to
        evaluate multimedia NEH grant; Editor H-South (book review editor 1997-2000); Editorial Board
        of H-Rural, H-Slavery, and H-CivWar. In 1997, H-Net received the James Harvey Robinson
        Prize for teaching from the American Historical Association
Scholarly Advisory Group, President Lincoln’s Cottage at the Soldier’s Home, 2012-14
Executive Council, The University South Caroliniana Society, 2011-14
Search Committee for Director South Caroliniana Library, 2012-
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                                                Burton, page 15
Member South Carolina Abraham Lincoln Bicentennial Commission, 2008-2010
Member Champaign County, Illinois, Abraham Lincoln Bicentennial Commission, 2006-10
Council, Civil War Sesquicentennial Commission, 2009-
Historical Advisory Committee” to the “Fort Sumter/Fort Moultrie Trust,” charged with organizing
         Sesquicentennial Activities in Charleston and South Carolina Lowcountry, 2010-
Associate Editor for History, Social Science Computer Review, 2012-
Editorial Board, Digital Humanities Series, University of Illinois Press, 2005-
Editorial Board, Change and Continuity, 1995-
Editorial Board Fides et Historia, 2010-
Editorial Board Proceedings of the South Carolina Historical Association, 2009-
Editorial Board, History Computer Review, 1990-2003
Editorial Board, Locus: An Historical Journal of Regional Perspectives on National Topics, 1994-96
The Illinois Humanities Council Scholar, 2004-05
Invited to present to President’s Information Technology Advisory Commission (PITAC), 9-16-2004
Invited to NEH Digital Humanities Initiative Mini-Conference, 3-6-06 and Digital Humanities Summit,
         4-11, 12-07
Digital Library Federation Scholars' Advisory Panel, 2004-7
E-Docs, (one of 3 founding members) Editorial Board, 1998-
Advisory Board, Postwar America: An Encyclopedia of Social, Political, Cultural, and Economic History
Mentor for Southern Regional Council Minority Scholars Program, 1992-96
UIUC Representative to Lincoln Presidential Library Committee: Educational Activities Committee,
         2001; Fellowship Committee, 2002
Faculty Associate, Council for International Exchange of Scholars, 2002-03
Evaluator/Referee (one of two for history) for the Pew Foundation Faculty Research Fellowships, 1997-
         98, 1998-99; 2001 (for graduate students for summer seminar)
Evaluator and Referee for American Council of Learned Societies Grants, 2005-08
Humanities Review Panel for Digital Grants, 2010
National Science Foundation Review Panel for Knowledge and Distributed Intelligence grants, 1998,
         1999
Advisory Board for International Journal of Social Education, 1986-2000
Advisory Reviewer for The Journal of Negro History (since 2002, The Journal of African American
         History), 1992-
Editorial Advisory Board, The South Carolina Encyclopedia, general editor Walter Edgar, 2000-06
Advisory Board, Digital Library on American Slavery, University of North Carolina, Greensboro, 2004-
         10
Advisory Board, Biographies: The Atlantic Slaves Data Network
Strategic Advisory Council for MATRIX: The Center for Humane Arts, Letters and Social Sciences On-
         line at Michigan State University, 2004-
Humanities, Arts, Science, and Technology Advanced Collaboratory (HASTAC), Steering Committee
         and Planning Committee, 2003-04
External Advisory Board, NHPRC “Effective User-Centered Access For Heterogeneous Electronic
         Archives” project, Illinois Institute of Technology, 2003-05
Advisory Committee, American Studies Program, Bureau of Educational and Cultural Affairs, U.S.
         Information Agency, 1989-93
Delegate to the Mexican/American Commission on Cultural Cooperation, Mexico City, June 1990;
         Chairperson of United States delegation (Co-Chairperson with Mexican counterpart), U.S.
         Studies Working Group
National Advisory Board to Alan Lomax's Global Jukebox: Giving Voice to the Human Species, 1993-
Advisor for "Crossroads of Clay": NEH Alkaline Glazed Stoneware Exhibition and Catalog, McKissick
         Museum, University of South Carolina, 1987-90
Advisory Committee Film Project for Historic Southern Tenant Farmers Union, 1986-90
Consultant, Commercial film, "Roll the Union On" about H.L. Mitchell and the Southern Tenant Farmers
         Union
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                                             Burton, page 16
Consultant on the Renewal of the 1965 Voting Rights Act, 1981-82, 2004-07, including consultation for
         an NBC TV Special.
The Civil Rights Project at University of California, Berkeley, Advisory Board for “The Decade Ahead:
         Reauthorization of the Voting Rights Act and the Future of Democratic Participation,” 2004-07
Consultant for Documentary, "Behind the Veil," 1995-2005
Board of Directors of the Abraham Lincoln Historical Digitization Project, 1997-
Advisory Council for the Lincoln Prize at Gettysburg College, 1997-
Prize Committee for the Technology and History Award, The Gilder Lehrman Institute of American
         History, 2000-01
International Committee on Historic Black Colleges and Universities, 2001-
Consultant, Belle Meade and The Hermitage and Vanderbilt University. Presentations of slavery.
Consultant, Morven Park, 2010-
Consultant, for Matt Burrows, documentary “The Assassination of N.G. Gonzales by James H. Tillman,”
         2010-
Consultant, for Chris Vallilo musical performance, “This Land is Your Land: Woody Guthrie and the
         Meaning of America,” 2010-
Organizing and Founding Committee International Society for the Scholarship of Teaching and Learning
         (IS-SOTL), 2003-7
NEH, Review Panel for Digital Humanities Grants, 2010
Atlantic Slave Data Network (ASDN) advisory board, 2010-


Service - University of Illinois (three campus system – Urbana, Chicago, Springfield)
UI Senate Conferences (elected), all three campuses of the University of Illinois, 2006-09, Presiding
        officer (chair) 2007-08
Lincoln Bicentennial Commission, 2006-9
Academic Affairs Management Team, 2007-08
Task Force for Global Campus, 2006-2007
External Relations Management Team, 2006-09
Strategic Plan Committee, 2005-06


Service (selected) University of Illinois at Urbana-Champaign
Faculty Senate (elected), 1999-2001, 2002-03; 2005-06, 2006-07, Presiding Officer (Chair, Senate
        Executive Committee), 05-06, 06-07 (was Senate Council) elected 2000-01, 2003-04; 2005-06;
        06-07; Chair, Education Policy Committee, 2002-03, Chair 03-04; Budget and Priorities
        Committee, 1999-01, Chair 2000-01
As Chair Faculty Senate Executive Committee, 2005-07 Represented faculty at Board of Trustee
        meetings, and CIC meetings. Led in developing ideas of shared governance, helped in the
        drafting and implementing of a strategic plan for both the University of Illinois and the Urbana-
        Champaign campus. Oversaw establishment of the Illinois Informatics Institute (I3) and the
        School of Earth, Society, and Environment. Dealt with issues of Multi year contracts for
        Research faculty and staff policy, rehiring of retirees, Global Campus, and led study of Academic
        affects of Chief Illini and diversity issues.
Organizer and Chair, Planning Committee for the Lincoln Bicentennial, 2006-09
Task Force for Diversity and Freedom of Speech, 2007-08
Convocation address, August 21, 2000
Search Committee for Chancellor, vice-chair, 2004-5
Association of American Colleges and Universities campus representative and Associate, 2004-05
Martin Luther King, Jr., Week Planning Committee, co-chair, 2002-03, 2003-04, 2004-05, 2005-06
Strategic Plan Committee, 2005-06
Chancellor’s Task Force (“Kitchen Cabinet”) for the Humanities, 2002-04
Provost’s ad hoc Committee on Evaluating Public Service for Promotion and Tenure, 2003-04
Brown Jubilee Planning Committee, Diversity Initiative, 2002-04
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                                             Burton, page 17
Law-Education Brown Jubilee Conference Program Committee, 2002-04
East St. Louis Action Research Projects (ESLARP) Campus Advisory Committee, 2004-
University Planning Council, 2000-01
Selection Committee for University Scholars, 1999 -- 2000, Chair Subcommittee for Social Sciences,
         Humanities, FAA, Communications, Education, Law 2000
UI President's Distinguished Speakers Program, 2000-02, 2006-8
University of Illinois Press Board, 1995-2000, Chair 1998-2000
Search Committee for Director University of Illinois Press, 1998-99
Committee on University Publishing, 1997-98
Graduate College Executive Committee, 1998-2000; Committee to Evaluate Dean of Graduate College,
         Committee to Review and Implement Graduate Program Revisions, Graduate Student Grievance
         Policy Committee
Graduate College Office of Minority Affairs Strategic Planning Committee, 1999-2000
University Administration Budget and Benefits Study Committee, 2000-02
Budget Strategies Committee, 1993-94, Subcommittee for Library. Subcommittee for Faculty
         Productivity and Teaching Models
Illinois Program for Research in the Humanities (IPRH) Advisory Committee, 2001-03
Center for Advanced Study George A. Miller Committee, 2000-03
UI-Integrate Faculty Advisory Committee, 2003-04
Graduate College Area Subcommittee for the Humanities and Creative Arts, 1996-98
Campus-wide Advisory Committee for the Center for Writing Studies, 2000-01
Committee on Institutional Cooperation (CIC), Selection Committee for CIC Research Grants in the
         Humanities, 1993-94
Chancellor's Task Force for Minority Graduate Students, 1989-92
Chair, Subcommittee for Summer Program for Minority Graduate Students, 1990
Computer Resources Development Committee, Program for the Study of Cultural Values and Ethics,
         1991-93
High Performance Computing Committee for the Social Sciences, 1989-95
Rural History Workshop Convener, 1989-94 (with Sonya Salamon)
Faculty Fellow, 1990-2003
Graduate College Fellowship Committee, 1988
Selection Committee for Lily Fellows, 1987
Social Studies Committee for the Preparation of Teachers, Council on Teacher Education, 1986
Afro-American Studies and Research Program (AASRP --renamed African American Studies and
         Research Program), Advisory Council, 1982-86; Curriculum Development & Faculty
         Recruitment Committee, 2002-2003; Research and Course Competition Committee, 1991-94,
         Chair 93-94; Electronic Networking Committee, 1996-2000, Chair 1997-98; Library Advisory
         Committee, 1997-2003
Chair, Search Committee for African-American Scholar, 1986-87
Search Committee, Director for AASRP, 1985-86, Chair 87-88
Graduate College Appeals Committee, 1984
Chancellor's Allerton Conference, 1988; Chancellor's Beckman Conference, 2001-06; Chancellor’s
         Conference on Diversity, 2002, faculty facilitator
Combating Discrimination and Prejudice Workshop, 1988
Krannert Art Museum, Committee on The Black Woman as Artist, 1992
H. W. Wilson Faculty Panel, 1993
Advanced Information and Technology Committee, 1992-97, Advisory Committee, 1993-94
Honors Symposium for UI recruitment of High School Seniors, 1993
Search Committee for Archivist, UIUC Computing and Communications Service Office, 1993
Search Committee for Research Librarian, UIUC Library, 1997; Undergraduate Library Advisory
         Committee, 2002-
Member Human Dimensions of Environmental Systems Group, 1997-
Faculty Learning Circle for 2003-2004
Illini Days Speaker, 1999, 2000, 2002
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Public Interest Fund of Illinois Representative, 1996-
Facilitator for Interinstitutional Faculty Summer Institute on Learning Technologies, UIUC, 2000, 2002
Board of Advisors, Collaborative for Cultural Heritage and Museum Practices (CHAMP), 2005-08
Faculty Mentor for Campus Honors Program, 1980-2008


Service - College of Liberal Arts and Science UI:
Lecturer at Pedagogy 2000: Teaching, Learning and Technology, Annual UIUC Retreat on Active
        Learning (2000)
Keynote Address at LAS Awards Banquet, 2000 and Keynote at UIUC Campus Awards Banquet, 2000
Dean's Committee to Evaluate Chair of History Department (1 of 3 elected by History Department), 1996
Oversight Committee Computing for the Social Sciences, 1993-95
Committee to select nominees for election to College Executive Committee, 1992
Academic Standards Committee, 1983-85, Chair 1984-85
School of Humanities Scholarship and Honors, 1986-88, Chair 1987-88
Social Sciences and Humanities Respondent to the Joint Task Force on Admission Requirements and
        Learning Outcomes, 1988
Advisory Committee, Social Sciences Quantitative Laboratory, 1987-88, 1989-93
Alumni Association Annual Speaker, 1990
General Education Committee, 1990-91
Awards Committee, Chair, 1991-92
Race & Ethnicity, Class & Community Area Committee of Sociology Graduate Program, 1993-
LAS Alumni Association Speaker, 2000
Cohn Scholars Honors Mentoring Program (choosing the 10-14 best Humanities first-year students),
        1986-88, 1989-90, 1992-93, 1995-96, 1998-99, 2002
Faculty Mentor, Committee of Institutional Cooperation Summer Research Opportunities Program for
        Minority Students, 1987, 1991-95, 1997-2000, 2002, 2003
Faculty Mentor, McNair Minority Scholars, 1993-94, 96-97
Summer Orientation and Advance Enrollment Program, Faculty Leader, 1991-93, 2000, 2002, 2004
Gender Inclusivity Seminar, 1992
The African-American Experience: A Framework for Integrating American History: An Institute for
        High School Teachers of History, instructor 1992, 94
Faculty Advisor for UIUC Law School Humanities Teaching Program, 1998-99
Senior Faculty Mentor, LAS Teaching Academy, 1999-08


Service - Department of History UI:
Lincoln Bicentennial Committee, Chair, 2005-06, co-Chair 2006-08
Department Distance Learning and Global Campus committee, 2007-08
Carnegie Initiative on the Doctorate, 2003-05
Ethical Conduct Liaison, 2004-05
Phi Alpha Theta Faculty Advisor, 2005-06
Graduate Placement Officer, 1990, 1991-94, 1997-99
Graduate Admissions Officer, 1990-91
Graduate Committee, 1990-93
Organizer of OAH Breakfast Meeting, 1989-90, 93-94
Computer Resources, 1976-88, 1989-91, 1995-99, Chair 1976-85, 1997-99
Teaching Awards, 1986-88, 92-93, 97-98, 99-2000, Chair, 1987-88, 97-98, 99-2000
T.A. Evaluation, 1975-76, 78-82, 84-88, 90-91, 95, 98-99, 2002, 2005-06
Speakers and Colloquia, 1981-82
Grants and Funding, 1981-82
Capricious Grading, 1985-86, 2002-3
Social Science History Committee, 1980
Advisor, History Undergraduate Club, 1976-78
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Swain Publication Prize Essay Committee, 1991
Proposal-Writing Workshop, 1991-92, 2002
Teaching Workshop, 1993
Chair Library Committee, 1996-97
Faculty Advisor for Phi Alpha Theta, 2005-06
American History Search Committee, 1991-92
Chair, American History Search Committee, 1993-94
James G. Randall Distinguished Chair Search Committee, 1999-2000

Service Coastal Carolina University: Arts and Humanities:
        Search committee for Archaeologist, 2008-9
        Selection Committee for Clark Chair of History, 2010
        Third Year Assistant Professor Faculty Review Committee, 2010

Service Clemson University:
        History Department Civil War Sesquicentennial Committee
        History Department Digital MA committee
        Clemson University Computational Advisory Team (CU-CAT)
        University Academic Technology Committee.
        Ex-officio Steering Committee, Clemson CyberInstitute
        University Committee to commemorate the 50th Anniversary of the Integration of Clemson, 2011-
        Outstanding Staff Employee Award, Division of Academic Affairs Selection Committee, 2011
        University Morrill Act Anniversary Celebration, 2011-

A more complete list of Service and Public Engagement is available upon request.


Conferences Organized (selected list):
In 1978, I (with Robert C. McMath, Jr.) organized and chaired a National Endowment for the Humanities
Conference on Southern Communities at the Newberry Library. In 1993, I organized, hosted, and chaired
the annual meeting of the Conference on Computing for the Social Sciences at the National Center for
Supercomputing Applications. In 1999, I organized and hosted the 12th Annual Meeting of the Southern
Intellectual History Circle in Edgefield and Ninety Six, S.C. In 2001, I organized a workshop and
conference on diversity and racism in the classroom with Carnegie Scholars at the Citadel in Charleston,
S.C. In 2001, I (with James Farmer and Bettis Rainsford) organized a South Carolina Humanities
Council Edgefield Summit History Conference. In January 2003, I organized a Workshop on Diversity
and Racism and a Conference on the Scholarship of Teaching and Learning, both at the University of
Illinois. In March 2003 I organized the Citadel Conference on the South, "The Citadel Symposium on the
Civil Rights Movement in South Carolina." I organized the Humanities, Arts, Science, and Technology
Advanced Collaboratory (HASTAC) meeting in January 2004 in Washington, D.C. I hosted the 2004
Southern Intellectual History Circle Meeting at the College of Charleston. I (with John Unsworth)
organized and hosted a Humanities Computing Summit in August 2004 at NCSA and UIUC. In 2005, I
planned and hosted the British American Nineteenth Century History (BrANCH) Conference in March
2005 in Edgefield, South Carolina and a symposium honoring Jim McPherson’s retirement in April 2005
in Princeton. As program chair I helped organize the Southern Historical Annual meeting in Atlanta in
November 2005. As Director of I-CHASS, I regularly organized conferences and workshops, at least two
major conferences a year such as the 2007 e-science and Geographic Information Systems conferences.
And as Executive Director of the College of Charleston Atlantic World and Lowcountry Program, I
regularly work with others to organize conferences and meetings.


Reviews:
I have reviewed books for numerous journals and book manuscripts for numerous presses. In addition, I
have refereed article manuscripts for numerous journals. I have also reviewed proposals for various
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granting agencies. I have also reviewed and written outside letters of recommendation for promotion,
tenure, and endowed chair decisions for more than ninety cases at various colleges and universities. Lists
of these reviews, presses, journals, universities, and granting agencies are available upon request.


Invited lectures and conference participation available upon request. Selected invited lectures 2009-11,
Harvard University, University of Pennsylvania, Black Congressional Caucus, Printers Row Book Fair,
Society of Civil War Historians, Society of Historians of Early America, ALBC Atlanta Town Hall
meeting on Race at Morehouse College and at Jimmy Carter Presidential Library Center, Western Illinois
University, Drake University, University of Illinois Law School, University of Georgia, Lawrence
University, Wisconsin Lincoln Bicentennial, University of Kansas, Samford University, Talladega
University, ALBC Morrill Act Conference, Arkansas State University, San Francisco State University,
Clemson University, Notre Dame, University of Oklahoma, University of South Carolina, Augusta State
University.


Samples of recognition given to me or my work:
The Chronicle of Higher Education, Vol. L: 2 (September 5, 2003), cover page, A37-38. On-line at
        http://chronicle.com/prm/weekly/v50/i02/02a03701.htm
C. Vann Woodward, "District of Devils," New York Review of Books, xxxii #15: 30-31
Chicago Tribune, October 13, 2007, cover of the Book Review Section, “Orville Vernon Burton’s
        Heartland Prize-winning “The Age of Lincoln.” Catherine Clinton, “Lincoln and His Complex
        Times,” pp. 4-5.
Featured as example of “Faculty Excellence” on UIUC Homepage:
        http://www.uiuc.edu/overview/explore/
Numerous examples, including newspaper, television (including C-SPAN Book TV), radio (NPR), and
other media, are available upon request.
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                            APPENDIX B
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  Report of Dr. Orville Vernon Burton for Moultrie v. Charleston County Council, C.A.
  No. 9 –01 562 11

  Orville Vernon Burton
  October 5, 2001


  P.O. Box 57 (3520 S. 246 Highway)                    605 W. Washington
  Ninety Six, S.C. 29666                               Urbana, IL 61801
  Phone 864-543-3820; 543-2552                         Phone: 217-337-0051


           I am Professor of History and Sociology at the University of Illinois at Urbana-
  Champaign, where my research and writing focus on American History and particularly
  on race relations. I teach courses in U.S. History, Southern History, race relations,
  discrimination, ethnicity, family, and community. I use statistical analysis in my own
  research and writing, and I also teach courses in quantitative techniques at the University
  of Illinois. I am a member of the graduate statistics faculty and a Senior Research
  Scientist at the National Center for Supercomputing Applications.

          I earned a B.A. degree from Furman University and M.A. and Ph.D. degrees at
  Princeton University. My primary training was in the History of the United States, with a
  specialization in the History of the South in the 19th and 20th centuries. For the past
  twenty-eight years I have taught courses in my specialization at the University level.

          I am a recognized and respected scholar of United States history and the history of
  race relations. I have numerous publications in scholarly books and peer-reviewed
  journals, I have presented scholarly papers both in the United States and abroad on these
  subjects, and I have received various awards. I am the author or editor of six books,
  including In My Father's House Are Many Mansions: Family and Community in
  Edgefield, South Carolina (University of North Carolina Press, 1985, fifth printing 1998;
  subject of sessions at the Southern Historical Association and the Social Science History
  Association’s annual meetings; nominated for Pulitzer) and two co-edited books on
  southern communities. I have been recognized by my peers as a leader in my field, both
  as scholar and a teacher. I am currently the president of the Agricultural History Society,
  which publishes the premier journal in rural history, and am on the executive committee
  of the Social Science History Association. I chair the prize committee for the Southern
  Historical Association's H. L. Mitchell Award for the best book in Labor History, and I
  served as a member of the Organization of American Historian's ABC-CLIO "America:
  History and Life" Award Committee, 1997-99, to select the best article published in that
  two-year period in United States history. I have received fellowships from the
  Rockefeller Foundation, the National Endowment for the Humanities, the National
  Science Foundation, the American Council of Learned Societies, the Woodrow Wilson
  International Center for Scholars, the National Humanities Center, the Carnegie
  Foundation, and the Pew Foundation. I was selected nationwide as the 1999 U.S.
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  Research and Doctoral University Professor of the Year (presented by the Carnegie
  Foundation for the Advancement of Teaching and by the Council for Advancement and
  Support of Education). I am a Pew National Fellow Carnegie Scholar for 2000-2001. At
  the University of Illinois I was named a University Scholar in 1988 and was designated
  one of the first three University “Distinguished Teacher/Scholars” in 1999. Last
  academic year, I served as the General Mark Clark Distinguished Professor of History at
  the Citadel.

           Race relations and politics in the American South have been my specialty since I
  received my Ph.D. at Princeton in 1976. I have also researched and written on the Voting
  Rights Act of 1965 and presented this research to academic conferences in England and
  the United States. I was part of a large National Science Foundation study of the effects
  of the 1965 Voting Rights Act in the United States. I headed the research team for South
  Carolina and was the principal author of chapter seven on South Carolina that is
  contained in the book resulting from the study, The Quiet Revolution: The Impact of the
  Voting Rights Act in the South, 1965-1990 (Edited by Chandler Davidson and Bernard
  Grofman. Princeton: Princeton University Press, 1994. Winner of the 1995 Richard F.
  Fenno Prize, Legislative Studies Section, American Political Science Association). My
  article, "Legislative and Congressional Redistricting in South Carolina," was published in
  Race and Redistricting in the 1990s (Edited by Bernard Grofman. New York: Agathon
  Press, 1998). I have also contributed the entry for "South Carolina" in the Encyclopedia
  of African American Culture and History (Edited by Charles V. Hamilton and Jack
  Salzman. NY: Macmillan, 1996, revd ed. 2000). I have been commissioned to write the
  entry on "Civil Rights" for the South Carolina Encyclopedia edited by Walter Edgar and
  sponsored by the South Carolina Humanities Council. The University of South Carolina
  Press is publishing my introduction to Francis Butler Simkins, Pitchfork Ben Tillman:
  South Carolinian (originally published by Louisiana State University Press, 1944) for the
  reprint edition of the Southern Classics Series of the Institute for Southern Studies,
  University of South Carolina Press. A detailed record of my professional qualifications is
  set forth in the attached Curriculum Vitae.

          I have had extensive experience in analyzing social and economic status,
  discrimination, intent in voting rights cases, and group voting behavior. I have served as
  an expert witness and consultant in a number of voting rights cases beginning with
  McCain v. Lybrand and also as a consultant in state redistricting. My testimony has been
  accepted by federal courts on both statistical analysis of racially polarized voting and
  socioeconomic analysis of the population, as well as on the history of discrimination and
  the discriminatory intent of laws. I conducted the extensive ecological regression
  analysis presented by the plaintiffs and accepted by the court in Jackson v. Edgefield
  County, South Carolina School District, 650 F.Supp. 1176, 1194-97 (D.S.C. 1986). To
  the best of my knowledge and memory, the last two cases in which I have testified or
  given depositions are Vander Linden v. South Carolina, Civ. No. 2-91-3635-1 and Elliott
  Harvey, III v. National Association of Letter Carriers, C.A. No. 98 CV 2312 (POR). In
  summer 2000 attorney Laughlin McDonald contacted me about consulting on the
  Charleston County Council case, especially the change from a district to an at-large
  method of election. I am being compensated at $100 an hour.
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          At the request of attorneys Laughlin McDonald, Armand Derfner, and Cheryl
  Whipper Hamilton, I have conducted research on the historical circumstances
  surrounding the change in the form of government for Charleston County, South
  Carolina, in the 1960s. Among the issues I was asked to investigate were the following:
  a) the purposes behind Act No. 94 (R142, H1262) passed by the South Carolina General
  Assembly on March 19, 1969; b) the effects of the change in local government
  occasioned by this statute; c) the larger historical context in which this specific change
  took place, including the history of official state discrimination; d) the socioeconomic
  status of African Americans and whites in Charleston County and the continuing effects
  of historical discrimination.

          Pursuant to this investigation I have examined a wide range of sources. For the
  most part I gathered these materials independently, but in some cases I requested specific
  documents and examined copies supplied by the attorneys who hired me. I also had
  considerable material from previous research. As a matter of course, I began by
  reviewing all peer reviewed published work by historians, political scientists, and
  sociologists, as well as Masters and Ph.D. theses relevant to the issues being investigated
  and pertinent to my inquiry. Some of these scholarly works will appear in specific
  citations. I read the Charleston News and Courier and Evening Post and the Columbia
  State for various periods from the 1950s and concentrated on the period from 1965
  through 1969 that included coverage of relevant legislative proceedings. I consulted
  various data from the U.S. Censuses of 1940, 1950, 1960, 1970, 1980, 1990, and 2000. I
  examined the text of pertinent statutes and the Journals of South Carolina House and
  Senate. I read parts of trial transcripts and depositions from other cases. I searched the
  relevant files at the Charleston County Library, including the minutes of the County
  Council and the Charleston Legislative Delegation. I also examined relevant materials at
  the South Carolina Department of Archives and History, the South Caroliniana Library,
  the South Carolina Historical Society, the Cooper Memorial Library at Clemson
  University, and the Avery Research Center for African American History and Culture. I
  reviewed the published opinions and relevant correspondence of the Attorney General of
  South Carolina and the published school expenditures for African American and white
  children in Charleston County from 1896 to 1960. I have also conducted interviews. In
  preparing my report and my testimony in this case, the sources and types of
  documentation that I have used are those an expert normally consults in investigating
  questions of this nature. The methodology that I have employed in preparing my report is
  the same methodology I and other scholars in my field employ when examining issues of
  the sort investigated here. Finally, the analysis presented here is consistent with related
  scholarly research. In my analysis for this case, I have used assumptions, methods, and
  analytical principles consistent with those employed in my past scholarly writing. On the
  basis of the evidence discussed in the following pages, any expert in my field could
  legitimately reach a conclusion concerning the purposes and effects of the shift to at-large
  elections for the Charleston County Council.

         According to the Supreme Court in the Arlington Heights case, plaintiffs need not
  show that race was a predominant factor in the decision, only "that a discriminatory
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  purpose has been a motivating factor." The factors listed by the Court as relevant to a
  circumstantial proof of discriminatory intent include 1) the historical background of the
  decision, 2) the views expressed by decision-makers on related issues, 3) the specific
  sequence of events leading to the decision (including whether there has been a departure
  from the usual practices or procedures of the decision-making body), and 4) the
  anticipated or foreseen effect of the change on minority citizens. 1

          This report will first cover the historical background of discrimination in South
  Carolina and in Charleston specifically. Then I will present the sequence of events
  leading up to the change from district to at-large and show that the County Council and
  the Legislative Delegation foresaw the effect of this change on their minority citizens. I
  will also present the views expressed by the decision-makers.

  I. History of Discrimination in South Carolina

          South Carolina was the first state to challenge the 1965 Voting Rights Act. The
  state’s attorneys maintained that the Voting Rights Act of 1965 subjected the state to
  unnecessary intrusive supervision without proof of intentional discrimination. In denying
  their challenge, and affirming the constitutionality of the act in South Carolina v.
  Katzenbach, Chief Justice Earl Warren stated, “Congress felt itself confronted by an
  insidious and pervasive evil.” He noted the long history of racial discrimination in the
  voter registration process in South Carolina, directly quoting some of the more
  outrageous remarks of Benjamin Ryan "Pitchfork Ben" Tillman at the 1895
  disfranchising convention as evidence of its discriminatory purpose. Warren stated that
  “the constitutional propriety of the Voting Rights Act of 1965 must be judged with
  reference to the historical experience which it reflects.” 2

          That historical experience includes racism and discrimination. The degree to
  which African Americans have held public office in South Carolina in the century and a
  quarter since the Civil War was largely determined by state election laws and the manner
  in which they were implemented. "The central fact in the history of black Carolina,"
  states historian I. A. Newby, "has been the racism of white Carolina." 3 Another historian,
  Jack Temple Kirby, found that "Lower South whites, surrounded by black folk, were
  more preoccupied with race and belligerent in championing white supremacy." 4
  Renowned historian of South Carolina, Francis Butler Simkins, confirmed the intent of
  his native state's legislation: "Reviewing the South Carolina law in respect to the Negro
  since 1876, it is apparent that its frank purpose is to perpetuate the division of society into
  two distinct castes--the white, or dominant ruling class, and the Negro, or subject class."
  South Carolina's "proud record in interracial harmony," he continued, relied on a policy
  of "absolute white supremacy." 5

          The 17th century charter for Carolina, which John Locke helped draft, contained
  two unique colonial provisions: one for religious freedom, the other a specific stipulation
  for chattel slavery. Locke's Fundamental Constitution of Carolina guaranteed that "every
  freeman of Carolina shall have absolute power over his Negro slaves of what opinion or
  religion soever." South Carolina served as the leading advocate for the rights of
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  slaveholders in debates over the Constitution. Under the leadership of John C. Calhoun,
  South Carolina attempted to "nullify" a federal tariff law in 1832 in order to establish a
  constitutional precedent against future antislavery legislation. Resentful of dissent on the
  issue of slavery, antebellum South Carolina established an aristocratic structure of
  government and largely withheld power from the electorate. Although every white male
  could vote, the only offices put before the people were those of state representative and
  U. S. Congressman, and often only one pre-selected candidate was on the ballot.
  Legislative cliques determined who would "run" for governor and which "candidates"
  would be awarded state offices. 6

          South Carolina was the first state to secede from the Union, and a few months
  later, South Carolinians fired the first shot of the Civil War at Fort Sumter. After the
  Confederate defeat, white officials were very clear about the level of African American
  participation in government. As Governor Benjamin Perry explained, "This is a white
  man's government, and intended for white men only." 7 South Carolina, like other
  recalcitrant Southern state legislatures, enacted "black codes" that severely restricted the
  rights of freedpersons, requiring agricultural workers to sign away most of their rights as
  citizens in annual labor contracts with landowners or risk prosecution for vagrancy. The
  enactment of black codes throughout the South played a key role in persuading Congress
  to enforce the franchise for African Americans and to implement Reconstruction. 8

           Granted the franchise, South Carolina's black majority elected Republican
  candidates to the bulk of the seats in a new Constitutional Convention, which then
  granted the right to vote to every adult male, "without distinction of race, color, or former
  condition." 9 Subsequently, African Americans controlled a majority of seats in the lower
  house of the General Assembly (and from 1874 to 1876 both the senate and the house),
  and African Americans won elections as lieutenant governor, secretary of state, and state
  treasurer. Equally important, African Americans were elected to a significant number of
  local offices, such as sheriff, county commissioner, magistrate, school commissioner, and
  alderman. 10 Under Reconstruction, the people of South Carolina ratified a new state
  constitution in 1868. This constitution, the handiwork of black and white Republicans,
  introduced a broad level of democracy to the state. It instituted public education for the
  first time in the state. It put local government in the hands of the people and held
  counties "accountable to the local electorate." 11 Reconstruction in South Carolina lasted
  longer than in any other state, and South Carolina's black Republicans achieved as great a
  degree of political power as did African Americans anywhere.

          Bitterly opposed to African American equality, some whites advocated violence
  to overthrow Republican control. Clashes between whites and blacks occurred
  throughout the state. Whether through open mob violence or secretive activity by the Ku
  Klux Klan, physical beatings, arson, and threats of death were common. Democrats even
  resorted to political assassination and murder. Seven state legislators were murdered
  between 1868 and 1876. 12 White paramilitary groups rioted against African Americans
  and assassinated black militiamen and political leaders in cold blood. 13 In 1876 in the
  notorious "Red Shirt" campaign, former Confederate generals orchestrated a violent take-
  over of state government from Republican control. One of those generals, Martin
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  Witherspoon Gary, had announced as early as 1874 that political contests in South
  Carolina were "a question of race and not of politics." 14 According to historian Eric
  Foner, Charleston was the only exception to "the Reconstruction pattern that cast blacks
  as victims of political violence and whites as sole aggressors." In September and October
  1876, in Charleston and in the nearby village of Cainhoy, African American Republicans
  attacked black and white Democrats, resulting in the deaths of seven white and African
  American Democrats, and the wounding of others. 15

         Elsewhere in the state the Red Shirt campaign of intimidation, voter fraud, and
  violence paid off: Wade Hampton was elected governor. 16 From Charleston, several
  African Americans who supported Hampton were elected as Democrats to the South
  Carolina House. George M. Mears was re-elected in the House every two years from
  1880 through 1890. 17

           Following this overthrow of Republican government in South Carolina, the
  legislature adopted laws to institutionalize its control of state politics and to limit political
  access. Because black-majority counties elected some African American legislators, the
  white state legislature was determined to combat these successes. In 1882 a new
  registration law required all citizens to re-register or face permanent disfranchisement;
  registrars had great discretion in applying the law so that they could avoid striking white
  voters from the rolls. This discriminatory tactic effectively cut the African-American
  electorate in half. 18 In addition, the legislature abolished a large number of precincts in
  heavily Republican counties, requiring voters to travel long distances in order to vote. 19
  The legislature adopted a law that was intended to eliminate federal scrutiny of state
  affairs by requiring separate ballot boxes for state and federal elections. 20 A companion
  statute, the "Eight Box Law," required voters to place ballots for various offices in
  separate, unmarked boxes, which election officials periodically shuffled.

          Another move to restrict African American voting power was through
  congressional redistricting. The legislature adopted a plan that "packed" African
  Americans into one malapportioned district where they made up 82 percent of the
  population, thereby diluting African American voting strength in the rest of the state.
  The "black district," as it was called, incorporated most black neighborhoods of
  Charleston and ran from the coast to the city of Columbia. Although this one district
  generally elected an African American Republican to the U.S. House of Representatives
  until 1896, the gerrymander assured Democrats safe contests for the remaining seats. 21

          Even so, black voters remained numerous enough to be troublesome to white
  supremacists, and the political movement by Benjamin Ryan Tillman brought about an
  end to any vestige of African American equality of citizenship. The Tillman movement
  sought explicitly racist ends, including the segregation of public accommodations and the
  effective disfranchisement of African American men. Tillman told the nation, in
  characteristically blunt language, that white South Carolina had triumphed over black
  South Carolina by the use of shotguns, election fraud, and intimidation, and that white
  South Carolina was determined, if necessary, to maintain its supremacy by a
  reapplication of these methods. Tillman's movement to purge the African American vote
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  in South Carolina was as openly racist and its post-disfranchisement regime as rigidly
  committed to white supremacy as any in Dixie. 22

          As part of its efforts to buttress white supremacy, the Tillman movement
  supported the elimination of Home Rule and the creation of Legislative Delegation
  System. In 1888, South Carolina Governor J. C. Sheppard, who had been a participant in
  the terrorist red shirt campaign against African Americans, addressed the legislature and
  declared that the Home Rule power granted counties in the Constitution of 1868 "is not
  suited to our condition, and is the cause of many of the evils of which the people
  complain." 23 The repeal of Home Rule in 1890 set the stage for Ben Tillman's abolishing
  locally elected governments and aggregating power in the county legislative delegation
  system.

          The legislative delegation system was discriminatory and established to
  disfranchise and dilute the vote of African Americans at the county level. This system of
  local government can only be understood within the historical context of its
  establishment; it derived from Tillman. In the minds of many of South Carolina's whites,
  local control of county government was associated with Reconstruction and the election
  of African American leaders. 24 White supremacists, therefore, preferred to curtail local
  elections, to give the governor the power to appoint and dismiss local officials, thereby
  maintaining control of county government. 25

           Initially Tillman recommended a model of township government where each
  township elected representatives. 26 Realizing, however, that some areas of the state were
  not secure from African American voting, Tillman made crucial alterations in his
  original, more democratic, plan. Ultimately Tillman supported a system whereby each
  county would have a board of commissioners made up of a county supervisor elected at
  large and chairmen from each of the townships—not elected, but appointed by the
  Governor. The bill was passed in November of 1893. 27 South Carolina Democratic
  white legislators were still concerned about both the African American and the white
  Republican voting populations. Black citizens continued to vote during this time period.
  In fact, African American legislators were involved in some of the debates, and the last
  black state representative did not leave the General Assembly until 1902. Without a
  doubt, the African American vote was still considered a threat during the time period that
  the County Legislative Delegation System was established. 28

           Because of a specific fear of political activism in Charleston and similar areas
  where the African American vote might be appealed to by opposing groups of whites,
  Tillman vowed to disfranchise blacks altogether, and he almost reached that goal in his
  rewriting of the state constitution.29 At the South Carolina Constitutional Convention of
  1895, now U.S. Senator Tillman chaired the South Carolina Convention's Committee on
  the Rights of Suffrage. He wrote into the state constitution various articles of
  disfranchisement, such a poll tax, proof of payment of all other taxes, and a "petty
  crimes" provision that disfranchised all those convicted of certain crimes that whites
  believed African Americans frequently committed. 30 In addition, a prospective voter had
  to satisfy a literacy test and demonstrate an understanding of any constitutional provision
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  read to him by the registrar. The discretion of the registrar was unlimited. As late as
  1940 a local executive observed to a journalist, "There are dam few negroes registered in
  any way.... If a coon wants to vote in the primary, we make him recite the Constitution
  backward, as well as forward, make him close his eyes and dot his t's and cross his i's.
  We have to comply with the law, you see." 31 The disfranchising constitution of 1895 was
  very effective. "The whites," Tillman announced, "have absolute control of the
  government, and we intend at any hazard to retain it." 32

          The structure of primary elections is a clear example of the state’s maneuvering to
  keep African Americans from voting. In 1896, when the South Carolina legislature
  authorized statewide party primaries, the State Democratic Executive Committee
  prohibited all African Americans from voting in the primary, which was, in the one-party
  system after disfranchisement, the only election that mattered. 33 The state poll tax
  requirement never applied to these primary elections, probably because party rules
  already excluded African Americans. 34 When the U.S. Supreme Court overturned the
  white primary in 1944, Governor Olin D. Johnston called a special session of the
  legislature to repeal all laws relating to primary elections. 35 "After these statutes are
  repealed," Johnston told the legislature, "we will have done everything in our power to
  guarantee white supremacy in our primaries." 36 After South Carolina passed a
  constitutional amendment erasing all mention of primaries from the state constitution, the
  Democratic Party adopted rules excluding African Americans from its "private" primary
  elections. 37

          When the NAACP challenged the "private" primary in federal court, Judge J.
  Waties Waring of Charleston ruled, on July 12, 1947, in their favor because the governor
  and legislature violated the Fourteenth and Fifteenth Amendments, acting "solely for the
  purpose of preventing the Negro from gaining a right to vote." 38 After the Supreme
  Court refused to review the case in which the Circuit Court had upheld Judge Waring's
  ruling, the Democratic Party no longer excluded African Americans on their party rolls,
  but they did extend the literacy test required for general elections to the primary.
  Furthermore, they would allow qualified African Americans to vote only if they swore an
  oath: "I believe in and will support the social and educational separation of the races.”
  In 1948, in Brown v. Baskin, Waring overturned that allowance and issued a court order
  that voting "be opened to all parties irrespective of race, color, creed or condition.” 39

          In 1950, the General Assembly adopted new state regulations of primary
  elections. Besides the literacy test, electoral devices restored to the primary election laws
  were statewide full-slate and majority vote requirements, all of which may dilute the
  votes of African American citizens. 40 Although these features of the statute were
  reenacted without comment, they had the same purpose attributed to the statute as a
  whole in contemporary accounts. "Conservative lawmakers admit that the bill is
  designed to control Negro voting in primaries." 41

          South Carolina’s politicians continued to control election laws and voter
  registration to maintain white supremacy. Congressman and native Charlestonian James
  F. Byrnes, who eventually became a senator, Supreme Court justice, secretary of state,
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  and governor of South Carolina, cautioned in 1920: "It is certain that if there was a fair
  registration they [African Americans] would have a slight majority in our state. We
  cannot idly brush the facts aside. Unfortunate though it may be, our consideration of
  every question must include the consideration of this race question." 42 The effect of
  disfranchising legislation was profound: only 1500 African Americans in South Carolina
  were registered to vote in 1940. 43 Still, state legislators felt threatened. The South
  Carolina House of Representatives passed a resolution in 1944 denouncing "indignantly
  and vehemently" any and all "amalgamation of the White and Negro races by a co-
  mingling of the races upon any basis of equality." It further resolved an affirmation of
  "our belief in and our allegiance to established white supremacy as now prevailing in the
  South" and pledged "lives and our sacred honor to maintain it, whatever the cost, in War
  and Peace." 44

         Segregation was entrenched in South Carolina society. Whites and African
  Americans were separate, but not equal. Looking at education as an example, an analysis
  of educational expenditures in South Carolina from 1896 to 1960 demonstrates the
  inequality of education. In 1952, per-pupil expenditures for black children were only 60
  percent of the amount spent to educate white children. 45

         Teachers in the state also faced discrimination. When African American teachers,
  who were paid less than white teachers, took the issue to court, Judge Waring found in
  favor of African American plaintiffs for equalization of teacher pay. South Carolina
  formed a committee to study this issue; working with this committee was attorney David
  Robinson, who later played a key role in the state's "Segregation Committee." Once the
  committee verified that black teachers scored lower on the National Teacher Exam, South
  Carolina in 1945 adopted use of this exam. 46

           Brown v. Board of Education of 1954 began in South Carolina as Briggs v. Elliot.
  In 1950, when experienced politician James F. Byrnes was a candidate for governor, he
  anticipated that South Carolina might be ordered to desegregate its school system. He
  recommended legal ways to counter the rulings. He counseled, for instance, that local
  school districts gerrymander. “The Washington administration and the United States
  Supreme Court cannot regulate the area or boundaries of our school districts. We must
  investigate to see if it is practical to establish school districts to include the sections
  where most of the Negro population resides and other school districts to include sections
  where most of the white people reside.” He wanted local school boards to use waivers
  for children who needed to go to school outside their district, “a Negro child residing in
  the school district for whites,” or “a white student residing in a preponderantly Negro
  district.” Byrnes thought that “this Gerrymandering of districts” could be used
  effectively in cities, but less so in rural areas. 47

          After Byrnes won his election, he continued his tactics of a "calculated
  moderation." Experienced in national politics and in the judiciary, Byrnes brought a
  sophisticated and subtle approach to resisting racial integration. In order to forestall
  integration, for example, Byrnes used a significant portion of a new sales tax for the
  education of African American children, and white leaders throughout the state began
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  equalizing the facilities of white and black schools in a desperate attempt to salvage
  segregation. Byrnes urged the creation of the so-called segregation committee and
  staffed it with some of the state's leading legal minds. Chaired by state representative L.
  Marion Gressette, this special school committee coordinated efforts to maintain the racial
  status quo. 48 Byrnes even recommended that South Carolina eliminate from its
  constitution the provision for public schools, which it did. In 1952 in the general
  election, the constitutional amendment eliminating public schools was passed, and in
  1954 the General Assembly ratified the amendment. (Despite eliminating public schools
  from the state constitution, South Carolina chose to continue its public school system.) 49
  South Carolina also repealed its compulsory school attendance laws and refused to
  provide state funds for any school that capitulated and accepted students under court
  order. 50 The South Carolina legislature passed fifteen bills between January and April
  1956, including a resolution that gave itself the right to nullify or overrule federal laws. 51
  South Carolina’s Massive Resistance to integration, a technique of bending a little to
  prevent larger changes, gave the state another decade of segregation. 52 By 1963, only
  Mississippi and South Carolina had not even token integrated schools.

          In November 1955, the state went after the NAACP. Governor George Bell
  Timmerman asked the South Carolina Attorney General to file suit against the group for
  not registering as an organization in the state. The NAACP State president would not
  provide names of the membership because of fear of retaliation on the members. South
  Carolina then barred the NAACP from the state. 53

          On the eve of the Voting Rights Act, South Carolina was thoroughly in the grip of
  white supremacy. African American voter registration in South Carolina was weakest in
  counties with a high percentage of blacks in their population. 54 Whites kept black
  registration down and sometimes did not count all the votes cast by African Americans.
  Charged with telling a black voter during the 1964 presidential election "to place his
  ballot in the wrong box," precinct manager Wade H. Ratcliffe explained, "I knew this was
  wrong but we have always done these things." 55 Only 37 percent of the 1964 black
  voting-age population were registered, and South Carolina elected no black officials in
  the twentieth century before the Voting Rights Act. 56

          The Voting Rights Act of 1965 and the Federal Court ruling on one-person, one-
  vote had immense impact on South Carolina. 57 When the Federal Court ordered the
  South Carolina General Assembly to reapportion the state Senate on the basis of one-
  person, one-vote, legislators realized that some counties would no longer have a resident
  senator. The South Carolina Senate then adopted multimember districts, which had the
  effect of excluding African Americans. Finally, in the 1970s, after more litigation, the
  General Assembly passed the Local Government Act beginning a measure of home rule
  to the counties. 58

          The Voting Rights Act of 1965 was supposed to eliminate voter discrimination,
  and after South Carolina lost its challenge to the constitutionality of the act, South
  Carolina's literacy test and "understanding" clause were abolished. 59 By 1967 African
  American voter registration had climbed to 51 percent of the age-eligible population. 60
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  By and large, South Carolina's white officials conceded that the Voting Rights Act made
  it impossible to prevent African-American citizens from registering and casting their
  ballots. 61 Because of the success of the Voting Rights Act, advocates of white supremacy
  had to turn to election methods that could dilute the black vote, although some barriers to
  registration and voting continued. Location and hours of operation were problematical
  because local voting registration boards had the discretion to appoint deputies and set
  office hours. Often offices were not open when African American laborers might be
  available to register. 62

          During the 1960s, violence often accompanied demonstrations for Civil Rights in
  South Carolina. In the Orangeburg Massacre in 1968, three students were killed and
  twenty-seven were shot, among them at least two Charlestonians, Albert Dawson and
  Jordan Simmons. SNCC leader Cleveland Sellers was put on trial, convicted, and served
  time in prison, and did not receive a pardon until a quarter century later. When the
  patrolmen who had done the shooting were acquitted, the Reverend I. DeQuincey
  Newman protested that South Carolina “is just about in the same boat as Alabama and
  Mississippi.” Newman continued, “The perpetrators of the tragedy and those who have
  covered up for them have rendered a great disservice to sometimes heroic efforts that
  have been made in the area of race relations and interracial cooperation.” 63

  Discrimination in Charleston

          As shown above, white South Carolina leaders have had a long history of
  discrimination against African Americans. The same was true for Charleston County,
  which did not escape the turmoil of race relations endemic in a system of white
  supremacy. Charleston experienced a race riot in 1866 when former slaves rioted, and
  again in 1919 when white sailors and locals went on a rampage against African
  Americans. 64 According to historian Walter Edgar, during the modern Civil Rights
  Movement, "Charleston witnessed rioting before city officials indicated a willingness to
  move forward." 65 In Charleston, during the turbulent challenges to white supremacy in
  the 1940s, 1950s and 1960s, frequent mentions were made to the “horrors” of
  Reconstruction. The Reconstruction era, with its elected local African American
  officials, was never far from the minds of white Charlestonians as the events of the Civil
  Rights Movement, often called the Second Reconstruction, unfolded. Charleston
  champion of aristocratic conservatism, and long-time editor of the Charleston News and
  Courier, William Watts Ball, argued in 1913 that for South Carolina "socially and
  politically the presence of this race [African Americans] in majority is perhaps the ruling
  factor in our progress, or want of it." 66

          Charlestonians got their news from the Charleston News and Courier, called by
  Judge J. Waties Waring, the uncle of editor Thomas Waring, the “bible of the
  supremacists.” After the court ruling banning the white primary, the editor of the
  Charleston News and Courier argued, "If we are to retain the primary system in South
  Carolina with herded negroes voting in them, with white and colored leaders herding
  them (many if not most of the negro leaders will be preachers from the lower class) we
  shall have corrupt government, government that is rotten, government that offends the
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  nostrils of decent people." 67 In his analysis of the newspaper, historian Stephen O'Neill
  wrote, "Hardly a day went by for six years after Brown that [Thomas] Waring did not
  attack the evils of race mixing, champion states' rights, or in some other way defend the
  South's case for segregation." 68 In 1962, after noting that the News and Courier was not
  covering the black boycott of Charleston businesses (they were asking that the businesses
  hire some African American sales persons), Time Magazine quoted the Charlotte
  Observer, "The News and Courier's boycott of the boycott is only expected behavior for
  one of the South's noisiest advocates of segregation. The paper's editorial policy is one
  long high fidelity rebel yell to hold that color line." 69

          Black Charlestonians endured segregation just as the rest of South Carolina did.
  Charleston was a segregated city with segregated schools, restaurants, and theaters.
  Recreational facilities, such as golf courses and parks, were segregated; the best, such as
  Edisto Park, were available only to whites. Signs directed African Americans to separate
  restrooms and drinking fountains. “Charleston had a color line that divided its people
  and institutions.” 70 Esau Jenkins relates two incidents, one in 1938 and the other in the
  1940s, of white men shooting African American men. Jenkins attributed these two
  incidents, where the white men were not held accountable under the law, as motivational
  in his efforts in 1949 to organize a "progressive movement." Jenkins also remembered
  that before African Americans organized and registered to vote, they did not have a
  chance in court. 71

  Socioeconomic disparities

         Disparities between white and African American socio-economic positions were
  marked. In 1950, seven thousand African American children were crowded into six
  schools, necessitating double shifts at four of the schools. In the Charleston area, more
  than 50,000 African Americans were allowed only 148 hospital beds. According to the
  1950 census, the median income for African American families in Charleston County
  was one-third that of whites ($ 672---$ 2,007). The percentage of unemployed non-
  whites was three times higher than that of whites (male 13.9 percent---4.4 percent, female
  10.8 percent---2.7 percent). 72 Whereas only 3 percent of the white households had no
  running water, 27.5 percent of the non-white households had none. Inside toilets were
  not available in 73 percent of the non-white households, but such households were just
  12.8 percent among whites. 73 Also, while 81 percent of the white public schools had
  more than four teachers, only 27 percent of the African American schools did in 1951. 74

          According to the 1960 Census, the total median income for families (includes
  whites and non-whites) was $4,518; while the non-white median family income was only
  $2,149. White males fourteen years and older had an unemployment rate of 3.3 percent
  (3.8 for white females) compared to 8.2 percent (7.5 for non-white females) for non-
  white males. Only 0.8 percent of whites twenty-five years of age or older had no
  schooling compared to 8.6 percent of non-whites. 75 In 1960-61, the number of white
  students per elementary school was 526; for African American students, that figure was
  633. Similarly, an average of 680 white students were studying in a high school, while
  810 African American students were. 76 In 1961-62, two African American high schools
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  enrolled 1,783 students, while three different high schools enrolled 1,528 white students.
  Student-teacher ratios were 29:1 for blacks and 25:1 for whites. 77

          According to the 1970 census, 44.6 percent of the county's African American
  families lived below the poverty level, and another 10 percent subsisted just above the
  poverty level. 78 In 1980, the median income for Charleston County African American
  families was half of that for white families ($10,907---$ 20,400; the comparative income
  in the City of Charleston was $10,726 for African Americans and $23,145 for whites). In
  Charleston County, 32.2 percent of the African American families were still below the
  poverty level, while only 6.1 percent of the white families were. As for unemployment,
  the figure for African Americans was 2.6 percent higher than that for whites (10.9 percent
  compared to 3.7 percent). Two studies in the 1980s pointed especially to geographically
  isolated rural areas with high proportions of African American population as
  impoverished and lacking adequate services such as sanitation or transportation. 79

          The 1990 census shows that socioeconomic disparities were still wide between
  the African American and whites of Charleston County. Just like a decade ago, the
  median income for African American families was half of that for white families
  ($18,603---$38,052). One-third of the African American families still lived below the
  poverty level. The percentage of unemployed African Americans was three times higher
  than that of whites. Whereas more than 80 percent of whites (25 years and older)
  graduated from high school, only 57 percent of African Americans did. Moreover, 31.6
  percent of African Americans had no vehicles at home and 13.4 percent had no telephone
  installed, while such households were less than 5 percent among whites. 80

          Segregated schools epitomized the problem. In 1960, the last year South Carolina
  reported separate official figures for black and white education, half a dozen years after
  the Brown decision, after deliberate efforts of Gov. James Byrnes to keep schools
  separate and make them less unequal, and after the careful application of the Gressette
  segregation committee's guidelines for "equalization," nevertheless, in Charleston County
  schools spent $201.22 on each white student and $150.20 on each African American
  student. In 1961-62, according to one historian, Charleston schools spent $267 for each
  white, but only $169 for each African American student. 81

           A recent Associated Press story (8 August 2001) published in several South
  Carolina newspapers documented the lingering effects of discrimination. "Race has been
  an undercurrent throughout South Carolina history." The report discussed how slavery,
  then segregation divided African Americans and whites in South Carolina. "Today, a
  divide remains." The reporter showed that whites who have the same education as
  African Americans make more money. African Americans score lower on standardized
  educational tests, African Americans are disproportionately more in jails and juvenile
  delinquent centers in South Carolina, whites are healthier than African Americans, whose
  health problems include higher infant mortality rates. The divide is also reflected in the
  voting patterns of whites and African Americans. "In 400 elections between 1982 and
  last year, no black candidates were elected to the General Assembly from white majority
  districts." 82
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          South Carolinians were aware of the relationship of socio-economic status and
  voting at least as early as 1966 when the University of South Carolina Governmental
  Review published a report that explained, "people of upper socio-economic status (high
  income and education, and holding prestigious occupations) tend to vote more frequently,
  are more interested in political affairs, and are better informed. The education element
  has been identified as uniquely important in providing adequate motivation for political
  participation." That section of the report concluded that "perhaps the socio-educational
  circumstances in which most Negroes find themselves are as great deterrents to active,
  effective political participation as were the legal obstacles and informal intimidations to
  which they have been subjected for decades." 83 Scholars believe, as well, that socio-
  economic conditions flow in large part from state sponsored discrimination. 84

  Civil Rights Chronology in Charleston County prior to Act 94: The local context

          In February 1944, Judge Waring ruled in favor of Charleston African American
  school teachers’ lawsuit that the state could not pay black teachers less than white
  teachers because of race. 85

          In 1947, Charleston County native John Wrighten (who had attempted to integrate
  the College of Charleston as an undergraduate) sued to attend the University of South
  Carolina law school. He prevailed in Judge Waring's courtroom, but, in order to avoid
  integrating the University of South Carolina, the state established a second law school at
  South Carolina State. 86 Until this time all law school graduates were automatically
  admitted to the state bar in South Carolina. Henceforth, law school graduates would have
  to have passed a bar exam. 87

          In 1947, Charleston's Judge J. Waties Waring ruled against white primaries, and
  in 1948 he ruled against the ruse of a segregation oath. 88 Charleston County African
  Americans were then able to register and vote in Democratic primaries. In 1948, former
  Charlestonian John McCray's Progressive Democratic Party was especially successful in
  a voter registration drive. On the eve of the first Democratic primary where African
  Americans could participate, 4,360 African American voters were added in Charleston
  County, leading historian Stephen O’Neill to remark that this represented "potentially a
  revolutionary" change for municipal politics. 89

          After this ruling on the white primary, Charleston Congressman Mendel Rivers
  initiated impeachment investigations against Waring, who was vilified by whites
  throughout the state and especially in Charleston. In 1950, the Southern Association for
  the Advancement of White People collected 20,000 signatures on an impeachment
  petition, nearly 10,000 of those were from Charleston County. 90

          In 1948 when the Charleston County Council was given some home rule power, a
  resident of Charleston County sued because he did not want local power. According to
  University of South Carolina legal scholar James Lowell Underwood, this case against
  the establishment of the County Council in 1948 argued that "dissatisfaction with
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  political conditions prevalent during Reconstruction spawned a distaste for local
  government, the level at which abuse of power was considered greatest, and resulted in
  the omission of detailed local government provisions from the Constitution of 1895." 91

          In 1948, A. J. Clement, NAACP president active in the Progressive Democratic
  Party, ran for County Council. 92

          In 1950, with increased voter presence from African Americans, the City of
  Charleston became more responsive to the black electorate, and Mayor William Morrison
  hired the first African American policemen. 93

         To placate demands for integration of the College of Charleston, the city offered
  scholarships for African American students to attend South Carolina State College in
  Orangeburg. 94

       In 1950, Progressive Democratic Party candidate A. J. Clement challenged
  Democratic incumbent Mendel Rivers for Congress. 95

          In May 1950 a hundred members of the KKK drove through Charleston Heights.
  At this time the city of Charleston itself reported no Klan activity; however, Klan rallies
  were held in Ladson, Mt. Pleasant, Goose Creek, Red Top, and James Island. 96

         In late May 1951, in a Charleston courtroom, Charleston attorney Robert Figg
  defended Clarendon County against African American plaintiffs. Charleston's Judge
  Waties Waring, in the first known opinion by a federal judge that segregation was
  unconstitutional, dissented in favor of the African American plaintiffs in Briggs v. Elliott.

         By 1951 African American voting strength was growing. State Senator Oliver T.
  Wallace, something of a liberal for Charleston, more openly appealed to African
  American voters. Voting machines were set up in churches and in NAACP president A.
  J. Clement's office to demonstrate balloting. 97

          At a January 21, 1952 meeting with the City of Charleston school board, three
  African American groups petitioned for a fair distribution of the "equalization fund," and
  protested the lack of an African American school board member, "there has never been a
  greater need for a qualified member of the board of District No. 20." The petitioners
  cited the Briggs Clarendon County ruling as legal precedent for claims. 98

         In 1952, African American leaders Herbert Fielding, J. Arthur Brown, and the
  Reverend Frank Veal ran unsuccessfully for the state legislature from Charleston. The
  chairperson of the Board of Registration reported that in the weeks before the election,
  6,000 new voters had registered, half of them African Americans. 99

         In 1953, the newspaper reported on the 64th anniversary of Lincolnville in the
  northwestern part of Charleston county near Summerville. This town of about 450
  people was "one of the few communities in the United States governed exclusively by
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  Negroes," reminding Charlestonians of African American elected officials and black
  political participation during Reconstruction. 100

          In 1954, African Americans in Charleston openly advocated black representation
  on the city council and other local governing bodies. In February 1954 African American
  leader Robert Morrison urged representation of qualified African Americans on school
  boards and outlined for the News and Courier the qualifications of African Americans in
  Charleston. He noted the problem: "Although Negroes have over seventy percent of the
  votes in ward #9," he complained, "it is impossible to elect a Negro to the City
  Council." 101

           The 1954 Brown v. Board of Education decision held that the segregation of
  schools was unconstitutional. The decision overwhelmed Charleston, where the "city's
  business and civic leaders, its politicians, and especially its daily paper, the News and
  Courier, forcefully and prominently elevated the issue of race above all others in their
  attempt to defend the peninsular city," according to O'Neill. He concluded that for the
  next two decades, "every community social and political issue was overshadowed or at
  least strongly influenced by racial questions." 102 The News and Courier reported that
  Brown was the "most radical upheaval since Reconstruction." 103

          Reaction in Charleston following the Brown decision was to join with the state,
  and other Southern states, in a program of "massive resistance" against school
  desegregation. Governor James F. Byrnes’ “Segregation Committee,” included two
  Charlestonians, Robert Figg and Creighton Frampton, who served on the committee from
  its founding until its official termination in 1966, the year before the Charleston County
  Council proposed to the Legislative Delegation that it change the method of election to an
  at-large system. 104

          In the mid-1950s, after the Brown decision, white Citizens’ Councils were very
  active in Charleston. The county boasted six organizations, and Micah Jenkins, the local
  president, served as the state president as well. One historian believes that "the anti-
  segregation sentiments they [citizens’ councils] expressed were shared by most white
  Charlestonians." 105 (See more on Micah Jenkins below under “Policymakers.”)

           Charleston was especially successful in drawing just the sort of district lines that
  James F. Byrnes urged in his 1950 campaign for governor. Byrnes had encouraged local
  boards to gerrymander districts so that some districts included areas with a large African
  American majority and other districts included sections where most of the white
  population resided. Charleston’s districts, as shown by Dr. William Gordon , maximized
  segregation in Charleston County schools. Gordon claimed that "no other configuration
  of district consolidation would have more effectively separated students by race into
  separate school districts than those chosen by the county board." 106

         In the 1950s Charleston high school students Harvey Gantt, James Blake, and
  Minerva Brown led an active NAACP Youth Council which in turn invigorated the
  African American community. In 1955, Realtor J. Arthur Brown became president of
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  the Charleston NAACP and directed massive voter registration drives. Membership in
  the NAACP grew from 300 to 1,500; by 1960 there were more than 2,000 members. 107

          In July, 1955 the NAACP and black parents petitioned to integrate schools in
  Charleston, North Charleston, and Mt. Pleasant. The newspaper published the names of
  the petitioners, "as a means of intimidation," so that groups like the white Citizens'
  Council members would know who the troublemakers were. 108

           In 1955, after three years of unsuccessful petitions, Charleston African Americans
  filed suit for the use of Edisto Beach State Park. In answer to their petition the year
  earlier, the superintendent of Edisto had responded that the park "was established in 1935
  for the exclusive use of white persons, and based on custom and precedence, we will
  have to deny your request." When sued, the Charleston Legislative Delegation wondered
  whether "to scrap the entire park system, or deal with the race issue in some other
  manner." They decided to close the state park. The park was closed until 1966. 109

         In 1956, in the presidential election, Charleston County ranked among the biggest
  supporters for the independent candidate, Virginia's Harry Byrd. The Citizens' Councils
  urged support of the Byrd ticket, and the Citizens’ Council President, Micah Jenkins, then
  a Democrat, was instrumental in getting South Carolina Democrats to pledge their votes
  to Byrd. Charleston County generally continued to vote for extremely conservative
  candidates. 110

          In 1956, when South Carolina State students demanded more equitable funds for
  African American higher education, the Charleston County School Board voted to revoke
  all financial aid to Charleston students involved. 111

         In 1956, Charleston Senator T. Allen Legare co-sponsored the law prohibiting
  South Carolina municipalities or school boards from hiring members of the NAACP.
  The Charleston school district then fired teachers Septima Clark, Jessica Pearson Brown,
  and Henry P. Hutchinson for their membership in the NAACP. 112

          In 1957 the first citizenship schools were established on Johns Island by Bernice
  Robinson. Citizenship schools trained many of the most important civil rights activists.
  Citizenship schools taught civics and civil rights to adults in the African American
  community to prepare them to register to vote. Soon Robinson was supervising five
  citizenship schools, in Charleston Heights, Accabee, on Cannon Street in Charleston, and
  on Wadmalaw Island where Esau Jenkins's daughter started a citizenship school. 113

         In a 1957 special election for the seat of a Charleston representative who had
  died, African American activist and attorney John Wrighten came in second among the
  four candidates. 114

         In 1958, African Americans sued to have the municipal golf course desegregated.
  After various stalling tactics, the judge ordered desegregation in November 1960. The
  order was finally implemented in May 1961. 115
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          These challenges to segregation in Charleston in the 1950s disturbed the majority
  of whites, but the 1960s were much more turbulent. According to historian William D.
  Smyth, "The 1960s, beginning with the Kress demonstration and ending with the 1969
  hospital workers strike, were marked by even more challenges to Charleston's
  segregation." 116 Returning to Charleston, James Blake, an NAACP Youth leader from
  the 1950s, observed that except for the few changes such as the integrated golf course,
  the bus terminal, and the county library, Charleston was "one of the most backward cities
  on the map." White Charlestonians and decision makers were shaken by the Civil Rights
  Movement and especially by events that unfolded around them in Charleston County.
  After careful study of the Civil Rights Movement in Charleston, historian Stephen
  O'Neill has concluded "as a city also preoccupied with race throughout its history,
  Charleston saw its very self-identity profoundly threatened by the civil rights
  movement." 117

          On April 1, 1960, students sat down at Kress Department Store. The modern
  Civil Rights movement in Charleston wrought lunch counter sit-ins, regular
  demonstrations, and protests by African Americans. In the spring of 1960 there were at
  least eight separate protests involving more than 75 students, who were charged with
  trespassing. 118

          On October 11, 1960, the African American PTA, led by Herbert Fielding and
  others, kept their children out of school in an official boycott because of overcrowding. 119
  Three days later, black parents sued Charleston District 20 to allow African American
  children to attend white schools. 120

          In 1962 the NAACP boycotted businesses that refused to hire African Americans
  as sales clerks. 121 In response, the National Association for the Preservation of White
  People counter-demonstrated, picketing the stores along King Street which had agreed to
  desegregate. Their handbills read, "If you are in favor of preserving your way of life
  won't you please boycott any store who favors integration. Thank you. The Charleston
  Chapter of the NAPWP." On October 1 the NAPWP drew a crowd of 600 to hear Red
  Bethea of Dillon and Lester Maddox of Georgia. 122             In retrospect, Mayor J.
  Palmer Gaillard observed, "Our biggest problems were not with the blacks … but … with
  whites." Whites boycotted and sent hate mail to those merchants who desegregated or
  removed the offensive "Colored Only" signs. 123

         In May 1962, Arthur Brown sued to desegregate Charleston schools. At this same
  time, Civil Rights veteran and Charleston's Burke High School graduate, Harvey Gantt,
  was suing to desegregate Clemson University. January 1, 1963, Gantt integrated
  Clemson University. 124

          On June 5, 1963, the NAACP announced that Charleston, last large South
  Carolina city still to have segregated lunch counters, was targeted for demonstrations.
  The state and Charleston NAACP directed a campaign to "eliminate all state imposed and
  state upheld racial segregation and discrimination." Among nine demands was "the
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  banning of racial segregation in the schools." The first arrests began June 13 and
  included DeQuincey Newman of the state NAACP. By July 4, over 500 African
  Americans were arrested in Charleston, and 229 were already tried and convicted. Fifty-
  five African Americans were arrested trying to integrate Hampton Park and Colonial
  Lake. When protesters demonstrated in front of the News and Courier to protest its
  reactionary editorial policy, violence broke out between angry whites and angry
  protesters, and rioting ensued. The National Guard and the South Carolina Law
  Enforcement Division occupied Charleston. On September 11, a bomb was tossed at
  Canaan Baptist Church and a Molotov cocktail at an African American social club. The
  Mayor of Charleston held firm on segregation of playgrounds and parks, but he agreed to
  hire more African Americans as city workers. 125

          During the summer of 1963 Charleston police arrested 600 African Americans;
  bail bonds reported to be $1.4 million.126

          On August 22, 1963, Judge Robert Martin found the Charleston public schools
  were completely segregated and ordered the admittance of the African American children
  who were plaintiffs to the previously all white schools. When eleven of the children
  entered the white schools, District 20 in the city of Charleston was the first school district
  in the state to desegregate. In this desegregation case for Charleston schools, Thomas A.
  Carrere, school superintendent, “expressed his own belief that genetic differences
  accounted for Negroes' poor scores on achievement tests." 127

           After Judge Martin's order to desegregate, the school board initiated three
  responses. It reaffirmed that segregation was in the best interests of all students and
  instructed its attorney to try to reverse the order. In addition, it instituted a "freedom of
  choice plan," which required African American parents to get the school board's approval
  to send their children to a desegregated school. 128 It also decided to participate in the
  State's tuition grants program to assist parents avoid integration by enrolling their
  children in private schools. 129

          Many whites chose private schools instead of Charleston city public schools.
  Charleston's Reverend Eugene Kelly of St. John's Catholic Church criticized the private
  school movement in Charleston, arguing that it would “perpetuate an evil.” He wrote that
  "the fundamental point is that racial discrimination is contrary to the central teaching of
  Christ and thus evil, and no amount of legal maneuvering or camouflaging can change
  that point." 130

          In the 1964-65 school year, the Charleston School District was told it had to
  totally desegregate, leading to more white flight and more students attending segregation
  academies. 131 In 1966, only 185 African American students attended desegregated
  schools in Charleston. 132

         In 1964, Charleston was among the strongest bastions of support for Republican
  presidential nominee Barry Goldwater after Lyndon Johnson signed the Civil Rights Act
  of 1964. 133 This election illustrated again that African Americans were voting, and
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  voting differently than most white Charlestonians. According to Esau Jenkins, on
  Wadmalaw Island nearly all whites voted for Goldwater. Jenkins contended that it was
  the African Americans on places like Wadmalaw and Johns Islands that voted for
  Johnson and the Democrats in 1964. In 1966 the University of South Carolina
  Governmental Review confirmed Esau Jenkins's observations that in South Carolina "all
  of the predominantly Negro precincts, except one … gave majorities to President Johnson
  in 1964." 134

          This phenomenon of increasing black voting was noticed. The white “Charleston
  Citizens' Council” put out a brochure in 1965, "Why Must Greater Charleston Organize?"
  and their first answer as to why the Citizens' Councils should organize was "(1) that the
  integrationists and bloc voters are themselves organized to a dangerous pitch.” They
  listed as their goals, "local resistance to un-Constitutional integration," a "protest against
  the race-mixing mania of the times," reversal of the "‘Black Monday’ decision of 1954
  and repeal of the misnamed 'Civil Rights' Act of 1964," opposition to “forced integration
  in the Greater Charleston area," and the "maintenance of racial integrity." 135 In 1967, the
  News and Courier characterized the Citizens' Council as "instituted to fight for states'
  rights and racial integrity." 136

          June 1965, the Charleston County Legislative Delegation, in "a break with
  tradition" according to the News and Courier, "in effect appointed a Negro to the board of
  trustees of Charleston School District 20." The paper reported that the seventy-one year
  old Methodist minister, who was not a member of the NAACP, was the first African
  American "who has won a public school trustee post for Charleston" in the twentieth
  century. 137

         In 1965, Herbert Fielding and others formed the Democratic Party's Political
  Action Committee (PAC). Historian Stephen O’Neill described the PAC as the "black
  wing of the Broad Street machine." 138

         In 1967, black leaders Fred Moore, Lilliemae Marsh Doster, and Reginald Barrett
  formed a rival to PAC. This "Committee of 100" considered themselves more
  progressive than the PAC and less dependent upon white politicians' wishes. 139

          In April 1967, Judge Robert Martin ruled that the Charleston School Board had
  failed to comply with his directives, and he struck down the freedom of choice plans that
  required parents to make a request from the school board if they wanted to transfer their
  children. For the 1967-68 school year, every parent could select the school they wanted
  their child to attend. 140

         On July 30, 1967, Dr. Martin Luther King was the speaker at a voter registration
  drive. On the same day, about 15 miles away, near the predominantly African American
  community of Ravenel, the Ku Klux Klan held a rally. 141

         In 1967, Charleston Senator Charles Gibson introduced a bill to consolidate the
  Charleston County School districts. Debate over this bill dominated the South Carolina
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  Legislature, set off a record filibuster, and divided both the Charleston Legislative
  Delegation and the people in the County. The discussion of the act included issues of
  race, busing of children, and transfer of teachers to different districts. The bill was
  approved 8 June 1967 as Act No. 340. (See the relevant discussion under
  "Policymakers.")

         In 1968 some three thousand protesters participated in the Southern Christian
  Leadership Conference's Poor People's March in Charleston. 142

          On March 17, 1969, racial tensions festering in Charleston erupted in the 1969
  Hospital Strike, described by a major labor historian as "one of the South's most
  disruptive and bitter labor confrontations since the 1930s." 143

          The effect of this history has been one of political alienation for much of the
  African American community. According to historian Walter J. Fraser, when Joseph P.
  Riley ran for mayor of Charleston in 1975, he "hoped to overcome" the alienation from
  government of African Americans and especially to attract those young African
  Americans who "see most vividly the cruel contrast of our dual society." In his first
  mayoral bid Riley told the newspaper, "In the city of Charleston … black people have
  never had a piece of the action." 144

         In the midst of the turbulence of the Civil Rights Movement in Charleston, local
  decision makers, like politicians everywhere, had to have noticed a new phenomenon:
  increases in African American voter registration.

          In 1956 there had been 200 African Americans registered on Johns Island; by
  1960 there were 700, and "voter turn-out was often one hundred percent." Also, in 1956,
  in Ward 11 of the City so many African Americans had registered to vote that a few were
  slated and elected to Democratic Party offices in that ward. 145

          Many African Americans from Charleston County had attended Highlander Folk
  School, and in 1959 Highlander students came to Charleston to work on a voter drive
  before the June 1959 election. They assisted some 1,422 African Americans in
  registering to vote. 146 Charleston Clerk of Court, A. J. Tamsberg, wrote to Charleston
  News and Courier editor, Thomas R. Waring, about the increasing strength of the African
  American vote, "Frankly I doubt the advisability of publishing this information in full,
  thereby making it available to negro leaders. Some of it is quite startling." 147

           Whereas Esau Jenkins had estimated that 5,000 African Americans were
  registered to vote in 1954 in Charleston County, he believed in 1960 there were more
  than 10,000. Jenkins and the NAACP estimated nearly 14,000 in 1964. Jenkins
  announced in the News and Courier March 1965 that "We are hoping to double our
  efforts this time." 148

         During the 1967 mayoral primary, the News and Courier stated, "Mayor J. Palmer
  Gaillard’s slate includes a Negro candidate from Ward 9, a predominantly Negro
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  residential area." 149 The next day, the paper reported that in "Wards 9, 10, 11: 5000 of
  7000 voters are Negroes. Ward 12: Largest in city: 5299 registered voters, about half
  Negro." 150

         This interest and notice of increasing voter registration of African Americans
  accompanied another vivid concern: Bloc Voting. White political leaders were
  concerned about African Americans voting as a bloc, but not of whites doing the same.
  When politicians used the term bloc vote, they were not referring to the white bloc vote.

          In the midst of all this turmoil about civil rights, the white people of Charleston
  were very concerned about the potential voting power of the African American
  community, what the newspaper referred to the “bloc vote.” As early as 1950, the
  Charleston News and Courier cautioned white South Carolinians about the increasing
  strength of the African American bloc vote. One editorial asked if officeholders in South
  Carolina would “henceforth be elected in primaries in which negroes as a bloc shall cast
  the deciding vote?…Shall government in South Carolina in the future be the product of
  election in which the colored voters will have and will exercise the balance of power?"
  The editorial was commenting on a dispatch from William D. Workman, Jr.,
  correspondent of the News and Courier, published a few days earlier on the 1950
  Democratic primary, where Olin Johnston beat Strom Thurmond for the Senatorial
  nomination. Workman had carefully analyzed voting in Columbia's Ward 9, "the
  population of which is overwhelmingly colored," and the home of former Charleston
  African American newspaper editor, John McCray. Workman's in-depth study of
  Columbia’s Ward 9 had to resonate with Charlestonians aware of the predominantly
  African American wards in Charleston. As white Charlestonians were warned by the
  News and Courier, "it is as well to face as certain that the herded or 'bloc' vote of negroes
  will be much larger in future primaries." 151

          When white leaders in Charleston recognized the need to improve the African
  American schools in order to maintain segregation (following the recommendations of
  the Gressette Segregation Committee), NAACP opposition helped defeat the school bond
  referendum in May 1957. In this, the first demonstration of African American political
  power in Charleston since Reconstruction, President Arthur Brown claimed a "moral
  victory for the NAACP." The newspaper reported that the bond issue failed largely
  because of “Negro opposition” as a bloc vote. 152

          In 1959, the Charleston News and Courier, in an article entitled "Bloc Voting,"
  warned that those who instructed African Americans voters to be "bloc conscious"
  disserviced the black community. The paper was referring to the NAACP's distributing
  sample ballots and identifying the lesser of evils among Democratic candidates in the
  primary. 153

         In June 1965 Albert Watson, Republican candidate for Congress, reported that he
  was not looking for Negro support. His political advertisements contended that the
  Democratic Party was “courting minority bloc votes.” 154
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          In 1965, when Herbert Fielding and others formed the Democratic Party's
  Political Action Committee (PAC), they hoped to pull the African American community
  together in political unity. According to historian O'Neill, PAC believed, "By speaking
  with one voice and delivering the 'bloc vote' of African Americans… they could wield
  more influence with the city's white Democratic leadership." 155

          In a 1966 report, The University South Carolina Governmental Review analyzed
  African American voting in the Democratic primary of 1964. One section of the report
  was entitled "Bloc Vote?" The published report explained that in the 1964 presidential
  election some of the predominantly African American precincts voted for President
  Lyndon Johnson "by overwhelming percentages of 80, 90, and even 100 percent.
  Evidence from other sources indicated that as many as 90 to 95 percent of the Negroes in
  South Carolina … voted for President Johnson." 156

          In 1967, one editorial in the Evening Post feared that school consolidation "is
  only the first payment for the bloc vote. They have others up their sleeves.” 157 In the
  legislative debate on the Charleston County School Consolidation Bill, Republican
  Senator Eugene Griffith of Newberry County commented specifically on the Democrats’
  “bloc Negro vote.” 158 And at that time the News and Courier reported, “The Negro vote,
  over 96 percent Democrat, obviously played a major role in the Democrat victories.” 159

          In May of 1968, when an African American challenged Congressman Mendel
  Rivers in the primary, the newspaper wrote, "Republican sympathizers who refrain from
  voting in the Democratic primary might leave the decision to bloc voters." 160 A little
  over a week later, the paper remarked, “The time has not yet come—at least, not in South
  Carolina—when a black man’s candidate has built in advantage.” 161 Commenting that
  Herbert Fielding, the only African American candidate for the House, came in last of the
  fourteen Democratic candidates in the primary, the paper reported that a Democratic
  Party official "pointed out that while Fielding did well in the predominately Negro wards,
  he wasn’t the top vote-getter in some of the larger Negro districts.” The article also noted
  that no Republicans voted in "the 1st Precinct for the city of Charleston’s predominantly
  Negro Ward 9." 162

          After the general election of 1968, the newspaper attributed the Democratic
  victory for state and local candidates in Charleston County to the bloc vote of African
  Americans. 163 Four days later the paper again characterized the African American
  community as bloc voting for Democrats and "pulling the master lever." 164 Following
  the 1968 elections, Republican Party County Chair James Edwards reflected, “We were
  caught in a crossfire created by the bloc vote composed of the minorities of our county on
  one side and the embittered George Wallace supporters on the other.” 165 In January of
  1969, the newspaper editorialized against the renewal of the Voting Rights Act and the
  unfairness of its efforts "to enlarge the number of Negro voters." 166 In May of that year,
  County Republican Party chairman and former councilman Micah Jenkins "denounced
  the 'bloc' vote.” He said that any party “which owes its election to the support of such
  groups cannot best serve the interest of all people.” (Jenkins was on County Council and
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  was chair of the committee that recommended the change from district to at-large when
  the issue was first proposed.) 167

           It was in this context of turbulent racial considerations that the Charleston County
  Council recommended, and the Legislative Delegation changed, the method of election
  from district to at-large. All County Council members and all legislators were white men
  at that time. With this general background of changing racial dynamics in Charleston,
  especially more African American voters and the fear of minority bloc votes, this report
  now looks at the sequence of events leading up to the change from district elections to at-
  large in 1969.

  II. Sequence of Events leading to Act 94, the Change of Method of Election from
  District to At-Large

           Both the general background of race relations as well as these specific events in
  Charleston have impact on political decision-making. At the time when the Charleston
  County Council changed its method of election from a district system to at-large, there
  was a "heightened awareness of race." 168 A review of this sequence leaves no doubt that
  racial considerations were very much in the mind of Council Members and members of
  the Legislative Delegation when the change to at-large elections was proposed in 1967
  and enacted in 1969. Indeed, in the very year that the Charleston Legislative Delegation,
  meeting in Columbia, was proposing the change of method of election of County Council
  to at-large, a state Election Law Study Committee was hearing expert testimony. Under
  the headline, "Professor Says Constitution Anti-Negro," the Columbia State reported on
  Clemson University Political Science Professor Jack E. Tuttle’s explanation that "South
  Carolina’s 1895 constitution was tailor made to prevent Negroes from voting. ….The
  primary purpose of the 1895 constitution is to disfranchise the Negro,” Tuttle testified
  "Everything else is secondary.” 169 Race was very much at the forefront of discussions in
  both Charleston and in the South Carolina General Assembly in 1967.

           The change in Charleston County from a district method of election to an at-large
  system has a complex legislative history. Unlike counties controlled entirely by their
  Legislative Delegation, Charleston was granted a degree of home rule in 1948.
  Charleston was allowed an elected County Council which had some control over local
  affairs, including the power to set their budget. 170 By the early 1960s Charleston County
  Council had eight council members elected under a district system. The city of
  Charleston constituted one district; three residents were elected from that multimember
  district. The area east of the Cooper River comprised a single-member district. Two
  council members were elected by voters from the multimember district west of the
  Ashley River and outside the corporate limits of Charleston. Two council members were
  elected from two single-member districts in the North Charleston area. "One member
  shall be a resident of the area of the county included in St. Philip's and St. Michael's
  Public Service District as constituted on March 16, 1956, and shall be elected by the
  qualified electors residing in that area of the county. One member shall be a resident of
  the remainder of the county lying between the Ashley and the Cooper Rivers and shall be
  elected by the qualified electors residing in that area of the county." 171 In 1963, the state
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  legislature amended the 1962 Act to add an additional member from North Charleston to
  the County Council making a total of nine council members. That third member of the
  North Charleston district as elected from the combined two existing North Charleston
  single-member districts and could live in either district. However, the other two
  members of the North Charleston area continued to be elected from each single-member
  district. 172 The first county councilman elected to that at-large seat within the North
  Charleston "district" was John E. Bourne, Jr.

           The change to at-large elections had its origins in the 1967 session of the General
  Assembly. In 1966, while on County Council, Bourne led a Republican charge that
  captured three of the four Charleston County State Senate seats in the newly apportioned
  Senate. Shortly after taking his seat in the 1967 legislature, Senator Bourne introduced
  Senate Bill S131 to amend Section 14-1162, Code of Laws of South Carolina, 1962, as
  amended, "to provide that members representing a certain area north of the City of
  Charleston shall be elected at large." In the Senate there were no objections; the bill was
  placed on the "Local and Uncontested Senate Calendar," and, after its third reading on 8
  February 1967, it was sent to the House. 173 According to the newspaper, "Bourne said
  the bill would put the North Charleston councilmen on the same basis as those from other
  areas of the county, all of whom run at large." At that time council members ran at-large
  only within their multimember district; the council member from East of the Cooper
  River was elected from a single-member district, and that would not change under
  Bourne’s proposal. 174 On 9 February 1967, the Charleston News and Courier reported
  that "All three Charleston County Council members from the north of the city limits
  henceforth will run at large, if the House approves a bill passed yesterday by the Senate."
  Although the newspaper speaks of "at-large," Bourne's bill intended for the three North
  Charleston council members to run at-large within the district of North Charleston, just as
  three council members ran for election in the multimember district of the City of
  Charleston. 175

          In the meantime, another development, this one for a comprehensive change in
  the method of election, was unfolding in the County Council’s Legislative Study
  Committee. Before Bourne's Bill S131 was even sent to the House, the local newspaper
  indicated that the County Council's Legislative Study Committee (later referred to as the
  Government Study Committee) was considering changes for council, including having all
  County Council members elected at-large throughout the county. The newspaper
  reported on February 6, 1967 that the County Council's Legislative Study Committee,
  "headed by Republican Councilman Micah Jenkins," would soon submit a report to the
  Legislative Delegation asking for more authority and that the Legislative Delegation
  looked favorably on the proposed request. 176 On 8 February the newspaper reported that
  Jenkins's committee would recommend a "strong county manager form of government."
  Under the council committee's proposed plan, Chair of the Committee Jenkins disclosed,
  "Six county councilmen and a chairman nominated by petition would be elected in a non-
  partisan election and would run at large for four year terms." According to the article,
  "Partisan election within districts is currently the rule. The chairman is elected by the
  Council." 177
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           On 12 April 1967, in an article subtitled "Jenkins Proposal to be submitted today,"
  the paper explained that the number of council members would remain at nine, as it was
  presently constituted: "County Council shall be composed of nine members. One
  councilman shall represent East Cooper; City of Charleston, three; North Charleston,
  three; and West Ashley, two. The councilmen all would be at-large delegates."
  According to the newspaper, "The proposal [was] drawn up by Councilman Micah
  Jenkins and his Government Study Committee of County Council." 178 On 13 April in an
  article discussing County Council's meeting with the General Assembly Delegation about
  their proposed request, the newspaper reported that "House members could not agree on
  amendments to a bill earlier introduced in the Senate by Sen. John E. Bourne Jr.
  Bourne’s bill would have council members from North Charleston 'run at large.' Rep.
  LeaMond asked that the bill be amended to have all council members run at large
  throughout the county—one of key items asked for by the council during its appeal to the
  delegation earlier in the morning." 179 On 16 April 1967, The Charleston News and
  Courier editorialized, "the council is now asking that elections be 'at large.' Members still
  would come from the city, the North Area, and the regions west of the Ashley and east of
  the Cooper, but they would be elected in a countywide vote." 180

          Responding to the County Council's request, R. E. Scarborough, Chair of the
  House Delegation, presented an amended bill to the full House, now requiring all council
  members to run at-large with residency requirements and increasing the pay of council
  members. 181 The News and Courier gave the salary issue predominance, but the
  newspaper also warned that "Future candidates for Charleston County Council are likely
  to have to seek votes throughout the county, rather than in their home districts." The
  newspaper reported that the "predominately Democratic Charleston County House
  Delegation tacked an amendment onto a bill by Charleston Republican Sen. John E.
  Bourne Jr. to make it mandatory that council candidates run at large. In his Senate bill,
  Bourne had sought to have only the three councilmen from North Charleston run at large
  instead of by districts. But the Democrats in the House didn’t like Republican Bourne’s
  proposal. Their amendment to his bill makes it mandatory that council candidates run at
  large throughout the county." 182 This amended bill established the at-large election with
  the residency requirements for one representative East of the Cooper River, three from
  the City of Charleston, three from the North Charleston area, and two from west of the
  Ashley River. This was a dramatic alteration. The House amendment of Bourne’s bill
  changed from the idea that the two members who ran from single-member districts in
  North Charleston would run at-large within the North Charleston area (just like the third
  member of that multimember district) to the idea that all members of the County Council
  run at-large in the entire county.

         The amended S131 bill was sent back to the Senate and considered on June 8,
  1967. Senator Bourne recommended that the Bill be referred to the Charleston Senators.
  Then on June 28, the Senate refused "to concur in the amendments proposed by the
  House." 183 On July 5 Representative Scarborough "insisted upon the amendments," and a
  Committee of Conferences was established to work out differences and come up with a
  compromise. 184 According to the News and Courier, “Legislation changing the election
  process for Charleston County Council members goes to a Senate-House conference
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   committee Thursday morning for an effort to reconcile differing provisions. As passed
   by the Senate, all three North Charleston members henceforth would run at large. At
   present, one is an ‘at large’ seat and the other two have a residence restriction. The
   House totally rewrote the bill to make all nine council members run countywide but
   reside in one of the four appropriate districts.” 185

          The Conference Report split, however, with a Majority Report recommending that
   the Senate concur with the House-amended Senate Bill 131. “A six-man conference
   committee of Charleston Senate and House members over-rode the objections of two of
   its members yesterday with a 4-2 favorable vote on a bill that would have all county
   councilmen run at large and get twice as much money.” Bourne, however disagreed; “A
   former member of council from North Charleston, Bourne felt all three councilmen in the
   area should run at large within that district.” He did not approve of the House
   amendment that provided “that all councilmen be elected by all the county voters.”
   Representative Scarborough wanted people to know that the Charleston County Council
   approved of the change. “Scarborough said after the meeting that Jenkins, chairman of
   the committee, again restated that County Council unanimously had approved the pay
   increase and the requirement that they run at-large.” 186

           The House adopted the Majority report. 187 However, the next day the Senate did
   not: “However, both Bourne and Cabell officially will refuse to accept the report today,
   thus killing the bill.” 188

            In the next Legislative Session, an almost identical bill was introduced on 18
   April 1968 as House Bill 2891, "to require members to be elected from the county at
   large, to designate residency requirements and increase compensation for council
   members." After its three readings the bill was sent to the Senate on 24 April. It was
   read for the first time in the Senate on 24 April, was placed on the Local and Uncontested
   Calendar, and received its second reading the next day. 189 On 25 April the paper noted
   the bill "that would have Charleston County Council candidates run at-large" cleared the
   House. On 1 May 1968, the paper reported that the bill "would double council members’
   salaries.…At the same time, the amendment would require anyone now seeking a council
   seat to run at-large, both in the primary and general election." 190

           On 1 May 1968, Republican Senators Cabell, Grice, Worsham, and Bourne made
   amendments about the timing of the bill, moving up its effective date. The newspaper
   reported, "The proposed at-large election of members of Charleston County Council
   would become effective this year under an amendment agreed to yesterday by
   Charleston’s four Republican senators." The paper elaborated on the Senators'
   amendments. "A bill that would require Charleston county councilmen to run for
   election countywide was amended yesterday by Charleston’s four Republican senators,
   but its Senate passage was delayed. Basically the senators’ revision of the House-passed
   bill would require at-large elections in this year’s four council contests. The House bill
   would make the effective date Jan. 1, 1969.…The senators have indicated they don’t
   intend passing the bill, which also includes doubling the salaries of the council members,
   until they learn the fate of their council measure in the House." (The Senate had sent to
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   the House a separate bill strengthening the county management form of government.)
   The article added that the House Delegation had received a telegram from a "Republican
   candidate for council in the city, stating that he endorses the at-large elections this
   year." 191

            On 9 May 1968, the Charleston News and Courier described the bill to change the
   method of election to at-large for county council as "controversial" and "unresolved"; the
   House Delegation "decided to pass over another Senate-amended bill dealing with at-
   large elections for the Council members. The House version of the bill set the effective
   date at Jan. 13, 1969. However the senators would have the at-large elections go into
   effect immediately, which would effect [sic] up-coming elections for four council
   seats." 192 After the third reading on June 27, 1968, amended House Bill 2891 "returned
   to the House with amendments of the Senate." Amendments as to the effective date of
   the bill did not change the method of election and residency requirements, which
   remained the same as the House-amended Bill S131 from 1967. The House did not act
   on the Senate-amended H2891 bill. 193

            Newspaper discussion in 1969 focused more on the salary increase for County
   Council members than on the change from district to at-large elections. For instance, the
   title of the first article to discuss the change was "Charleston County Council Seeks Big
   Salary Increase." Barbara S. Williams, staff reporter for the newspaper, wrote,
   "Charleston County Council members yesterday asked local legislators to more than
   double their salaries and last night agreed to indicate their willingness to run for election
   at-large." Chair of the House Delegation, Representative F. Julian LeaMond, "observed
   that last year the proposed pay raise was tied to a provision that council members run at-
   large." Noting that "the old council was on record as favoring elections at-large for all
   members, the new council was asked for some expression by the legislators." On 7
   January 1969, the County Council voted "seven to one to endorse the at-large elections."
   The lone dissenter was a district representative from North Charleston, Councilman
   Miner W. Crosby. 194

            On 26 January 1969 in her column, "Dimensions," Barbara S. Williams noted that
   the County Council was now twenty-one years old. Representative Joseph P. Riley, Jr.,
   reported for a special legislative committee and suggested that County Council should set
   its own salary. A long article by Williams discussed the salary issue on 5 February and
   only in one sentence under the heading "At-large Elections" was the change of method of
   election mentioned: "The lawmakers also have indicated they are willing to go that high
   if raising the salary ceiling is coupled with a requirement that the members run at-
   large." 195 On 12 February 1969, Williams's column, entitled "Legislators Reach Accord
   on Lifting Salary Ceiling" (and then in smaller letters the subtitle, "At-Large Elections
   Planned for Council"), announced that "While the bill agreed to by the House hasn't yet
   been drafted, it was indicated yesterday that councilmen still would be required to live in
   about the same districts now represented. They would be voted on by all the residents of
   the county, however." House members who supported raising the Council salary ceiling
   imposed by the Legislative Delegation "pointed out that council would be responsible to
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   the same persons who elected the legislators under the stipulation that the members run at
   large." 196

            On 18 February 1969, House Bill 1262 "to provide for election 'at large' in the
   county and to increase council members' compensation" was introduced and referred to
   the Charleston delegation. 197 On 19 February, the newspaper reported that "A proposal
   that would have the effect of giving North Charleston three at-large seats on county
   council will be offered to local legislators here today." Discussing the bill introduced the
   previous day, the reporter explained that it "would put all council elections on a county-
   wide basis. That bill retains the current residency requirements, but allows all Charleston
   County residents to vote on all members of council. An amendment will be presented to
   the bill in a legislative delegation meeting today that would remove the district residency
   requirements within North Charleston and allow any resident in that area to run for any of
   the three allotted seats." As reported, "The existing law provides that councilmen live in
   a specified area and be elected by the residents of that area. The countywide election bill
   for council introduced yesterday retains the other district residency requirements.…All
   would be voted on by all residents of the county." 198

           House Bill 1262 received a second reading on 20 February 1969, and the
   Delegation proposed and adopted an amendment to alter the wording "by striking the
   three sentences beginning with 'one' on line eight and ending with 'Rivers' on line fifteen
   and inserting "Three members shall be residents of the area of the county between the
   Ashley and the Cooper Rivers not included in the City of Charleston." This wording for
   House Bill 1262 is basically the same as the 1968 House Bill 2891 and the 1967
   amended Senate Bill 131 and is identical to the previous bills in the method of election
   and areas of residency requirements. 199

           After a third reading in the House, the bill was sent to the Senate on 21 February
   1969, was read for the first time on 25 February, and placed on the Local and
   Uncontested Calendar. 200 Then Senator Robert B. Scarborough asked the Senate to
   adjourn debate on the bill until he could read the House amendments. According to the
   News and Courier, "The amendment would have the effect of giving North Charleston
   three at-large seats on council. It removes the boundaries and allows anyone within the
   area to run for any of three seats designated for that section." 201 Apparently Senator
   Scarborough was satisfied with the amendment, especially since it was basically the same
   as the bill he had supported and sponsored the previous two legislative years as a
   Representative. The bill passed on March 5, the title changed to Act 94, and on March
   18, 1969 was so entered. This change in the method of election and the areas of
   residency requirement was the culmination of a process that had begun in 1967 with the
   recommendation of Micah Jenkins's county council committee and with John Bourne’s
   Senate Bill S131 as amended by the House. 202

   Motivation for Change of Election:

           Ordinarily when incumbent members of a governing body propose a change of
   election from the method from which they themselves were successfully elected, they
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   provide a reason. In this case, in April 1967 when the County Council members
   recommended to the Legislative Delegation that they change the method of election for
   County Council from district to at-large, they did not provide an explanation. A question
   we need to ask is why the County Council proposed in 1967 to change from a district to
   an at-large method of election. In my own research and the research of other historians
   writing about a change from district to at-large elections, there are four commonly
   offered explanations for such a change. 203

            First, proponents often argue that the move to at-large elections was motivated by
   a desire for good government. Second, an at-large system was perhaps selected because
   it was politically advantageous to participants, that is, a change from a district system to
   an at-large election system gave a partisan advantage. Third, the county might argue it
   had to adopt an at-large system to satisfy the one-person, one-vote principle. Fourth, and
   finally, given the timing and sequence of events, one might expect racial vote dilution to
   be a part of the motivation, as it was in other jurisdictions that went to at-large systems of
   election at that time.

          First of all, in all my research in contemporary journals, newspapers, minutes of
   the Legislative Delegation, and minutes of the County Council, I found not a single
   reference by either a member of the County Council or the Legislative Delegation
   making the argument for at-large elections as a good government reform. Generally,
   decision makers who promote "good government" as an argument will state that the
   change from district to at-large promotes the election of a better candidate who has a
   broader view of the whole, and responsive to the interests of the county as a whole, rather
   than a merely parochial candidate who is elected by a specific district.

            To the contrary, two Council members presented persuasive arguments for
   districts. Regarding district elections, Council member J. Mitchell Graham, long-time
   chair, explained in December of 1965 that Charlestonians liked districts. The existing
   election plan gave Charlestonians "the guarantee of representation from their own
   districts as the council members are elected from representative areas from the
   county." 204 In 1967 John Bourne also liked districts. Remarking that he “studied at great
   length the advantages and disadvantages of county councilmen running county-wide,” he
   stated his conclusion for the newspaper: “many good and capable men who would like to
   serve in county government would be precluded because of the expense, time and work
   involved in a county-wide race. It is my opinion, having served on County Council, that
   all councilmen feel a responsibility to all county affairs and are not sectional or biased in
   their opinions concerning county-wide government.” Thus, Bourne’s good government
   argument was for districts. 205 No council member nor legislator at the time offered a
   differing opinion. With no evidence to support this good government justification for a
   change, I discount it.

           Second, one might hypothesize a partisan advantage in at-large elections. In this
   case, however, no partisan advantage was present. Neither Republicans nor Democrats in
   the County Council or the Legislative Delegation offered any partisan political
   justifications for the change. The struggle for party power between Democrats and
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   Republicans did not affect the change to at-large elections in 1967-69; indeed, the
   Charleston Republicans controlled the Senate Delegation, the Democrats the House
   Delegation, and both were elected from a multimember district system. Since both
   Democrats and Republicans wanted at-large elections, party advantage was not a reason
   for the change. On 3 May 1968, reporter Barbara S. Williams wrote, "The response from
   the [County Council] candidates on whether they would be willing to run on an at-large
   basis this year, had no apparent relationship to party affiliation. Both Democrats and
   Republicans favor the idea, and candidates from both parties also expressed
   opposition." 206

            The third possible rationale for changing to at-large elections in the 1960s was the
   idea that it was necessary to satisfy the one-person, one-vote principle resulting from
   Reynolds v. Sims court ruling in 1964. 207 As early as 1966 some jurisdictions in the
   South were going to at-large elections citing the one-person, one-vote ruling as their
   justification. However, the explanation that the move to an at-large council system was
   mandated by the one-person, one-vote ruling does not hold up. When the defendants in
   Smith v. Paris in 1966 in Alabama claimed that the purpose of the at-large election
   resolution was to comply with the one-person, one-vote principle, Judge Frank Johnson
   dismissed the excuse as "nothing more than a sham," observing that the jurisdiction kept
   the same malapportioned districts as residency requirements for candidates in the at-large
   system that replaced the district system, rather than adjusting "the population disparities
   between the beats [districts] themselves” while retaining the traditional district system. 208

           In Charleston also this reasoning seems to be a sham. When the change to at-
   large was first proposed in 1967 by the County Council and debated in the legislature as
   House-amended Senate Bill S131, neither council members nor legislators mentioned
   that the change had anything to do with one-person, one-vote. Since the one-person, one-
   vote explanation was not invoked until nearly a year later, it appears somewhat
   disingenuous to claim it as the rationale. When the newspaper explained on 25 April
   1968, "The county Council bill was re-introduced this year in view of the recent U.S.
   Supreme Court decision that applies the one-man, one-vote rule to local governments," 209
   it was the very first time that it mentioned the one-person, one-vote issue in relationship
   to the proposed change. But the change from district to at-large election system for the
   Charleston County Council was the same bill introduced in 1967 without any such
   connection to one-person, one-vote.

            On 1 May 1968, the paper reported that "The House passed bill was revived here
   recently in view of the U.S. Supreme Court decision applying the one-man, one-vote rule
   to local governments. Rep. R. B. Scarborough said he believed the council’s legality
   could be questioned unless the members were elected at large. However, the House bill
   on the at-large elections would delay the effective date until Jan. 1, 1969." 210 Two days
   later, the paper explained, “Several of the council candidates questioned the wisdom or
   necessity for the county-wide races. In the past, the nine-member council has been
   elected on a district basis." In response, House Delegation chairman Robert B.
   Scarborough and Senate Delegation chairman Nat W. Cabell said that "they don't believe
   the court decision leaves any choice in the matter." 211 But the truth is that they knew
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   otherwise because of a clarification they received from the State’s Attorney General in a
   letter dated 15 April 1968.

           In 1968, after the Supreme Court held that one-person, one-vote explicitly applied
   to local government in Avery v. Midland County, 212 Chair of the Charleston House
   Delegation, Robert B. Scarborough, sent a letter of inquiry on 11 April 1968 to the South
   Carolina Attorney General, Daniel R. McLeod. Scarborough included a copy of the
   proposed 1968 House Bill 2891 (which was identical to the 1967 Amended Senate Bill
   131 and basically identical to the 1969 House Bill 1262 that became law). Scarborough
   wrote that "Because of the recent Supreme Court's decision concerning County
   Government in Texas," the House Delegation was "concerned with the legality of
   Charleston County Council," composed of nine councilmen from four districts. He
   requested an opinion on the at-large system proposed for the 1968 session and asked for
   "your thoughts as to the constitutionality of the make up of County Council if the
   enclosed or similar type of Bill is not enacted."

            In his response letter of 15 April 1968, Attorney General Daniel R. McLeod made
   several points. One, that at-large elections solved the one-person, one-vote rule. Second,
   that even with at-large elections, residency districts could be malapportioned. Third, that
   district elections were also a legal alternative if they were to meet acceptable tolerance
   standards. McLeod elaborated, "I would assume that greater tolerance would be
   permitted in county council representation than is permitted in the case of the State
   Legislature or in Congressional districts; but, in any event, there must be some
   reasonably corresponding relationship between the number of person in each district." 213
   In short, the South Carolina Attorney General determined, and so advised Scarborough,
   that Reynolds v. Sims and/or Avery vs. Midland County did not require at-large elections.

           Again in 1969, Chair of the House Delegation, Representative F. Julian LeaMond,
   noted that, “as a result of recent court decisions, council is ‘walking a tight rope before
   someone attacks” the manner in which the members are elected. In early January 1969,
   Councilman John P. O'Keefe made a motion that "if the delegation feels it is
   Constitutional and necessary," that the council would agree to at-large elections. 214

           At this same meeting, however, Representative Joseph P. Riley, Jr., informed the
   County Council and the Legislative Delegation that the county council did not have to
   change from a district to an at-large election method because of the one-person, one-vote
   principle. It is very important to note a statement in the 8 January News and Courier.
   "Rep. Joseph P. Riley, Jr., suggested that members could either all run at-large or the
   body could be reapportioned every 10 years." 215

           From Riley's statement, County Council knew that they could keep districts as
   long as they reapportioned correctly. And, the Legislation Delegation had the letter from
   South Carolina Attorney General McLeod, explained above, that the one-person, one-
   vote rule did not mean district elections were no longer allowed.
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            Likewise, the newspaper preferred to ignore that district elections were allowed as
   long as districts were apportioned correctly. In February 1969, Barbara Williams wrote
   about the proposed salary increase, "Council members, according to a recent court
   decision are going to have to run at-large," and that the legislative delegation believed
   that if council members "are going to have to run county-wide, an increase certainly
   would be warranted." 216

           Not long after this, political leaders in Charleston County, wanting to consolidate
   county and city government, chose a district method of election in a mixed plan with
   some at-large seats. In early November 1969, the Charleston County Charter Commission
   proposed twelve equal population "councilmanic" districts and three at-large seats. The
   newspaper reported that "The charter would require that within six months of each
   official federal or state census council would have to be reapportioned on the basis of
   population." 217 So, to merge city and county government, political leaders were willing
   to consider a district method of election and finally did recommend a district election
   method for the 1974 referendum on county and city consolidation. 218 Clearly, if they
   really thought the one-person, one-vote ruling gave them no choice in moving to an at-
   large method of election for county council, then it is difficult to explain why they
   immediately proposed districts in order to get consolidation. 219 That the County was
   willing to go to district elections to get consolidated county government is further
   evidence that the one-person, one-vote was not a true reason.

           The evidence at the time contradicts the claims that the county had to adopt at-
   large elections to satisfy the one-person, one-vote ruling. To reiterate, in 1967 when the
   County Council first recommended the change from district to at-large elections, and
   again in 1967, when the at-large system was introduced as amended Senate Bill 131, not
   one mention was made of the one-person, one-vote concern. The one-person, one-vote
   principle served as an excuse, not a valid reason. Other forces were at work in 1967-69
   in Charleston County.

            By dismissing these three arguments as fallacious and disingenuous, we are left
   with the reasoning that the at-large system was adopted for discriminatory purposes. This
   is the only reasonable explanation that fits the evidence for the shift from district to at-
   large elections in Charleston County. In addition to fitting the evidence, this explanation
   fits the totality of circumstances, that is the history of discrimination in Charleston and in
   South Carolina.

           First, the at-large plan adopted was effective in diluting the increasingly large
   African American vote for members of the Charleston County Council because the
   preferred candidate of the African American community would usually have to run head-
   on against a white candidate supported by the white community, which was in the
   numerical majority. Staggered terms increased the problem for an African American
   candidate. In addition, as opposed to the first plan proposed by Micah Jenkins, Chair of
   County Council's Legislative Study Committee, as revealed to the press on 8 February
   1967, these elections were partisan. This meant more time and more money for
   candidates who had to campaign twice, for the primary and for the general election.
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   Moreover, if a candidate did not receive a majority of the votes in the primary, a runoff
   election was required.

           At this time, the full slate law was still in effect, though there was discussion of
   repealing this dilution-enhancing device. A newspaper report on the full slate law in
   January 1969 quoted African American leader Bernard Fielding, “the law makes it
   virtually impossible for any minority member to be elected.” 220 By calling attention to
   the discriminatory effects of the full slate law, Fielding was also calling into question the
   dilutive effects of at-large elections. The paper elaborated some weeks later that "Some
   Negroes take the position a member of their race would have little or no chance in a
   head-on race against a white opponent." 221 And then, less than two weeks later, the paper
   explicitly linked the at-large elections with the full-slate law: "During a discussion in a
   State Election Law Study Committee meeting yesterday, a member of the legislative
   council said the full-slate law would apply to countywide council races." 222

           Furthermore, because Charleston County is large, a hundred miles in length, with
   rivers separating some of the residential areas, it is difficult to campaign throughout the
   entire county. African Americans are generally not as high on the socio-economic scale
   as whites in Charleston County, and the expenses of an at-large campaign are staggering,
   many times as expensive as a district election, where a candidate can win by expended
   time and effort canvassing door-to-door. Moreover, the centers of significant financial
   resources in Charleston are disproportionately controlled by whites.

   Racial Bloc Voting:
           The problem with at-large elections is the accompanying presence of racial bloc
   voting. When whites have a majority of the voting-age population, and if whites
   deliberately vote against candidates from the African American community, as whites did
   in Charleston County, then they can prevent African Americans from winning office by
   using an at-large method of election. The dilutive effects of at-large voting are enhanced
   by the use of staggered terms, such as in Charleston County, and of the full-slate law that
   was in effect in South Carolina at the time. If voting is racially polarized, then at-large
   elections prevent minorities from electing candidates of their choice.

           Responding to white charges of African American bloc voting in 1951, NAACP
   President A. J. Clement protested, "We do not like bloc-voting, but you have taught us
   many of its advantages. You have used it for 50 years against us….You voted for all of
   your political candidates as a solid bloc on a platform of racism… you put men into
   office and statutes on the books that make me go in side doors, sit in galleries, ride in the
   rear of buses." 223

           In 1990-91, while serving as an expert witness in a Charleston County school
   board case, I analyzed elections in Charleston County, South Carolina. I have also
   studied analyses of elections in Charleston County by Dr. James Loewen, by Dr. John C.
   Ruoff, and by Dr. Harold Stanley. All of these statistical analyses demonstrate that racial
   polarization was the dominant trend in elections when a white candidate opposed an
   African American. Moreover, in 1974 when the Department of Justice objected to the
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   "racially motivated annexations" to the City of Charleston, it cited the dilutive effect of
   the city's at-large election system "with the readily apparent pattern of racial bloc voting
   in Charleston." 224 Again in 1975, the Justice Department objected to the first three plans
   submitted by the city "on grounds of a potential unnecessary vote dilution of minority
   votes through their at-large feature, which in the context of Charleston's history of racial
   bloc voting," was detrimental to African Americans electing candidates of their choice. 225
   In 1974 the Justice Department objected to a mixed plan for the Charleston County
   Council with the merger of city and county government. According to the Justice
   Department objection, "there is a cognizable racial minority and a history of voting along
   racial lines." The Justice Department recommended that "methods of election such as
   those proposed here have an impermissible dilutive effect on black voting strength if, as
   is also apparent here, available alternative methods of election such as single-member
   districting would allow a fair opportunity for the election of representatives directly
   responsive to the needs of the minority population." 226

   III. Anticipated or foreseen effect of the change on minority citizens

            During this time period members of the County Council and the Legislative
   Delegation were astute and savvy politicians. They understood the electoral procedures
   under which they ran and knew the probable electoral impact of a change from district to
   at-large elections. When changing the elective system, Charleston County might have
   adopted a single-member district or mixed plan, had it not considered the racial
   implications. Charleston County political leaders knew that a single-member district
   system raised a genuine threat of African Americans winning seats on the county
   governing body because the Charleston News and Courier reported on the growing
   strength of the African American vote. Furthermore, historians and political scientists
   had for some time adopted the view that at-large elections dilute minority votes. Charles
   A. Beard, for example, as early as 1912 in his classic American City Government, argued
   that at-large elections "substantially exclude minority representation." 227 This view was
   common in standard textbooks of the 1960s, and scholars had communicated that at-large
   elections diluted minority representation to city and county officials through the National
   Civic Review. 228 And even before House Bill 1262 was introduced in 1969, the
   Charleston News and Courier carried an article that specifically denoted that at-large
   elections are a discriminatory device. When Congressman William M. McCulluch,
   Republican from Ohio, introduced a bill in the U.S. Congress to extend the Voting Rights
   Act of 1965, he noted that for those who opposed African American voting, “A whole
   arsenal of racist weapons has been perfected.” The paper continued, "He listed among
   those weapons gerrymandering, consolidation of counties, at-large elections [my
   emphasis], full-slate voting, increased filing fees, and physical and economic
   intimidation.” 229

           The idea that an at-large system minimizes the electoral chances of minority
   candidates, as compared with a single-member district plan, was commonplace in the
   1960s. The men on County Council and the Legislative Delegation had to have been
   familiar with the City of Charleston’s change in 1954 from districts to at-large elections
   following the elimination of the white primary and increasing African American voter
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   registration. African Americans were then urging representation on city council. That
   year, the same year as the Brown decision, the City Council of Charleston changed from
   a single-member district to an at-large election system, and, according to African
   American leader Herbert Fielding, this change was in response to black candidates and
   the increasing African American black registration in certain city wards. 230 Historian
   Walter J. Fraser, Jr. analyzed the move to at-large elections for the city council. "As in
   other urban areas of the state, the number of aldermen were reduced and Charleston's
   twenty-four City Councilmen were cut to twelve at-large aldermen. This was important
   for keeping the Broad Street power establishment in power in view of the continuing
   white flight to the suburbs, and the increasing political assertiveness of a black population
   approaching 50 percent in the city. At-large aldermen represented the various city wards,
   but did not necessarily have to reside in those wards. Henceforth the mayor could hand-
   pick his slate of candidates and if half lived below Broad Street and none came from the
   primarily black wards of the city, this was perfectly legal." 231 According to historian
   Millicent Brown, the change for the city to at-large elections diminished "the likelihood
   that the four heavily black city wards (#9, #10, #11, and #12) could elect candidates to
   the city council unless they were endorsed by the white majority. The restructured
   system was implemented just as black voter awareness and participation had
   increased." 232

           According to Political Scientist Everett Carll Ladd, Jr., when he was in South
   Carolina in 1963 researching his book, Negro Political Leadership in the South, "At the
   time of my work the question of single member districts versus multiple member districts
   came up repeatedly. It was a very salient issue in terms of black political participation."
   Ladd elaborated, "These basic facts all came together in the research that I did in
   discussions with black and white leaders in both North and South Carolina. It was
   generally acknowledged that blacks had a far greater opportunity to secure equitable
   representation in either municipal council seats, on the one hand, or legislative seats, on
   the other, if one operated with a vehicle of single member districts….Indeed, there were
   concrete instances when the franchise was extended to blacks in the urban south in the
   1940's and 1950's, of cities that elected their representatives – their councilmen, rather –
   on the basis of a ward or single element district system previously going to an at large
   system for the precise purpose of diluting black votes, preventing the election of black
   candidates." 233

            Along these same lines in Charleston County, when African American voting
   strength increased, the school board of trustees changed from elected to appointed
   positions in the predominantly African American school districts. Esau Jenkins, who ran
   for school trustee on Johns Island in 1956 soon after returning from Highlander Folk
   School in the mid-1950s, came in third of four candidates. Jenkins explained that "The
   reason why I ran is because I wanted the Negroes to know that it is their privilege to go
   into any office they're qualified to hold. They are taxpayers and they have just as much
   right to run for public office as the white persons. I ran because some Negroes thought
   that if a Negro name ever was placed on a voting machine, that person would be killed.”
   Jenkins actually finished ahead of one white man, and, apparently in reaction to Jenkins's
   unexpected showing, white policy makers decided to change the school board from
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   elected to appointed so there would be no similar challenges. Referring to his able
   campaign, Jenkins summarized, "That scared some of the white folks here, and the man
   who is on the county council decided that they would change voting for trustees on the
   school board. They would have it be appointed because Johns Island strength was
   growing too much." Esau Jenkins's analysis was right on target; in 1956, the South
   Carolina General Assembly upon recommendation of the Charleston Legislative
   Delegation abolished elected school trustees and made the trustees appointed in St. John's
   District No. 9 and also in another predominantly African American school district No. 23,
   St. Paul's. 234

           The 1965 Voting Rights Act, and South Carolina's failed attempt to block the Act,
   put white Charlestonians on notice that the black vote will be counted. In response to the
   Voting Rights Act, a number of counties in South Carolina (such as Sumter, Edgefield,
   Colleton, Horry, Chester) opted for an at-large elected system to dilute the effect of the
   black vote (These were struck down in the 1980s through litigation because vote dilution
   violated the Voting Rights Act). 235 Like these other South Carolina counties, the change
   in the method of election to the Charleston County Council was enacted when African
   Americans registration was increasing after the 1965 Voting Rights Act and when
   African Americans were gaining significant political strength and influence. In
   Charleston County the 1960 Voting Age population was 77,909 whites and 35,499
   nonwhites. Pre-Voting Rights registration was 50,310 for whites (64.6 percent of eligible
   whites ) and 13,976 for nonwhites (39.4 percent of eligible nonwhite voters). 236 In 1967
   registration was 54,648 for whites (70.1 percent of eligible whites) and 17,991 for
   nonwhites (50.7 percent of eligible nonwhite voters). 237 This was the year the County
   Council proposed to change the method of election to at-large from district.

           The population figures for the City of Charleston itself, from which all eligible
   voters cast ballots on all three County Council seats, are instructive. In 1950, Charleston,
   with 70,174 citizens, was 56 percent (39,287) white. 238 By 1960, with 65,925 residents,
   the city had become 51percent (33,612) non-white. 239 By 1970, the City of Charleston
   had 66,945 denizens, 45.4 percent non-white (36,576 white and 30,369 non-white, of
   which 30,251 were African American) 240 Thus, without the annexation of largely white
   areas, the city would have had an even higher concentration of African Americans in
   1970 than it did in 1960. However, the new mayor in 1960, J. Palmer Gaillard, had
   promised change. According to historian Stephen O'Neill, "the change Gaillard promised
   was intended to preserve white electoral power in the city." Annexation preoccupied the
   first months of Mayor Gaillard's administration as he brought into the city white areas
   west of the Ashley River. "By the end of 1960, these first additions to Charleston in 111
   years had added 12,521 people to the city, nearly everyone white." Working with the
   Mayor, Harold Petit, a founder of Charleston's Citizens' Councils, headed suburban
   residents who worked for Mayor Gaillard's annexation plan. The News and Courier went
   beyond the usual code words to warn that if whites from other areas were not annexed,
   “greater Charleston is headed for serious trouble….They know the College of Charleston
   could become dominated by votes of slum dwellers if suburban people don't join the
   city." Thus, according to O'Neill, "Gaillard's successful dilution of the black vote"
   impeded African American political advances. 241
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           Historian Walter J. Fraser, Jr. concurs in O'Neill's analysis. From 1959 to 1969,
   Gaillard tripled the size of the city from 5 to 18 square miles "through mergers and
   annexations that encompassed the burgeoning suburbs and growing shopping malls west
   of the Ashley River. Already populated by white ethnic groups who had left the city for
   the countryside years before, the area was adding people daily who were new to the
   region and employed in the expanding north area. Through such an annexation program
   Gaillard added thousands of white voters loyal to the city administration – thereby
   diminishing the effect of black voters in municipal elections – while he 'packed' the City
   Council with friendly black aldermen under the at-large system." 242 In 1974, the U.S.
   Department of Justice found that City of Charleston's annexations were "racially
   motivated” because they “changed the majority population of the city from black to
   white." This Justice Department objection led to the city's 1975 change of method of
   election from at-large to single-member districts and the election of a number of African
   American candidates to the City Council. 243

            There is no doubt that policy makers were conscious of the importance of the
   African American vote and knew that its concentration in certain areas would be
   especially influential if district elections were used. In the same legislative session where
   Senator Bourne introduced Senate Bill 131, and where the House amended the bill so that
   all council persons run at-large in the county, the controversial Charleston school
   consolidation bill set off a filibuster, and the debate included a number of references to
   the increased strength and influence of the African American vote. Also during this same
   1967 session, there arose a concern over where to place the black majority Williamsburg
   County with the realignment of senate districts with mandated one-person, one-vote
   reapportionment. According to Government Affairs Editor of the Columbia State, Philip
   G. Grose, this was “racially tinged." According to Grose, those supporting the move of
   Williamsburg, "reportedly feared a Williamsburg-Clarendon-Sumter combination would
   result in a Negro voting majority in the district." 244 According to State reporter Paul
   Clancy, the legislators from different counties explained that they did not want
   Williamsburg as part of their Senatorial district because they "have no community of
   interests." But these were code words cloaking a racial purpose; "one of the reasons not
   given but strongly implied is fear of the county's predominantly Negro population at
   election time." 245 Thus, the legislative session where the House Delegation amended
   Senator's Bourne bill so that County Council would be elected at-large was a session
   where legislators were concerned about aligning a black majority county so that the
   African American vote would be diluted.

           Changes in voting patterns for local offices would also have been noticed. It
   could not have escaped John E. Bourne's attention that in the 1966 election in which he
   won the State Senate race as a Republican, that Miner Crosby, a Democrat, beat
   Republican Roberts for one of the district seats in North Charleston for the County
   Council. Crosby’s opponent won two of the three wards that voted in the district, but lost
   by enough votes in the one ward with a substantial African American population that he
   lost to Crosby. 246 This would certainly help to explain Bourne's Senate Bill S131 to
   make the other two single-member district elections in the North Charleston area voted
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   on by all the members of the North Charleston area. The North Charleston area was
   predominantly white and was becoming even more so. North Charleston had the one
   Council seat that was voted on by all residents, which Bourne had won in 1964, and now
   Bourne wanted to change the method of election so that it would be similar to the City of
   Charleston where all voters in the city of Charleston voted for all three council members,
   thereby diluting the heavily black wards. Savvy politicians could have foreseen that
   Micah Jenkins would lose his district race in his bid for re-election in 1968. He lost by
   290 votes, and his district contained heavily black areas like Johns Island. 247

           With the high proportion of the peninsula city's population now African
   American, the likelihood looked promising that African Americans would capture at least
   one of the seats on the Charleston County Council under the multimember district plan.
   Moreover, as shown, the newspapers emphasized the African American growing political
   strength and influence. It is implausible to think that the decision makers in 1967-1969
   did not know the implications of the increasing number of black voters, particularly how
   the increasing segregation patterns in the city and county concentrated African
   Americans into natural constituent voting districts.

           Ironically, in the first election after the method of election was changed to at-
   large, the first African American, Lonnie Hamilton, III, was elected to the Charleston
   County Council. This was not an unusual occurrence in the South at this time. At the
   same time that recognition of the growing impact of the African American vote
   motivated elected bodies to go to at-large elections, the increased influence of African
   American voters meant that Southern governing bodies were becoming more willing to
   appoint or slate an African American for election. Since African Americans were voting
   primarily for Democrats, and since the Republican Party was growing in Charleston, the
   leaders of the Democratic Party found themselves in something of a dilemma after they
   recognized that 1965 Voting Rights Act was going to be enforced.

           In his 1972 deposition, Dr. Everett Carll Ladd, Jr., when asked why some African
   Americans were elected from at-large systems, helped to clarify the particular situation of
   the Democratic Party in Charleston. Ladd explained that one reason "might be that a
   political party wished to secure black votes and made some concessions in order to secure
   them. Now if you have a situation of strong antipathy between blacks and whites where
   whites are likely to punish a party if it goes too far in courting black votes, well
   presumably in that context the political party is going to give just as little as it possibly
   can out of its self interest in order to get black votes, on the one hand, but not turn off, or
   turn away, white voters." 248 And, in 1967, Democratic Governor Robert McNair
   announced his intention of appointing African Americans both to state-wide office and to
   local draft boards; 249 thus, as shown earlier, the Charleston Legislative Delegation had
   recommended the appointment of an African American to the school board for District
   20, and the only African American member of a draft board in South Carolina in 1967
   was from Charleston. 250 In a 1972 deposition, former chair of the Charleston Democratic
   Party (March 1968-October 1971) Dr. Gordon Stine was asked whether there were “still
   numbers of white voters who are reluctant to vote for black candidates in Charleston
   County," he responded, "I would have to say I think so, probably because of the nature of
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   the individual." Attorney Armand Derfner had Dr. Stine read an article, "GOP 'Negative
   leadership' Is Rapped By Stine"' written by Barbara S. Williams after the 1970 general
   election. Derfner read, "While the white community as a whole felt it was time to have
   black representation, many, Stine said, felt there only should be one and Fielding was
   better-known." Stine acknowledged that basically this was "an accurate summary" of
   what he told Williams.251

           Partisan politics influenced the vote, but did not change the racial polarization,
   and politicians had to balance between the races. The 1967 slating process of African
   American St. Julian F. Divine for black ward 9 in the City by Mayor Palmer Gaillard's
   machine is illustrative of the problems white Democrats faced with the increasing black
   voter registration. The Committee of 100 (see above) ran three of their own candidates in
   wards with the highest black registration in the primary, including one challenging St.
   Julian Divine. The paper reported that those "three wards that have the largest percentage
   of Negro voters" expected the heaviest voter turnout. The racial atmosphere was tense.
   The Committee of 100 sent merchants a circular encouraging them to vote for their
   candidates. In direct reference to the earlier protests of the Charleston Civil Rights
   Movement, especially the traumatic riot of 1963, they claimed Mayor Gaillard used
   police and force after riots started. "Would you prefer to negotiate with respected Negro
   leaders to stop the trouble before it starts? Thereby preventing destruction of your
   homes, the killing of your loved ones and the destruction and utter ruin of your
   business?" According to the News and Courier, this was interpreted by some merchants
   as "injecting racially oriented riots and their control into the primary." Despite some
   organized African American opposition to St. Julian Divine, Divine won in this at-large
   election because he was on the Gaillard slate. 252

            Thus in 1970, in the first at-large election to Charleston County Council,
   Democratic policy makers slated popular high school teacher Lonnie Hamilton, III, to
   represent North Charleston. The eight-year veteran of the Charleston County Council,
   Miner W. Crosby, the only member to vote against changing the method of election from
   district to at-large, lost in the primary to Hamilton. According to the News and Courier,
   Crosby "blamed Democratic party bosses for his defeat." 253 Hamilton believes that he
   was able to win because Congressman Mendell Rivers, who was a noted segregationist
   Democratic Party leader, placed his hand on Hamilton's shoulder during a campaign rally
   at the auditorium and told people he was supporting Hamilton and they should vote for
   him. 254 In a deposition in 1990, attorney Robert N. Rosen asked Hamilton, "Did you
   have the support of any of the political figures in the community? I mean, for example,
   did Gedney Howe go out of his way to support you in the primary or – " Hamilton
   answered, "They all – yeah, I got the support to [sic] the political figures at the time."
   Throughout his deposition Hamilton stressed the uniqueness of his situation in 1970 and
   in subsequent elections. In 1970, he explained, "I happened to have had all of the
   elements then of satisfying things that – those kinds of qualities that people were looking
   for at the time. It will probably never happen again in the history probably of the
   county." 255 Hamilton also testified to the continuing importance of race in elections in
   Charleston. When asked if "racism played any role in any of your elections," Hamilton
   responded, "Racism was there, but the thing that helped me with the racism was the fact
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   that I had – I had been working with these same racist people's children." He then gave
   an example, a "white man came up to me and told me that he didn't like me, and, you
   know, he called me the favorite word, but that he'd never lie to his daughter and he'd
   promised his daughter that he would vote for me." Hamilton believed that some white
   Charlestonians would not vote for a black candidate and some African Americans would
   not vote for a white. 256 Thus, Lonnie Hamilton confirmed political scientist Dr Everett
   Carll Ladd, Jr.'s theories as the situation in Charleston County.

   IV. Views Expressed by Policymakers on Related Issues

            This section of the report will examine some of the viewpoints of politicians
   involved in setting up the at-large elections: Micah Jenkins, John E. Bourne, Jr., Nathan
   Cabell, and George Grice, all members of the County Council or of the Charleston
   Legislative Delegation. As noted by Charleston NAACP leader J. Arthur Brown in 1964,
   "the local power structure can and does set the stage for whatever happens." 257 I will also
   look at the school consolidation bill because the same Legislative Delegation enacted that
   bill also, and the views of the decision-makers, as expressed on this related issue, are
   relevant in showing that discriminatory purpose was a motivating factor.

   Micah Jenkins
           In 1967, when the County Council's Legislative (sometimes called Government
   Study) Committee proposed the shift to at-large elections, that committee was chaired by
   Republican Micah Jenkins who had led the white citizens’ council movement in
   Charleston and South Carolina in the mid-1950s. 258 In 1956, an article in the News and
   Courier discussed Jenkins’ involvement in white organizations opposed to integration,
   "He was chairman of the States Right League which later became the Citizens Council."
   According to another 1956 newspaper article, Jenkins was leader of "a third party
   movement in South Carolina by serving as state chairman of the Federation of
   Constitutional Government." 259 Furthermore, Jenkins was described as a major player in
   white supremacist groups in Charleston, South Carolina, and in the South by historians;
   one historian notes that Jenkins was among the Citizenship Council "notables serving on
   either the executive board or the advisory board" of the Federation for Constitutional
   Government, which was a "'national' coordinating organization for white resistance
   groups." 260 In addition, as the chair of the Religious Affairs Committee of the Charleston
   Grass Roots League, Jenkins prepared Bulletin No. 3 accusing the National Council of
   Churches of supporting "the Supreme Court's left-wing segregation ruling." 261 One
   historian described the purpose of the Citizens’ Councils as the same as "other white
   supremacy groups….Its members wear business suits instead of bedsheets," a description
   echoed in the deposition of former Charleston State Senator Charles Gibson. When
   asked about the Citizens’ Council of Greater Charleston of 1967, Gibson replied, "I know
   generally citizens councils around the south were … I always considered they were
   members of Klan and has (sic) suits on instead of sheets." 262

   John E. Bourne, Jr.
          It was Senator John E. Bourne of North Charleston who introduced Senate Bill
   S131 that would have had all three members of the County Council from the North
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   Charleston area run at-large within the North Charleston multimember district in 1967.
   In 1967 also, Senator John E. Bourne pushed for passage of a Republican bill that would
   have required all voters to reregister before the 1968 primary or general elections.
   According to press accounts, the Republicans were making a "stubborn fight to trim
   Negro strength in 1968 elections." As the newspaper reported, "Sen. John E. Bourne Jr.
   of Charleston was even more specific in spelling out GOP fears that adoption of the
   amendment would keep thousands of illiterate Negroes on the rolls to vote Democratic
   next year." In opposing a Democratic amendment to postpone implementation of
   reregistration until after the fall elections, Bourne protested, "If we pass this amendment
   it seems to me we will be slapping the federal registrars on the back and saying, 'We were
   glad to have you. You did a good job.'" 263 Also, in 1967, as the designated "workhorse"
   of the 31-hour Republican filibuster against the School Consolidation bill introduced by
   Senator Charles Gibson, Senator Bourne made several statements that reveal his views on
   race at that time. According to Bourne, the Consolidation bill had "overriding political
   implications that have not come out and may not come out.” Bourne pointed out that
   District 20 was 82 percent African American, and he worried that "the Department of
   Health, Education and Welfare is seeking to force racial balance by breaking down
   school district lines.” 264 Both the Columbia State and the Charleston News and Courier
   reported that Bourne "also raised the specter of forced racial integration by busing if the
   county’s eight districts are merged into one. District 20 is 82 per cent Negro, while the
   St. Andrews district is 84 per cent white, he stressed.” The paper quoted Bourne’s
   prediction that "'Orders from the great white fathers in Washington to wipe out 'these
   imbalances’ wuld [sic] follow consolidation.” 265 About three weeks later Bourne
   repeated the warnings that consolidation would lead to busing and integration. 266 In
   1986, in the deposition of former state senator Charles Gibson, the attorney for
   Charleston County School District, Robert N. Rosen, asked, "And the people who were
   talking race, and I can use John Bourne as an example because he is in the newspaper,
   you know, I guess we have to assume some of the newspaper reports are vaguely correct,
   that he was talking about busing and using race as an issue." Gibson answered,
   "Right." 267

            In 1978, the newspaper quoted Bourne’s opponent in the North Charleston
   mayoral race, Miner W. Crosby. The headline read, "North Charleston mayoral
   candidate and others blasted John E. Bourne's administration as racist at a Democratic
   Breakfast Club Friday." The paper quoted Crosby as saying of Bourne, "He's very much
   a racist. For some reason or other, he doesn't like black people." President of the North
   Charleston NAACP, the Rev. Omega Newman, and NAACP political action chairman,
   Walter Jenkins, "cited various ways the city of North Charleston discriminates against
   minorities." Although more than 16,000 African Americans were North Charleston city
   residents, "Bourne has never appointed one black person to the North Charleston sewer
   district or one black in a top position in city government." Interestingly, a major issue in
   the 1978 North Charleston mayoral election was the African American demand for
   single-member district elections to City Council. Buck Miller, a white Democrat, said,
   "The election system in North Charleston makes it impossible for a black to be elected."
   Crosby, in 1969 the only member of the Charleston County Council who had voted
   against the move to at-large elections, proposed for the city a mixed plan with six single-
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   member districts. Crosby wanted "equal representation" for the North Charleston City
   Council. According to the NAACP president, "Crosby and many of the challenging
   candidates promise to vote for single-member districts if they are elected." 268 Bourne
   opposed this demand from the African American community in North Charleston for
   single-member districts.

   Nathan Cabell and George Grice
            State Representative Nathan Cabell and then College of Charleston President
   George Grice were among white leaders who obtained a new charter for the College of
   Charleston in order to block its desegregation. Both Cabell and Grice helped establish
   private segregated schools in Charleston during the 1960s. 269 In 1964, when five
   segregated private schools were established in the wake of the 1963 Charleston school
   desegregation order, Cabell withdrew his daughter from public school, and, according to
   one scholar, offered "advice to those who wanted to establish segregated academies." He
   arranged for the leaders of the segregation academy movement to meet with Governor
   Donald Russell "to secure state approval for the leasing of church property for private
   schools." In 1963, Senator Cabell was Chairman of the Board of Charleston Academy,
   Inc., an association with the purpose of organizing private “segregation” institutions. 270
   At a Legislative Delegation meeting in 1963, Cabell accused Charleston's Senator T.
   Allen Legare of attempting to appoint an African American to the school board. Legare
   responded, "I did not take my children out of the public schools in the City of Charleston
   and place them in another school district outside the city and leave my fellow citizens to
   face the problem alone, as Mr. Cabell did." 271 In his 1986 deposition, former State
   Senator Charles Gibson remarked on Mr. Cabell’s quotation in an editorial of 9 January
   1968 where Senator Cabell wanted to reestablish the districts before consolidation
   because consolidation would result in busing children between districts and the assigning
   of teachers. Cabell was quoted in the editorial as saying anyone who opposed him was "a
   racial extremist," whereupon, Gibson commented, "God knows he ought to recognize
   one." 272

           As president of the College of Charleston, George Grice resisted integration. 273
   Grice was the segregated academy's "educational advisor” when the College of
   Charleston offered refresher courses for whites teaching in private schools. 274 Grice lent
   the resources and the prestige of the college to the private segregation school movement.
   He helped found “College of Charleston Prep" (8-12 grade) and let "that segregation
   academy use the College's facilities." 275 As state senator in 1967 George Grice opposed
   the Gibson School Consolidation Bill and warned that the removal of district lines would
   be "regretted forever," and would permit the federal government to enforce "50 percent
   integration" in all the schools. 276 He attempted to amend the bill so that District 20 (82
   percent African American) was excluded from consolidation. 277 In a series of articles,
   the paper reported on Senator's Grice's continued opposition to the consolidation bill and
   on his warnings against integration, specifically that the bill would "speed up"
   desegregation. 278 The Columbia State reported, “Grice, former president of the College
   of Charleston, warned that public education will suffer if the school districts are
   consolidated. He said increased integration will result and more private schools will be
   established.” 279 Grice argued that consolidation would “lead to bussing students from
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   one school to another to accomplish 'racial balance' under Supreme Court and
   Washington edicts.” 280

   School Consolidation

            The reaction of the above politicians to the Gibson School Consolidation Bill
   introduced in 1967 is an excellent gauge for racial attitudes by decision makers who were
   in the Legislative Delegation. As the newspaper coverage makes clear, and as the
   deposition of Gibson states explicitly, the issue behind many of the code words was
   race. 281 Although Gibson's bill was intended to move money around, not people, he
   found it necessary to amend the bill to ensure against student and teacher transfers and to
   assure people that it would not lead to desegregating the schools in 1967. Dean of South
   Carolina Law School Robert Figg, who had been the counsel working for the state in the
   Briggs desegregation case, and Dr. G. Creighton Frampton, who as Charleston School
   Superintendent had worked with Figg on the state’s defense of segregated education
   (both Figg and Frampton were among the original members of Senator's Marion
   Gressette's Segregation Committee and both worked with the committee through its
   entire tenure until 1966), helped develop a compromise to end the Republican filibuster.
   They (and Senator Gressette) were brought in to help amend the bill so that it would be
   "more palatable." 282

           The Gibson School Bill was amended by the same House Delegation that
   amended Senate Bill S131 to change the method of electing county council to at-large.
   The motivation behind the amendments to the Gibson School Bill has been carefully
   researched by Dr. R. Scott Baker, who concludes, "The Act of consolidation was a fitting
   conclusion to a quarter century of shrewd white resistance, testimony to the ability of
   whites to limit the impact of NAACP litigation. By equalizing expenditures and
   maintaining constituent district boundaries, consolidation stymied the NAACP's attempt
   to achieve meaningful desegregation in Charleston." Baker showed that “Equalization
   was always a means to a larger end: the maintenance of racial separation in education.
   …. By blocking desegregation across district lines, consolidation embedded schools in
   racially segregated and economically unequal social environments." 283

           In March 1967 the News and Courier reported that the school board would be
   elected by the county at-large, but with residency requirements. A Board of trustees
   would head each constituent district. The legislators kept in place the appointed and
   elected methods that existed at the time, which meant that District 20, the City of
   Charleston, which had been appointed by the Governor upon recommendation of the
   Legislative Delegation since 1951, would continue as appointive. We have already
   discussed how District 9 (St. John's) and District 23 (St. Paul's) had their election of
   trustees abolished in 1956 after Esau Jenkins nearly won in a race for school board
   trustee. Following the activism of the Civil Rights Movement in Charleston, the
   legislature in 1964 also abolished elected school board trustees for the only other
   predominantly African American District (St. James-Santee). All other school district
   trustees were elected.
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            Racial motivation is all too obvious when the trustees were to be an elected board,
   except in four districts, 20, 23, 9, and 1. Thus, in the Gibson School Consolidation Bill,
   Act 340, this racial distinction was incorporated, denying African Americans the vote
   where they might have the majority and determining vote for school trustees. In these
   four predominantly African American districts, they would be appointed. It was not until
   1974 that these predominantly African American school districts were allowed to elect
   their trustees. 284

           The very same Legislative Delegation that enacted the Consolidation School Bill,
   Act 340, that set up elected trustees for white school districts but appointive trustees for
   black school districts (and an at-large system for the County Consolidated district) is the
   Delegation that amended Senator Bourne's Bill S131 to make the Charleston County
   Council elected at-large county-wide. Because the Consolidated School Act created
   “constituent districts” and maintained a different method of selecting trustees to those
   constituent districts—that is predominantly white school constituent districts elected
   trustees while the predominantly African American constituent districts had their trustees
   appointed, there is a clear racially discriminatory purpose. It is reasonable to infer,
   therefore, that the at-large election system for County Council by the same legislators
   was established, similarly, for a racially discriminatory purpose, that is, to prevent
   Charleston County African Americans from electing candidates of their choice to County
   Council. Thus, the at-large election system was a means to ensure white control of
   election to County Council.

   Aftermath of Act 94:

           In my study of the issue, there is no one clear answer as to the motivation for
   preserving the at-large system; for a variety of reasons the at-large system has not been
   changed. In the thirty years since the change from districts to at-large elections, there
   have been a number of times that African Americans have wanted to change to a single-
   member district system of election. African American legislators proposed bills to
   change the method of election from at-large to single-member districts, but were
   unsuccessful in these endeavors. I would confirm that, among a number of different
   factors in that history, it is clear that the desire of some people to dilute the black vote has
   continued to play a part in the continuation of at-large elections. 285

            The County Council went to great length and expense to deny Charleston County
   a referendum on the method of election during the implementation of the South Carolina
   Home Rule Act No 283. Early in 1976 during the home rule debates, Barbara S.
   Williams wrote, "The recent city election is an example of the fact that single-member
   districts do give minority groups a better chance for election." 286 Charleston County
   Council Chair, James A. Stuckey, was adamant against single-member districts and
   strongly opposed having a referendum on the changes being made under Home Rule.
   "We would lose our method of election" if a referendum were held, Stuckey claimed.
   The paper reported that Stuckey believed, "if the voters select the at-large method of
   election, the Justice Department will disapprove it and order the single-member district
   method." 287 Although citizens approached the County Council and asked for an election,
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   Council voted to stay at-large. As provided under Act 283, Charleston citizens presented
   a petition with 14,115 signatures; according to Representative Wheeler M. Tillman the
   petition was originally spearheaded by "black members on the delegation." 288 However,
   when the Board of Voter Registration examined the signatures, they rejected over two-
   fifths, thus finding the petition short of the 10 percent needed for a referendum. 289 The
   petitioners quickly gathered additional signatures, but the Election Committee would not
   accept them because the deadline had passed. Native Charlestonian, Republican
   Governor James Edwards, intervened and also supported a referendum on the method of
   election.

           In late 1976, the newspaper reported there were three lawsuits on home rule from
   Charleston County. 290 The Election Commission successfully sued to extend the
   deadline for the referendum on the method of election. However, County Council
   appealed that decision, and the State Supreme Court sided with the County Council’s
   rejection of the referendum. House Representative Wheeler Tillman then initiated a
   second petition for a referendum and got more than 17,000 signatures. County Council
   sued Tillman and again the Court sided with County Council that the second petition for
   a referendum was invalid as it was after the deadline. 291 In June 1977 the Justice
   Department rejected Charleston's implementation of home rule, declaring that "the
   council's present method of election is invalid." The newspaper cited a Justice
   Department official who said "the decision was based on the department's belief that the
   present election method dilutes black voting strength and therefore violates the Voting
   Rights Act of 1965." 292 The County again appealed its case to the Justice Department,
   but Justice objected again. The paper quoted a letter by Assistant Attorney General Drew
   S. Days, "There is substantial support for single-member district elections in the county
   but this sentiment … has not even been brought to a vote." Moreover, he contended that
   in Charleston County, "we are presented with a serious problem of potential dilution of
   minority voting strength through continuation of the old election system in a context
   where change and improvement seemed to be promised to the electorate." The paper
   noted that "County Council, insistent that the at-large method of election now used is
   better, has resisted the referendum attempts." 293

            Despite the Justice Department's objection, the Charleston County Council
   proceeded to hold elections under the at-large system. Thus, in 1978, both the Justice
   Department and African American plaintiffs filed a case against the County Council for
   not having sought preclearance for their Home Rule change. County Council claimed
   that, although some of the County Council's powers had been changed, they did not
   change the method of election from that established under Act No. 94 in 1969 and
   therefore they could still use at-large elections. The Court agreed with the County
   Council. 294 One argument that County Council had used against holding a referendum on
   Home Rule was that it would be too costly, yet they willingly went to the huge expense
   involved in defending the at-large method of election.

          Finally in 1989, the county did have a referendum on the method of election. The
   referendum to change to district elections did not pass, but African Americans strongly
   supported the change to single-member district in this close vote. Lonnie Hamilton
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   concurred that he had supported the referendum for single-member districts and that the
   African American community wanted district elections. 295

   Conclusion:

            Section I of this report examined the general background of discrimination in
   South Carolina and in Charleston. The report then turned to specific events in Charleston
   to ascertain the climate of race relations prior to Act 94. This was the local context for
   the change in Method of Election. A look at this chronology has demonstrated that the
   decision makers during this time were very concerned about increased African American
   voting strength and were fearful that African Americans would vote as a “bloc.” Section
   II of the report presented the sequence of events in the Charleston County Council and
   the South Carolina General Assembly leading to the change from districts to at-large
   elections for the Charleston County Council. This section also questioned the rationale
   for this change. My research has persuaded me that the goal of hindering African
   American office holding played a substantial role (along with other, non-racial factors) in
   the introduction of the issue in 1967 and in the passage of Act No. 94 in spring 1969.
   The clear explanation for the change is that it was intended to dilute the growing strength
   of the African American vote. At-large elections occasioned by this statute were
   accompanied by a significant pattern of racial bloc voting in Charleston County. This
   combination is, to a significant degree, racially discriminatory.

            Section III examined the anticipated and foreseen effects on minority citizens of
   the change from districts to an at-large method of election. This section included an
   analysis of the racially motivated annexations to the City of Charleston. Section IV
   looked at the views expressed by policy makers on related issues, especially school
   consolidation. Racial motivation is all too obvious in the school consolidation issue
   because racial distinction was incorporated. The constituent district trustees were to be
   an elected board if the school district was white and an appointed board if the school
   district was predominantly African American.

          In conclusion, in Charleston County, South Carolina, as in other Southern
   communities I have investigated, at-large elections have served as a device to dilute the
   African American vote, to deny them the opportunity to elect candidates of their choice,
   and thus minimize the impact of the 1965 Voting Rights Act.
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   Notes:
            1
              Village of Arlington Heights v. Metropolitan Housing Corp., 429 U.S. (1977)
   252, 265-68, 97 Supreme Court Reporter, pp. 555-68.
           2
             South Carolina v. Katzenbach, 383 U.S. 301 (1966). South Carolina filed the
   original complaint. At the Court's invitation, Alabama, Georgia, Louisiana, Mississippi,
   and Virginia filed briefs as amicus curiae supporting South Carolina's claim that certain
   provisions of the Voting Rights Act were unconstitutional. Numerous other states filed
   briefs supporting the constitutionality of the act. 383 U.S. 301, 308-309, 310n, 329-330
   (1966).
           3
              I. A. Newby, Black Carolinians: A History of Blacks in South Carolina, 1865-
   1968 (Columbia: University of South Carolina Press, 1973), 15.
           4
              Kirby concluded that while the upper South practiced some moderation and
   restraint in race relations, in South Carolina, and especially in low country counties like
   Charleston, the tone was much more racist. Jack Temple Kirby, Rural Worlds Lost: The
   American South, 1920-1960 (Baton Rouge: Louisiana State University Press, 1987), p.
   247.
           5
              Francis Butler Simkins, "Race Legislation in South Carolina since 1865,” South
   Atlantic Quarterly, XX (June 1921), pp.177, 168.
           6
              See James M. Banner, Jr., "The Problem of South Carolina," in Stanley Elkins
   and Eric McKitrick, eds., The Hofstadter Aegis: A Memorial (New York: Alfred A.
   Knopf, 1974), pp. 76-80.
           7
              Orville Vernon Burton, "'The Black Squint of the Law': Racism in South
   Carolina" in David R. Chesnutt and Clyde N. Wilson eds., The Meaning of South
   Carolina History: Essays in Honor of George C. Rogers, Jr. (Columbia: University of
   South Carolina Press, 1991), p. 166; Laughlin McDonald, "An Aristocracy of Voters:
   The Disfranchisement of Voters in South Carolina." South Carolina Law Review 37
   (1986): 558.
           8
             Joel Williamson, After Slavery: The Negro in South Carolina During
   Reconstruction, 1861-1877 (Chapel Hill: University of North Carolina Press, 1965), 72-
   79; Eric Foner, Reconstruction: America's Unfinished Revolution, 1863-1877 (New
   York: Harper and Row, 1988), 200; Burton, “Black Squint,” pp. 166-167; Orville
   Vernon Burton, et al., "South Carolina," p. 192 in The Quiet Revolution: The Impact of
   the Voting Rights Act in the South, 1965-1990, edited by Chandler Davidson and
   Bernard Grofman (Princeton: Princeton University Press, 1994).
           9
              McDonald, "An Aristocracy of Voters,” p. 560.
           10
               Bernard E. Powers, Jr., Black Charlestonians: A Social History 1822-1885
   (Fayetteville: University of Arkansas Press, 1994 ); and “Community Evolution and
   Race Relations in Reconstruction Charleston, South Carolina” South Carolina Historical
   Magazine, 95:1 (January 1994), 27-34; William Hine, "Frustration, Factionalism, and
   Failure: Black Political Leadership and the Republican Party in Reconstruction
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               First Request for Judicial Notice: Document List Regarding Historic Racial
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   Moultrie v. Charleston County Council. (C.A. 9-01 562 11) (hereinafter referred to as
   First Request for Judicial Notice), II. Court Decision, 109: Vander Linden v. Hodges 193
   F. 3d 268 (4th Cir. 1999), p. 73; Underwood, The Constitution of South Carolina, pp. 67,
   265.
           26
              Underwood, The Constitution of South Carolina, pp. 67, 265.
           27
              John Gary Evans shepherded Tillman's legislation through the General
   Assembly in 1893 (Acts 1893, 481ff ). Evans, state senator from Aiken County,
   colleague of Tillman's since the Farmers' Movement days of the 1880s, and Tillman's
   successor in the Governorship in 1894, was the nephew of Confederate General Martin
   Gary and lived at Gary's home, Oakley Park, from which Gary had directed the Red Shirt
   paramilitary movement. The home was made a "Shrine" and was noted in the local
   Edgefield paper as "the only shrine to the Red Shirt movement in the world.” The
   Citizen News, Thursday, 30 November 1995, p. 3, "Tour of Homes set this Sunday."
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          28
               Tindall, South Carolina Negroes, pp. 309-10. This helps explain why there are
   so many exceptions and variances in the Act; counties like Charleston and Beaufort
   where there were large African American populations were exempt from parts of the law.
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   Underwood, The Constitution of South Carolina, see pp. 68-104, esp. p. 92-95; Columbus
   Andrews, Administrative County Government in South Carolina, (Chapel Hill:
   University of North Carolina Press, 1933), pp. 34-40, esp. p. 37. See The Charleston
   News and Courier, "Vengeance on Charleston," Dec. 9, 1893; "Tillmanites Grow Tired,"
   Feb. 13, 1894; "Home Folk in Washington," March 9, 1894; "The Negro in Politics,"
   March 25, 1894; "Under Negro Rule Again," Jan. 11, 1895; "The Republican Challenge,"
   Jan 8, 1895; "Who separated `The Decent White People,' Governor?," Jan 6, 1895; "A
   Dangerous Experiment," Dec. 18, 1893; "A Delusion and a Snare," April 19, 1894.
           29
               The history of the 1895 Disfranchising Convention is well known. See
   especially Burton, "Black Squint," pp. 161-185.
           30
               Tindall, South Carolina Negroes, p. 82; Kousser, Shaping of Southern Politics,
   pp. 150-151; McDonald, "Aristocracy of Voters,” p. 571; Burton, “Black Squint,” pp.
   1991, 161, 170.
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               Quote from Burton, "Black Squint," p. 171.
           32
                Simkins, Pitchfork Ben Tillman, pp. 289-291; Kousser, Shaping of Southern
   Politics, p 147; Burton, “Black Squint,” pp. 169-170; Tillman, "Message of Benjamin R.
   Tillman to the General Assembly ...1892," (Columbia, 1892), p. 24.
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                In 1876 three counties, Anderson, Pickens, and Oconee, adopted a primary
   system. In 1878 Martin Gary proposed that African Americans be excluded from the
   political process by barring them from the Democratic party primary. Charleston News
   and Courier, 4 June 1878. Eight more counties followed in 1878, nine in 1880, and four
   in 1882. In 1886 the Democratic party held the first primary for Congress.
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               Tindall, South Carolina Negroes, 1952, 89; Frederic Ogden, The Poll Tax in
   the South (University, Alabama: University of Alabama Press, 1958), pp. 42, 123, 188.
           35
               Smith v. Allwright, 321 U.S. 649 (1944).
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              V. O. Key, Jr., Southern Politics in State and Nation (New York: Alfred A.
   Knopf, 1949), p. 627.
           37
               Rules Adopted by State Convention, May 15, 1946 (Columbia: Democratic
   Party of South Carolina), p. 2.
           38
               Tinsley E.Yarbrough, A Passion for Justice: J. Waties Waring and Civil
   Rights (NY: Oxford University Press, 1987, pp. 65-66; Elmore v. Rice, 72 F.Supp. 516,
   527 (E.D.S.C. 1947), aff'd sub nom Rice v. Elmore, 165 F.2d 387 (4th Cir. 1947), cert.
   denied, 333 U.S. 875 (1948).
           39
               Brown v. Baskin, 78 F.Supp. 933 (E.D.S.C. 1948), 80 F.Supp. 1017 (E.D.S.C.
   1948), aff'd, 174 F.2d 391 (4th Cir. 1949). Key, Southern Politics, pp. 628-632. Fraser,
   Charleston! pp. 398-99.
           40
               S.C. Acts (1950), No. 858. In addition to restoring previously eliminated
   provisions of the state's election code, the statute includes numerous revisions. Debate
   over the bill was infused with racial comments. "The white primary is gone," lamented a
   legislator from Chesterfield County, and "we have a problem of biracial voting in our
   state." Charleston News and Courier, 9 February 1950, 11A; see also 24 February, 1B; 15
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   March, 1A; 14 April 1950, 1A. The newspaper also commented that the regulation of
   primary elections had been removed in 1944 "to avoid having the white primary outlawed
   in the courts." Charleston News and Courier, 14 April 1950, 1A. Under the full-slate
   requirement, Section 7(13), "if a voter marks more or less names than there are persons to
   be elected or nominated to an office...his ballot shall not be counted for such office."
   Section 10 provided that "no candidate shall be declared nominated in a first primary
   election unless he received a majority of the votes cast for the office for which he was a
   candidate," and Section 11 required a runoff primary in the event that candidates failed to
   secure the requisite majority. Both the full-slate and runoff requirements date from the
   days of the white primary; see South Carolina Code (1942), Sec. 2365-2367. The first
   adoption of both devices seems to have been in S.C. Acts (1915), No. 118, Sec. 1.
           41
              Charleston News and Courier, 12 February 1950, 4B.
           42
              Burton, "Black Squint," pp. 170-171.
           43
              Gunnar Myrdal, An American Dilemma: The Negro Problem and Modern
   Democracy (New York: Harper and Brothers, 1944), p. 488n. Historian I. A. Newby puts
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   Newby, Black Carolinians, p. 291.
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              Journal of the House of Representatives of the Second Session of the 85th
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   1993), pp. 69, 80-93; Millicent Ellison Brown, "Civil Rights Activism in Charleston,
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   Synott, March 3, 2001; Deposition of Dr. Marcia Synott, U.S. Plaintiffs, Richard
   Ganaway, et al., Plaintiffs-Intervenors v. Charleston County School District and State of
   South Carolina; Plaintiffs’ Proposed Post-Trial Findings of Fact,” in U.S. Plaintiffs,
   Richard Ganaway, et al., Plaintiffs-Intervenors v. Charleston County School District and
   State of South Carolina, C.A. No. 81-50-8; pp. 24-36; Baker, "Ambiguous Legacies," p.
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              Burton, "Black Squint," p. 177; Newby, Black Carolinians, pp. 274-313; John
   G. Sproat, "Firm Flexibility: Perspectives on Desegregation in South Carolina," in
   Robert H. Abzug and Stephen E. Maizlish, eds., New Perspectives on Race and Slavery
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           195
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                "Legislators Reach Accord On Lifting Salary Ceiling: At Large Elections
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   2891 dated April 9, 1968 attached to letter from R. B. Scarborough to Honorable Daniel
   R. McLeod, Attorney General, April 11, 1968, in the South Carolina, Attorney General's
   Office, Opinions, 1878-1994, Box 114, File Reapportionment, S110031, SCDAH. The
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   What Have They Done to Black People Lately? The Role of Historical Evidence in the
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   the chairmanship for health reasons briefly in 1965. He was chair again in 1967 when the
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           205
               “Committee Gives Nod to Bill,” Charleston News and Courier, 11 July 1967,
   1B, 6B. Ironically for a “good government” argument, in 1974, several members who
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   Balliet Indicted," 9 January 1974; "It's A Sticky Problem," 28 April 1974, p. 21C;
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   Scarborough, Member, House of Representatives, 15 April 1968, and "A Bill: To amend
   Section 14-1162 and 14-1165, Code of Laws… to require members to be elected from the
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   Council Members," House, Attorney: Lipton; Stenographer: Ballinger; Date: 4-9-68, all
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                Ibid.
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               "County Council Reaching Manhood," Charleston News and Courier, 26
   January 1969, 10A.
           217
                "Twelve Council Districts Outlined," Charleston News and Courier, 9
   November 1969.
           218
                See the File on City-County Consolidation, in the Vertical Files, Charleston
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           219
               The 1966 Public Administration Service, "Local Government in Charleston
   County, South Carolina," (1313 East Sixtieth Street, Chicago Il) recommended county-
   city merger, and in their report they also recommended that the consolidated government
   adopt at-large elections. They included no discussion nor rationale for this election
   system, and at no point in this report did consultants ever say that it required one- person,
   one-vote. For newspaper coverage of the city-county merger, see the Charleston City-
   County Consolidation file, Vertical Files, South Carolina Room, Charleston Public
   Library. Apparently the referendum was defeated by the areas outside the city who voted
   against merger. The two areas used for comparisons were Jacksonville, Florida and
   Nashville, Tennessee. Jacksonville adopted a mixed plan (district and at-large) and
   Nashville adopted a district election system. Don H. Doyle, Nashville Since the 1920s
   (Knoxville: University Tennessee Press, 1985), pp. 190, 207-9, Richard Martin,
   Consolidation: Jacksonville Duval County, The Dynamics of Urban Political Reform
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           221
                "Opposition Mounting to Repeal of Full Slate Law,” Charleston News and
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                "Legislators Reach Accord on Lifting Salary Ceiling," Charleston News and
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           223
               A. J. Clement, "Letter to the Editor, Charleston News and Courier, 21 July
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   Voting Rights Act, 16, Charleston City Council, September 20, 1974, p. 78.
           225
                "First Request for Judicial Notice," III. Objections Under Section 5 of the
   Voting Rights Act, 20, Charleston City Council, February 18, 1975, pp. 79-80.
           226
               "First Request for Judicial Notice," III. Objections Under Section 5 of the
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           227
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   Tendencies (New York: The Century Company, 1912), pp. 95-97.
           228
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   Q. Wilson, City Politics (Cambridge: Harvard University Press, 1963), pp. 87-96,
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   1954, March 17 (pp. 718, 720), March 23 (p. 930), March 24 (pp. 934, 953), March 26
   (p. 989); Interview with Herbert Fielding, August 11, 2001; 14 February, "Session Opens
   in Secrecy, Adjourns in Controversy," 4 March, "Delegation Favors Council Reduction
   Plan," 17 March, "General Assembly Directs $1 Million Bond Issue for Bridge
   Construction Here," 26 March, all 1954, Charleston News and Courier; Brown, "Civil
   Rights Activism," pp. 270-71.
           231
                Fraser, Charleston! p.408.
           232
                Brown, "Civil Rights Activism," p. 250. Brown has the date wrong, she has
   the City Council going at-large in 1950.
           233
                Deposition of Professor Everett Carll Ladd, Jr. 10 March 1972, pp. 5, 8 in
   Stevenson v. West, CA 72-45; Everett Carll Ladd, Jr., Negro Political Leadership in the
   South (Ithaca, NY: Cornell University Press, 1966).
           234
               Carawan, Aint You Got a Right to the Tree of Life?, p. 152; Act. No. 890
   (R1103, H2252), "An Act to Amend Section 21-1631 of the Code of Laws of South
   Carolina, 1952, Relating to the Election or Appointment of Trustees of School Districts
   in Charleston County, So as to Make Further Provision for the Appointment of the
   Trustees of St. John's School District No. 9 and St. Paul's School District No. 23, in the
   County," 19 April 1956, Statutes at Large of South Carolina: General and Permanent
   Laws – 1956, pp. 2143-44.
           235
               Burton, et al. "South Carolina," Table 7.8A, pp. 207-11, 228-30.
           236
               According to unofficial figures published in the Charleston News and Courier,
   1 November 1964.
           237
               U.S. Commission on Civil Rights, Political Participation (Washington, D.C.
   1968), pp. 252-53.
           238
               U.S., Census of Population: 1950 Volume 2 Characteristics of the Population,
   Part 40 South Carolina (Washington, D.C., 1952), p. 47
           239
               U.S., Census of Population: 1960 Volume 1 Characteristics of the Population,
   Part 42 South Carolina (Washington, D.C., 1961), p. 38.
           240
                U.S., 1970 Census of Population Volume 1, Characteristics of the Population
   Part 42 South Carolina (Washington, D.C.,1973), pp. 39, 55, 67, 77, 200. One historian
   has the 1970 old peninsula city population as 46,575, of whom nearly two-thirds were
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   non-whites and another argues that 42 percent of whites left the old peninsula city in the
   1960s. See O'Neill, "From the Shadow of Slavery," pp. 209-212 and Baker, “Ambiguous
   Legacies,” pp. 235-36.
            241
                O'Neill, "From the Shadow of Slavery," pp. 209-212.
            242
                 Fraser, Charleston! pp. 420-21.
            243
                 First Request for Judicial Notice, III. Objections Under Section 5 of the
   Voting Rights Act, No. 16, p. 78 (September 24, 1974); Burton, et al., “South Carolina,”
   p. 207.
            244
                 Columbia State, 26 April 1967, 1, 13A.
            245
                 Columbia State, 30 April 1967, 3D.
            246
                 "Election Returns from Charleston County," Charleston News and Courier, 9
   November 1966. Interviews with Lonnie Hamilton, 3 and 15 August 2001; Interview
   with Rev. LeRoy Fayell, 3 August 2001. Using the 1970 registration data for those
   precincts north of the City of Charleston and east of the Ashley and west of the Cooper
   rivers, there were a total of 14,391 whites and 4,235 non-whites registered to vote. In St.
   Michael and St. Phillip precinct, there were 1,008 African American and 334 whites.
   Azalea precinct had 759 non-white voters.
            247
                "Election Changes Council," Charleston News and Courier, 7 November
   1968, 9B.
            248
                Ladd Deposition, 10 March 1972, p. 15; "Study: Race Important in South
   Carolina Voting," Associated Press Newswires, Wednesday, July 25, 2001.
            249
                 "Appointment of Negroes Suggested," Charleston News and Courier, 19
   April 1967, 4C; Columbia State, 14 April (p. 1) and 9 (p. 7B) and 24 (p. 3B) June 1967.
            250
                "Negro Named to School Board," Charleston News and Courier, 9 June 1965,
   1B; "Appointment of Negroes Suggested," Charleston News and Courier, 19 April 1967,
   4C.
            251
                 Deposition of Dr. Gordon Stine, March 9, 1972, in Leverne Stevenson, et al, v
   John C. West, etc., C.A. No. 72-45, pp. 3-4, 32, 36-38.
            252
                 "Voters Urged to Cast Ballots," Charleston News and Courier 12 June 1967,
   1B; County Officials Suffer Defeat," Charleston News and Courier, 12 June 1968, 1A,
   6A; O'Neill, "From the Shadow of Slavery," pp. 295-97.
            253
                 "Challenger Crosby," Charleston News and Courier, 16 April 1978, 1E.
            254
                 Interview with Lonnie Hamilton, III, 3 and 15 August 2001.
            255
                 Deposition of Lonnie Hamilton, 5 June 1990, pp. 16, 19, 23, 26, 34, 45,55-56,
   58-59, 63 Charleston, S.C. NAACP v. Charleston County School Board, C.A. No. 2:88-
   2938-1.
            256
                 Hamilton Deposition, pp. 21-2, 45.
            257
                Columbia State, 28 August 1964; Baker, "Ambiguous Legacies," p. 231.
            258
                Especially relevant to Micah Jenkins's role as chair of the County Council
   committee that recommended in 1967 the change to at-large elections is the 1965
   Citizens' Council’s answer to "What can a Citizens' Council do?" According to a
   brochure the Council distributed, "Through its own committees and individual members
   it can identify and disseminate lawful ways of resisting destructive applications of
   statutes and edicts." Brochure entitled “Why Must Greater Charleston Organize?"
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   Prepared by: Organization Committee, Greater Charleston Citizens' Council in
   Associations file, Vertical Files, South Carolina Room, Charleston Public Library.
            259
                 "Man in the News: Independence Key to Micah Jenkins, Charleston News
   and Courier, 28 August 1956 and Charleston Evening Post, "Micah Jenkins,
   Conservative," 23 June 1956, both in Micah Jenkins file, Vertical Files, South Carolina
   Room, Charleston Public Library.
            260
                Quint, Profile in Black and White, pp. 44-45, 47-48, 137-38, quotation p. 45;
   Neil R. McMillen, The Citizens' Council: Organized Resistance to the Second
   Reconstruction, 1954-64 (Urbana: University of Illinois Press, 1972), pp. 75-6, 78, 117-
   18, 313, quotation note 6, pp. 117-18; Smyth, "Segregation in Charleston in the 1950s,"
   p. 127.
            261
                 Quint, Profile in Black and White, p. 44.
            262
                 Ibid., p. 46 and Deposition of Charles M. Gibson, 16 December 1986, pp. 68-
   69, U.S. v. Richard Ganaway, et al., CA No. 81-50-8.
            263
                " GOP Loses Fight to Cut Negro Vote," Charleston Post and Courier, 2 June
   1967, 1A, 13A.
            264
                 "School Bill Clears Senate," Charleston News and Courier, 8 June 1967, 1,
   8A; “County School Bill Passes Senate, 23-5,” Charleston Evening Post, 1 March 1967.
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                 “GOP To Caucus On Bill Today,” Charleston News and Courier, 2 March
   1967; "School Merger: Charleston Bill Passes," Columbia State, 2 March 1967.
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                 Charleston Evening Post, 23 March 1967, 2B; Gibson deposition, pp. 113-14.
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                 Gibson Deposition, p. 128.
            268
                Quotations from "Crosby Blasts Bourne Administration as 'Racist'," 29 April
   1978, 3A; see also "Challenger Crosby," 16 April 1978 1E, both in Charleston News and
   Courier.
            269
                 R. Scott Baker, "Ambiguous Legacies,” pp. 232-3; Brown, "Civil Rights
   Activism," p. 93; see also, "College Issue May Cost Charleston Unit Charter," Baltimore
   African American, 20 August 1949.
            270
                Charleston News and Courier, 10 November 1963; Baker, "Ambiguous
   Legacies," p. 233; Cox, "1963—Year of Decision," p. 233, 235.
            271
                 Columbia State, 24 (p. 8B) and 25 (p. 1B) September 1963 quoted in Cox,
   "1963—Year of Decision," p. 236.
            272
                 Editorial, Charleston Evening Post, 9 January 1968, 2B; Gibson deposition, p.
   109.
            273
                 See for example, President Grice's Statement to the Trustees, n.d. (probably
   1965), Box 45, folder 8, the Papers of George Grice, College of Charleston.
            274
                 Baker, "Ambiguous Legacies," p. 233 citing Charleston News and Courier, 3,
   4, 7, 8,9, 10, 11, 12, 22 September, 25 October, and 11 December 1963; Edmund L.
   Drago, Initiative, Paternalism, and Race Relations: Charleston's Avery Normal Institute
   (Athens: University of Georgia Press,1990), pp. 274-75.
            275
                 Baker, "Ambiguous Legacies," p. 234; Drago, Initiative, Paternalism, and
   Race Relations, 274-75.
            276
                 Charleston News and Courier, 4 March 1967; Baker, “Ambiguous Legacies,”
   p. 268.
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          277
                “School Consolidation Bill May Go To House Today: Delay In Debate
   Expected,” Charleston News and Courier, 19 April 1967.
           278
               “By House Members: School Bill Given Key 2nd Reading,” Charleston
   Evening Post, 20 April 1967.
           279
                “Charleston School Bill Passes House,” The State, 21 April 1967.
           280
                “Foes Fail to Stall School Bill,” Charleston News and Courier, 21 April 1967.
           281
               In a meeting reported in the Charleston News and Courier, Senator Worsham
   used the code words of states’ rights, "There's a lot of talk today about states rights. Now
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   Courier, 20 February 1967. See Gibson Deposition, pp. 63, 70, 87-93, 158-59.
           282
                Gibson Deposition, pp. 51-53, 56, 63 “palatable” quotation; Deposition of Dr.
   Creighton Frampton, 14 March 1986, US, Richard Ganaway, et al. v. Charleston County
   School District, Case Number 81-50-8, pp.39, 68; Baker, "Ambiguous Legacies," pp.
   267-70; Plaintiffs’ Proposed Post-Trial Findings of Fact, U.S. and Richard Ganaway, et
   al. v. Charleston County School District, pp. 211-12.
           283
                Baker, "Ambiguous Legacies," p. 270.
           284
               Act 844 (R294, H1931), "An Act to make Additional Provisions …," 22
   March 1952, pp. 2085-87, and Act 379 (R256, H1150), pp. 546-661, both in Statutes at
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   (R1103, H2252) "An Act to Amend Section 21-1631 of the Code of Laws of South
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   in Charleston County, So as to Make Further Provision For the appointment of the
   Trustees of St. John's School District No. 9 and St. Paul's School District No. 23, in the
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   Laws – 1956, pp. 2144; Article 4, Charleston County, ch 27, S.C. Code 1962, 1975
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   and to Abolish the County Board of Education of Charleston County," Statutes at Large
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   No. 936 (R983, S612) "An Act to Amend Act No. 340 of 1967 …, 13 March 1970,
   Statutes at Large: General and Permanent Laws – 1970, pp. 2032-4; Act No. 397 (R644,
   H1870) "An Act to Amend Section 21-1631 …So as to Provide that All Trustees Shall
   Be Elected," Statutes At large: General and Permanent Laws –1973, pp. 692-93; Act No.
   914 (R945, H2556) "An Act to Amend Section 21-1631, As Amended …To Delete
   References to Appointments of the Trustees of School District No. 20 of Charleston
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   “Editorial: Break with the Past,” "School Bill Clears Senate," Charleston News and
   Courier, 19 February, 24 March, and 8 June 1967.
          285
                Interview with Herbert Fielding, August 11, 2001. Mr. Fielding stated that
   several bills were introduced to change the election of County Council to single member
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   district. See House Journal, 1978 House Bill 3661 introduced by Reps. Robert R.
   Woods, Tillman, Kohn, Bradley, Washington and Rawl, p. 3747; February 21, p. 856,
   March 14, p. 1210, March 15, p. 1264, March 16, p. 1308.
            286
                 "Blacks and Republicans Pushing Home Rule," Charleston News and
   Courier, 11 January 1976, 15C.
            287
                 "Stuckey Raps Bourne on Home Rule Vote," Charleston News and Courier,
   19 April 1976, 1B.
            288
                 "Home Rule Election Target Date," Charleston News and Courier, 21 January
   1976, 1B.
            289
                 "Home Rule Vote Clouded," Charleston News and Courier, 1 June 1976, 1A.
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                 "Home Rule – Pick Your Question," Charleston News and Courier, 12
   December 1976, 31B.
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                 "Decision Due Soon," Charleston Evening Post, 10 September 1977, 1A.
            292
                "Justice Department Rejects County's Home Rule, Charleston News and
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                 "Justice Still Objects to County Home Rule," Charleston News and Courier,
   23 December 1977, 1A.
            294
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   Hamilton v. Tillman (April 18, 1977; Infinger v. Edwards; Dodds v. Stuckey, 234 S.E. 2d
   214 (S.C. 1977); County Council Minutes, 20 April, 18 May, 6 July 1976 in South
   Carolina Room, Charleston Public Library. The tangled web of the home rule debate in
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   Republicans Pushing Home Rule," 11 January 15-C, "Home Rule Election Target Date,"
   21 January 1B, "Bourne Backs Home Rule Petition Drive, 18 April 1,2A; "Stuckey Raps
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   Here," 2 May 27E, "Home Rule: A Chinese Puzzle," 6 May 1,7B, "Home Rule Vote
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   "Justice Department Rejects County's Home Rule, Charleston News and Courier, 15 June
   1A, "Council Seeks Reconsideration," 22 June 1A, "County Appeals Decision," 14 July
   1A, "Home Rule Decision Soon," 10 September 1A; "Hamilton, Woods Debate Forms of
   Government," 16 September 11A, "Justice Still Objects to County Home Rule," 23
   December 1A all 1977, all in Charleston News and Courier. Referendum Still Strong
   Possibility," 14 April 1A, "Local Home Rule Plan I Rejected," 15 June 1A, and "Decision
   Due Soon," 10 September 1A all in Charleston Evening Post, 1977.
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                Hamilton Deposition, p. 55; Interviews with Lonnie Hamilton, 3 and 15
   August 2001; Interview with Rev. LeRoy Fayell, 3 August 2001; Interview with Herbert
   Fielding, August 11, 2001.
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                            APPENDIX C
2011-2012 Bill 3003: Voter ID - www.scstatehouse.gov - South Carolina ...    http://www.scstatehouse.gov/sess119_2011-2012/bills/3003.htm
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                                                     South Carolina General Assembly
                                                         119th Session, 2011-2012

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          A27, R54, H3003

          STATUS INFORMATION

          General Bill
          Sponsors: Reps. Clemmons, Harrell, Lucas, Bingham, Harrison, Cooper, Owens, Sandifer, Allison, Ballentine,
          Bannister, Barfield, Bowen, Cole, Crawford, Daning, Delleney, Forrester, Frye, Gambrell, Hamilton,
          Hardwick, Hiott, Horne, Huggins, Limehouse, Loftis, Long, Lowe, Merrill, V.S. Moss, Norman, Parker, G.M.
          Smith, G.R. Smith, Sottile, Stringer, Toole, Umphlett, Viers, White, Crosby, Thayer, Simrill, Ryan, McCoy,
          Murphy, Atwater, Henderson, Quinn, Tallon, Patrick, J.R. Smith, Hixon, Taylor, Young, Bedingfield, Corbin,
          Pitts, Chumley, Spires, Pope, Bikas, Pinson, D.C. Moss, Erickson, Willis, Brady, Herbkersman, Nanney,
          Brannon and Whitmire
          Document Path: l:\council\bills\ms\7070zw11.docx
          Companion/Similar bill(s): 1, 3961

          Introduced in the House on January 11, 2011
          Introduced in the Senate on January 27, 2011
          Last Amended on May 11, 2011
          Passed by the General Assembly on May 11, 2011
          Governor's Action: May 18, 2011, Signed

          Summary: Voter ID

          HISTORY OF LEGISLATIVE ACTIONS
               Date      Body   Action Description with journal page number
          -------------------------------------------------------------------------------
             12/7/2010 House    Prefiled
             12/7/2010 House    Referred to Committee on Judiciary
             1/11/2011 House    Introduced and read first time (House Journal-page 3)
             1/11/2011 House    Referred to Committee on Judiciary (House Journal-page 3)
             1/12/2011 House    Member(s) request name added as sponsor: Atwater
             1/18/2011 House    Member(s) request name added as sponsor: Henderson,
                                  Quinn, Tallon, Patrick, J.R.Smith, Hixon, Taylor,
                                  Young, Bedingfield, Corbin, Pitts, Chumley, Spires,
                                  Pope, Bikas, Pinson
             1/19/2011 House    Committee report: Favorable with amendment Judiciary
                                  (House Journal-page 2)
             1/20/2011 House    Member(s) request name added as sponsor: D.C.Moss
             1/25/2011 House    Member(s) request name added as sponsor: Erickson, Willis
             1/25/2011 House    Objection by Rep. Cobb-Hunter and Sellers
                                  (House Journal-page 32)
             1/25/2011 House    Requests for debate-Rep(s). Clemmons, Crawford, JE
                                  Smith, Hart, Govan, McEachern, Erickson, Brantley,
                                  King, Jefferson, Munnerlyn, Forrester, Parker,
                                  Allison, Mack, Mitchell, Bikas, DC Moss, JR Smith,
                                  Hixon, Taylor, Young, RL Brown, GA Brown, Anderson,
                                  Clyburn, Hosey, Brannon, Hayes, Battle, Gilliard,
                                  McCoy, Stringer, Sandifer, Whitmire, VS Moss, Nanney,
                                  Bedinfield, Henderson, Allen, Hearn, Dillard, Corbin,
                                  Hardwick, Loftis, Pope, Whipper, Ott, and Vick
                                  (House Journal-page 32)
             1/26/2011 House    Member(s) request name added as sponsor: Brady,


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2011-2012 Bill 3003: Voter ID - www.scstatehouse.gov - South Carolina ...   http://www.scstatehouse.gov/sess119_2011-2012/bills/3003.htm
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                                            Herbkersman, Nanney, Brannon, Whitmire
              1/26/2011       House       Amended (House Journal-page 28)
              1/26/2011       House       Read second time (House Journal-page 28)
              1/26/2011       House       Roll call Yeas-74 Nays-45 (House Journal-page 28)
              1/27/2011       House       Read third time and sent to Senate
                                            (House Journal-page 34)
              1/27/2011       Senate      Introduced and read first time (Senate Journal-page 17)
              1/27/2011       Senate      Referred to Committee on Judiciary
                                            (Senate Journal-page 17)
               2/3/2011                   Scrivener's error corrected
               2/8/2011       Senate      Motion For Special Order Failed (Senate Journal-page 14)
               2/8/2011       Senate      Roll call Ayes-25 Nays-15 (Senate Journal-page 14)
               2/9/2011       Senate      Motion For Special Order Failed (Senate Journal-page 23)
               2/9/2011       Senate      Roll call Ayes-26 Nays-14 (Senate Journal-page 23)
              2/10/2011       Senate      Special order, set for February 10, 2011
                                            (Senate Journal-page 19)
              2/10/2011       Senate      Roll call Ayes-26 Nays-17 (Senate Journal-page 19)
              2/15/2011       Senate      Debate interrupted (Senate Journal-page 24)
              2/16/2011       Senate      Debate interrupted (Senate Journal-page 23)
              2/17/2011       Senate      Debate interrupted (Senate Journal-page 12)
              2/22/2011       Senate      Debate interrupted (Senate Journal-page 23)
              2/23/2011       Senate      Committee Amendment Amended and Adopted
                                            (Senate Journal-page 36)
              2/23/2011       Senate      Read second time (Senate Journal-page 36)
              2/23/2011       Senate      Roll call Ayes-26 Nays-15 (Senate Journal-page 36)
              2/24/2011                   Scrivener's error corrected
              2/24/2011       Senate      Read third time and returned to House with amendments
                                            (Senate Journal-page 11)
              2/24/2011       Senate      Roll call Ayes-24 Nays-15 (Senate Journal-page 11)
              2/24/2011                   Scrivener's error corrected
              2/25/2011                   Scrivener's error corrected
               3/2/2011       House       Debate adjourned until Thursday, March 3, 2011
                                            (House Journal-page 49)
                3/3/2011      House       Debate adjourned until Tuesday, March 8, 2011
                                            (House Journal-page 28)
                3/8/2011      House       Debate adjourned until Wednesday, March 9, 2011
                                            (House Journal-page 73)
               3/9/2011       House       Debate adjourned on amendments (House Journal-page 27)
              3/10/2011       House       Debate adjourned on amendments (House Journal-page 30)
              3/29/2011       House       Debate adjourned on Senate amendments until Wednesday,
                                            March 30, 2011 (House Journal-page 30)
              3/30/2011       House       Debate adjourned on Senate amendments until Thursday,
                                            March 31, 2011 (House Journal-page 33)
              3/31/2011       House       Debate adjourned on amendments (House Journal-page 35)
               4/5/2011       House       Debate adjourned on Senate amendments until Wednesday,
                                            April 6, 2011 (House Journal-page 22)
                4/6/2011      House       Senate amendment amended (House Journal-page 36)
                4/6/2011      House       Returned to Senate with amendments
                                            (House Journal-page 36)
              4/13/2011       Senate      Non-concurrence in House amendment
                                            (Senate Journal-page 35)
              4/13/2011       Senate      Roll call Ayes-28 Nays-15 (Senate Journal-page 35)
              4/14/2011       House       House insists upon amendment and conference committee
                                            appointed Reps. Clemmons, Lucas, and Merrill
                                            (House Journal-page 2)
              4/14/2011       Senate      Conference committee appointed McConnell, Campsen, and
                                            Scott (Senate Journal-page 21)
              4/26/2011       House       Conference report received and adopted
                                            (House Journal-page 38)
              4/26/2011       House       Roll call Yeas-71 Nays-36 (House Journal-page 38)
              5/11/2011       Senate      Conference report received and adopted
                                            (Senate Journal-page 35)
              5/11/2011       Senate      Roll call Ayes-26 Nays-16 (Senate Journal-page 35)
              5/11/2011       Senate      Ordered enrolled for ratification
                                            (Senate Journal-page 47)



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              5/17/2011                   Ratified R 54
              5/18/2011                   Signed By Governor
              5/24/2011                   Effective date See Act for Effective Date
              5/24/2011                   Act No. 27

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          VERSIONS OF THIS BILL

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          1/19/2011
          1/26/2011
          2/2/2011
          2/3/2011
          2/23/2011
          2/24/2011
          2/25/2011
          4/6/2011
          5/11/2011

               (Text matches printed bills. Document has been reformatted to meet World Wide Web specifications.)

          (A27, R54, H3003)

          AN ACT TO AMEND SECTION 7-1-25, CODE OF LAWS OF SOUTH CAROLINA, 1976,
          RELATING TO THE DEFINITION OF "DOMICILE", SO AS TO PROVIDE FACTORS TO
          CONSIDER IN DETERMINING A PERSON'S INTENTION REGARDING HIS DOMICILE FOR
          VOTING PURPOSES; TO AMEND SECTION 7-5-125, RELATING TO WRITTEN NOTIFICATION
          OF REGISTRATION, SO AS TO PROVIDE THAT IF AN ELECTOR LOSES OR DEFACES HIS
          REGISTRATION NOTIFICATION, HE MAY OBTAIN A DUPLICATE NOTIFICATION FROM HIS
          COUNTY BOARD OF REGISTRATION; TO AMEND SECTION 7-5-230, AS AMENDED,
          RELATING TO LEGAL QUALIFICATIONS OF APPLICANTS FOR REGISTRATION AND
          CHALLENGES OF QUALIFICATIONS, SO AS TO REVISE WHAT THE BOARD OF
          REGISTRATION MUST CONSIDER WHEN A CHALLENGE IS MADE REGARDING RESIDENCE
          OR DOMICILE OF AN ELECTOR; BY ADDING SECTION 7-5-675 SO AS TO PROVIDE THAT
          THE STATE ELECTION COMMISSION SHALL IMPLEMENT A SYSTEM TO ISSUE VOTER
          REGISTRATION CARDS WITH A PHOTOGRAPH OF THE ELECTOR, AND TO PROVIDE
          WHEN THE PROVISIONS OF THIS SECTION TAKE EFFECT INCLUDING A REQUIREMENT
          THAT IMPLEMENTATION IS CONTINGENT ON FUNDING TO IMPLEMENT THIS
          REQUIREMENT; TO AMEND SECTION 7-13-710, AS AMENDED, RELATING TO PROOF OF
          THE RIGHT TO VOTE, SO AS TO REQUIRE CERTAIN PHOTOGRAPH IDENTIFICATION IN
          ORDER TO VOTE, TO PROVIDE THAT ONE OF THE POLL MANAGERS SHALL COMPARE
          THE PHOTOGRAPH CONTAINED ON THE REQUIRED IDENTIFICATION WITH THE PERSON
          PRESENTING HIMSELF TO VOTE AND SHALL VERIFY THAT THE PHOTOGRAPH IS THAT
          OF THE PERSON SEEKING TO VOTE, TO PERMIT PROVISIONAL BALLOTS IF THE
          PHOTOGRAPH IDENTIFICATION CANNOT BE PRODUCED OR IF THE POLL MANAGER
          DISPUTES THE PHOTOGRAPH, TO PROVIDE EXCEPTIONS FOR A RELIGIOUS OBJECTION
          TO BEING PHOTOGRAPHED OR IF THE ELECTOR SUFFERS FROM A REASONABLE
          IMPAIRMENT THAT PREVENTS HIM FROM OBTAINING PHOTOGRAPH IDENTIFICATION,
          TO PERMIT THE CASTING OF A PROVISIONAL BALLOT IN THESE CASES UPON SPECIFIC
          REQUIREMENTS INCLUDING AN AFFIDAVIT, TO PROVIDE FOR THE MANNER IN WHICH
          THE COUNTY BOARD OF REGISTRATION AND ELECTIONS SHALL PROCESS THESE
          PROVISIONAL BALLOTS, AND TO PROVIDE THAT THE IDENTIFICATION REQUIRED


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          ABOVE IS FOR THE PURPOSE OF CONFIRMING THE IDENTITY OF THE ELECTOR AND TO
          PROVIDE FOR THE MANNER IN WHICH THE ELECTOR'S DOMICILE SHALL BE
          DETERMINED FOR PURPOSES OF VOTING; TO AMEND SECTION 56-1-3350, AS AMENDED,
          RELATING TO SPECIAL IDENTIFICATION CARDS ISSUED BY THE DEPARTMENT OF
          MOTOR VEHICLES TO RESIDENTS OF THIS STATE TEN YEARS OF AGE OR OLDER, SO AS
          TO REDUCE THIS AGE TO FIVE YEARS OF AGE OR OLDER, TO PROVIDE THAT THESE
          CARDS MUST BE ISSUED FREE OF CHARGE TO PERSONS SEVENTEEN YEARS OF AGE AND
          OLDER AND FOR THE FEE TO BE CHARGED TO PERSONS BETWEEN THE AGES OF FIVE
          AND SIXTEEN, TO DELETE LANGUAGE OF THE SECTION RELATING TO RENEWAL FEES
          AND WAIVER OF FEES, AND TO REVISE PROVISIONS OF THE SECTION PERTAINING TO
          USE OF THE FEES COLLECTED; TO PROVIDE THAT THE STATE ELECTION COMMISSION
          SHALL ESTABLISH AN AGGRESSIVE VOTER EDUCATION PROGRAM CONCERNING THE
          PROVISIONS OF THIS ACT TO EDUCATE THE PUBLIC IN CERTAIN PARTICULARS OF THIS
          ACT AND THE COMMISSION ALSO MAY IMPLEMENT ADDITIONAL EDUCATIONAL
          PROGRAMS IN ITS DISCRETION; TO PROVIDE THAT THE STATE ELECTION COMMISSION
          IS DIRECTED TO CREATE A LIST CONTAINING ALL REGISTERED VOTERS OF SOUTH
          CAROLINA WHO ARE OTHERWISE QUALIFIED TO VOTE BUT DO NOT HAVE A SOUTH
          CAROLINA DRIVER'S LICENSE OR OTHER FORM OF IDENTIFICATION CONTAINING A
          PHOTOGRAPH ISSUED BY THE DEPARTMENT OF MOTOR VEHICLES AS OF DECEMBER 1,
          2011, AND TO PROVIDE THAT THE DEPARTMENT OF MOTOR VEHICLES MUST PROVIDE
          THE LIST OF PERSONS WITH A SOUTH CAROLINA DRIVER'S LICENSE OR OTHER FORM
          OF IDENTIFICATION CONTAINING A PHOTOGRAPH ISSUED BY THE DEPARTMENT OF
          MOTOR VEHICLES AT NO COST TO THE COMMISSION.

          Be it enacted by the General Assembly of the State of South Carolina:

          Factors to consider

          SECTION 1.          Section 7-1-25 of the 1976 Code, as added by Act 103 of 1999, is amended to read:

          "Section 7-1-25.      (A) A person's residence is his domicile. 'Domicile' means a person's fixed home where
          he has an intention of returning when he is absent. A person has only one domicile.

          (B) For voting purposes, a person has changed his domicile if he (1) has abandoned his prior home and (2)
          has established a new home, has a present intention to make that place his home, and has no present intention
          to leave that place.

          (C)    For voting purposes, a spouse may establish a separate domicile.

          (D) For voting purposes, factors to consider in determining a person's intention regarding his domicile
          include, but are not limited to:

          (1)   a voter's address reported on income tax returns;

          (2) a voter's real estate interests, including the address for which the legal residence tax assessment ratio is
          claimed pursuant to Section 12-43-220(C);

          (3) a voter's physical mailing address;

          (4) a voter's address on driver's license or other identification issued by the Department of Motor Vehicles;

          (5) a voter's address on legal and financial documents;

          (6) a voter's address utilized for educational purposes, such as public school assignment and determination


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          of tuition at institutions of higher education;

          (7) a voter's address on an automobile registration;

          (8) a voter's address utilized for membership in clubs and organizations;

          (9) the location of a voter's personal property;

          (10) residence of a voter's parents, spouse, and children; and

          (11) whether a voter temporarily relocated due to medical care for the voter or for a member of the voter's
          immediate family."

          Duplicate registration

          SECTION 2.          Section 7-5-125 of the 1976 Code, as added by Act 507 of 1988, is amended to read:

          "Section 7-5-125. (A) Any person who applies for registration to vote and is found to be qualified by the
          county board of registration to whom application is made must be issued a written notification of registration.
          This notification must be on a form prescribed and provided by the State Election Commission.

          (B) If an elector loses or defaces his registration notification, he may obtain a duplicate notification from his
          county board of registration upon request in person, or by telephone or mail."

          Consideration of challenges

          SECTION 3.          Section 7-5-230 of the 1976 Code, as last amended by Act 103 of 1999, is further amended
          to read:

          "Section 7-5-230. (A) The boards of registration to be appointed under Section 7-5-10 shall be the judges
          of the legal qualifications of all applicants for registration. The board is empowered to require proof of these
          qualifications as it considers necessary.

          Once a person is registered, challenges of the qualifications of any elector, except for challenges issued at the
          polls pursuant to Sections 7-13-810, 7-13-820, and 7-15-420 must be made in writing to the board of
          registration in the county of registration. The board must, within ten days following the challenge and after
          first giving notice to the elector and the challenger, hold a hearing, accept evidence, and rule upon whether
          the elector meets or fails to meet the qualifications set forth in Section 7-5-120.

          (B) When a challenge is made regarding the residence or domicile of an elector, the board must consider the
          provisions of Section 7-1-25(D).

          (C) Any person denied registration or restoration of his name on the registration books shall have the right
          of appeal from the decision of the board of registration denying him registration or such restoration to the
          court of common pleas of the county or any judge thereof and subsequently to the Supreme Court."

          System to be implemented

          SECTION 4.          Article 7, Chapter 5, Title 7 of the 1976 Code is amended by adding:

          "Section 7-5-675. The State Elections Commission shall implement a system in order to issue voter
          registration cards with a photograph of the elector. This voter registration card may be used for voting
          purposes only."



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          Photograph identification required, provisional ballots

          SECTION 5.          Section 7-13-710 of the 1976 Code, as last amended by Act 459 of 1996, is further amended
          to read:

          "Section 7-13-710. (A) When a person presents himself to vote, he shall produce a valid and current:

          (1) South Carolina driver's license; or

          (2)   other form of identification containing a photograph issued by the Department of Motor Vehicles; or

          (3) passport; or

          (4) military identification containing a photograph issued by the federal government; or

          (5) South Carolina voter registration card containing a photograph of the voter pursuant to Section 7-5-675.

          (B) After presentation of the required identification described in subsection (A), the elector's name must be
          checked by one of the managers on the margin of the page opposite his name upon the registration books, or
          copy of the books, furnished by the board of registration. One of the managers also shall compare the
          photograph contained on the required identification with the person presenting himself to vote. The manager
          shall verify that the photograph is that of the person seeking to vote. The managers shall keep a poll list which
          must contain one column headed 'Names of Voters'. Before a ballot is delivered to a voter, the voter shall sign
          his name on the poll list, which must be furnished to the appropriate election officials by the State Election
          Commission. At the top of each page, the voter's oath appropriate to the election must be printed. The signing
          of the poll list or the marking of the poll list is considered to be an affirmation of the oath by the voter. One of
          the managers shall compare the signature on the poll list with the signature on the voter's driver's license,
          registration notification, or other identification and may require further identification of the voter and proof of
          his right to vote under this title as he considers necessary. If the voter is unable to write or if the voter is
          prevented from signing by physical handicap, he may sign his name to the poll list by mark with the assistance
          of one of the managers.

          (C)(1) If the elector cannot produce the identification as required in subsection (A), he may cast a
          provisional ballot that is counted only if the elector brings a valid and current photograph identification to the
          county board of registration and elections before certification of the election by the county board of
          canvassers.

          (2) If the manager disputes that the photograph contained on the required identification is the person
          presenting himself to vote, the elector may cast a provisional ballot. A determination of that provisional ballot
          must be made in accordance with Section 7-13-830.

          (D)(1)(a) If an elector does not produce a valid and current photograph identification due to a religious
          objection to being photographed, he may complete an affidavit under penalty of perjury at the polling place
          and affirm that the elector: (i) is the same individual who personally appeared at the polling place; (ii) cast the
          provisional ballot on election day; and (iii) has a religious objection to being photographed. Upon completion
          of the affidavit, the elector may cast a provisional ballot. The affidavit must be submitted with the provisional
          ballot envelope and be filed with the county board of registration and elections before certification of the
          election by the county board of canvassers.

          (b) If an elector does not produce a valid and current photograph identification because the elector suffers
          from a reasonable impediment that prevents the elector from obtaining photograph identification, he may
          complete an affidavit under the penalty of perjury at the polling place and affirm that the elector: (i) is the
          same individual who personally appeared at the polling place; (ii) cast the provisional ballot on election day;


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          and (iii) the elector suffers from a reasonable impediment that prevents him from obtaining photograph
          identification. The elector also shall list the impediment, unless otherwise prohibited by state or federal law.
          Upon completion of the affidavit, the elector may cast a provisional ballot. The affidavit must be submitted
          with the provisional ballot envelope and be filed with the county board of registration and elections before
          certification of the election by the county board of canvassers.

          (2) If the county board of registration and elections determines that the voter was challenged only for the
          inability to provide proof of identification and the required affidavit is submitted, the county board of
          registration and elections shall find that the provisional ballot is valid unless the board has grounds to believe
          the affidavit is false.

          (3) If the county board of registration and elections determines that the voter has been challenged for a
          cause other than the inability to provide proof of identification as required by subsection (A), the county
          board of registration and elections shall:

          (a) note on the envelope containing the provisional ballot that the voter complied with the proof of
          identification requirement; and

          (b) proceed to determine the validity of the remaining challenges before ruling on the validity of the
          provisional ballot.

          (E) The purpose of the identification required pursuant to subsection (A) is to confirm the person presenting
          himself to vote is the elector on the poll list. Any address listed on the identification is not determinative of an
          elector's domicile for the purpose of voting. An elector's domicile for the purpose of voting is determined
          pursuant to the provisions of Section 7-1-25."

          Special identification card provisions revised

          SECTION 6. Section 56-1-3350 of the 1976 Code, as last amended by Act 277 of 2010, is further
          amended to read:

          "Section 56-1-3350. (A) Upon application by a person five years of age or older who is a resident of South
          Carolina, the department shall issue a special identification card as long as:

          (1) the application is made on a form approved and furnished by the department; and

          (2) the applicant presents to the person issuing the identification card a birth certificate or other evidence
          acceptable to the department of his name and date of birth.

          (B)(1) The fee for the issuance of the special identification card is five dollars for a person between the ages
          of five and sixteen years.

          (2)   An identification card must be free to a person aged seventeen years or older.

          (C)    The identification card expires five years from the date of issuance.

          (D) Special identification cards issued to persons under the age of twenty-one must be marked, stamped, or
          printed to readily indicate that the person to whom the card is issued is under the age of twenty-one.

          (E) The fees collected pursuant to this section must be credited to the Department of Transportation State
          Non-Federal Aid Highway Fund."

          Voter education program


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          SECTION 7. The State Elections Commission must establish an aggressive voter education program
          concerning the provisions contained in this legislation. The State Elections Commission must educate the
          public as follows:

          (1) Post information concerning changes contained in this legislation in a conspicuous location at each
          county board of registration and elections, each satellite office, the State Elections Commission office, and
          their respective websites.

          (2) Train poll managers and poll workers at their mandatory training sessions to answer questions by
          electors concerning the changes in this legislation.

          (3) Require documentation describing the changes in this legislation to be disseminated by poll managers
          and poll workers at every election held following preclearance by the United States Department of Justice or
          approval by a declaratory judgment issued by the United States District Court for the District of Columbia,
          whichever occurs first.

          (4) Coordinate with each county board of registration and elections so that at least two seminars are
          conducted in each county prior to December 15, 2011.

          (5) Coordinate with local and service organizations to provide for additional informational seminars at a
          local or statewide level.

          (6) Place an advertisement describing the changes in this legislation in South Carolina newspapers of
          general circulation by no later than December 15, 2011.

          (7) Coordinate with local media outlets to disseminate information concerning the changes in this
          legislation.

          (8) Notify each registered elector who does not have a South Carolina issued driver's license or
          identification card a notice of the provisions of this act by no later than December 1, 2011. This notice must
          include the requirements to vote absentee, early, or on election day and a description of voting by provisional
          ballot. It also must state the availability of a free South Carolina identification card pursuant to Section
          56-1-3350.

          In addition to the items above, the State Elections Commission may implement additional educational
          programs in its discretion.

          Registered voter list

          SECTION 8. The State Election Commission is directed to create a list containing all registered voters of
          South Carolina who are otherwise qualified to vote but do not have a South Carolina driver's license or other
          form of identification containing a photograph issued by the Department of Motor Vehicles as of December 1,
          2011. The list must be made available to any registered voter upon request. The Department of Motor
          Vehicles must provide the list of persons with a South Carolina driver's license or other form of identification
          containing a photograph issued by the Department of Motor Vehicles at no cost to the commission. The
          commission may charge a reasonable fee for the provision of the list in order to recover associated costs of
          producing the list.

          Findings

          SECTION 9. The General Assembly finds that all the provisions contained in this act relate to one subject
          as required by Section 17, Article III of the South Carolina Constitution in that each provision relates directly
          to or in conjunction with other sections to the subject of election reform as stated in the title. The General


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          Assembly further finds that a common purpose or relationship exists among the sections, representing a
          potential plurality but not disunity of topics, notwithstanding that reasonable minds might differ in identifying
          more than one topic contained in this act.

          Time effective

          SECTION 10.          Except for SECTION 4, the provisions of this act are effective upon approval by the
          Governor.

          Approval and funding

          SECTION 11. SECTION 4 takes effect upon preclearance approval by the United States Department of
          Justice or approval by a declaratory judgment issued by the United States District Court for the District of
          Columbia, whichever occurs first. However, the implementation of the procedures provided for in this
          SECTION is contingent upon the State Election Commission's receipt of funds necessary to implement these
          provisions. Until the provisions of this SECTION are fully funded and executed, implementation of the
          provisions of this SECTION shall not prohibit the State Election Commission from issuing voter registration
          cards by the methods allowed prior to the implementation of this SECTION.

          Ratified the 17th day of May, 2011.

          Approved the 18th day of May, 2011.

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